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  Healtb Financfa) Systems                        UNIVERSITY OF MIAMI HOSP & CLINICS                       In Lieu Of Form CMS-2552-10
  This report is required by 1aw (42 USC 1395g; 42 CFR 413.20(b)). Falure to report can result in a11 interim FORM APPROVED
  payments made since the beginning of the cost reporting period being deemed overpayments (42 USC 1395g).    OMB NO. 0938-0050
  HospITAL AND HOSPITAL HEALTH CARE COMPLEX COST REPORT CERTIFICATION       Provider CCN:100079 Period:           Worksheet S
  AND SETTLEMENT SUMMARY                                                                          FPOm 06/01/2011 Parts 1-111
                                                                                                  To 05/31/2012 Date/Time Prepared:
                                                                                                                   10 29 2012 4:37 m
  PART I - COST REPORT STATUS
  Provîder       1.(X JElectronïcally fïled cost report                                           Date:10/29/2012 rïme; 4:37 pm
  use only       2.E qManually submitted cost report
                 3.E 0 1If this is an amended report enter the number of times the provider resubmitted this cost report
                 4.E F qMedicare Utilization. Enter ''FO for full or HLH for low.
  contractor     5.E 1 qcost Report Status 6.Date Received:                               IO.NPR Date:
  use only         (1) As Submitted          7.Contractor No.                             ll.contractor's Vendor Code:          4
                   (2) Settled without Audit 8.E N 1Initial Report for this Provider CCN 12.: 0 1If line 5, column 1 is 4: Enter
                   (3) settled witb Audit 9.E N 1Final Report for this Provider CCN               number of times reopened = 0-9.
                   (4) Reopened
                   (5) Amended
  PART 11 - CERTIFICATION
  MISREPRESENTATION OR FALSIFICATION OF ANY INFORMATION CONTAINED IN THIS COST REPORT MAY BE PUNISHABLE BY CRIMINAL, CIVIL AND
  ADMINISTRATIVE ACFION, FINE AND/OR IMPRISONMENT UNDER FEDERAL LAW. FURTHERMORE, IF SERVICES IDENTIFIED IN THIS REPORT WERE
  PROVIDED OR PROCURED THROUGH THE PAYMENT DIRECFLY OR INDIRECTLY OF A KICKBACK OR WERE OTHERWISE ILLEGAL, CRIMINAL, CIVIL AND
  ADMINISTRATIVE ACTION, FINES AND/OR IMPRISONMENT MAY RESULT.
                   CERTIFICATION BY OFFICER OR ADMINISTRATOR OF PROVIDERIS)
          I HEREBY CERTIFY that I have read the above statement and that I have examined the accompanying electronically
          filed or manually submitted cost report and the Balance Sheet and Statement of Revenue and Expenses prepared by
          UNIVERSITY OF MIAMI HOSP & CLINICS for the cost reporting period beginning 06/01/2011 and ending 05/31/2012 and
          to the best of my knowledge and belief it is a true, correct and complete statement prepared from the books and
          records of the provider in accordance with applicable instructions, except as noted. I further certify that I
          am familiar with the laws and regulations regarding the provision of health cace services identified in this
          cost report were provided in compliance with such laws and regulations.

                                                                (signed)
                                                                                Officer orAdministrator of Providerts)



                                                                        Date
                                                                               Title xvlll
               Cost center Description                    Tltle v          Part A        Part B         HIT         Title XIX
                                                            1.00           2.09          3.00           4.00           5.00
       Pm III - SETR EMENT 5-        Y
  1.00 Hospital                                                       0      1,120,786    -4,662,137             0      2,083,943 1.00
  2.00 Subprovider - IPF                                              0              0             0                            0 2.00
  3.00 Subprovider - IRF                                              0              0             0                            0 3.00
  4.00 SUBPROVIDER I                                                  0              0             0                            0 4.00
  5.00 Swing bed - SNF                                                0              0             0                            0 5.00
  6.00 Swqng bed - NF                                                 0                                                         0 6.00
  7.00 SKILLED NURSING FACILITY                                       0              0             0                            0 Z.00
  8.00 NURSING FACILITY                                               0                                                         0 8.00
  9.00 HOME HEALTH AGENCY I                                           0              0             0                            0 9.00
  10.00 RURAL HEALTH CLINIC I                                         0                            0                            0 10.00
  11.00 FEDERALLY QUALIFIED HEALTH CENTER                             0                            0                            0 11.00
  12.00 CMHC I                                                        0                            0                            0 12.00
  200.00 Total                                                        0      1,120,786    -4,662,137       '     0      2,083,94: 200.00
  The above amounts represent ''due to'' or ''due from'' the appljcable program for the element of the above complex indicated.
  According to the Paperwork Reduction Act of 1995, no persons are required to respond to a collection of information unless it
  displays a valid 0MB control number. The valid 0MB control number for this information collection is 0938-0050. The time
  required to complete and review the lnformation collection is estimated 673 hours per response, including the time to review
  instructqons, search existjng resources, gather the data needed, and complete and review the information collection. If you
  have any comments concerning the accuracy of the time estimatets) or suggestions for improving the form, please write to: CMS,
  7500 Security Boulevard, Attn: PRA Report Clearance Officer, Mail Stop C4-26-05, Baltimore, Maryland 21244-1850.




  MCRIF32 - 2.41.133.0
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  Hea1th Financial Systems                       UNIVERSITY OF MIAMI HOSP & CLINICS                       In Lieu of Form CM5-2552-10
  This report is requqred by 1aw (42 USC 1395g; 42 CFR 413.20(b)). Falure to report can result in a11 interim FORM APPROVED
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  AND SETTLEMENT SUMMARY                                                                          From 06/01/2011 Parts 1-111
                                                                                                  To 05/31/2012 Date/Time Prepared:
                                                                                                                 10 29 2012 4:37 m
  PART I - COST REPORT STATUS
  Provider      1.E x )Electronically filed cost report                                          Date:10/29/2012 Time: 4:37 pm
  use only      2.E qManually submitted cost report
                3.E 0 1If this is ln ameqded report enter the number of times the provider resubmitted this cost report
                4.E F qMedicare Utllizatnon. Enter ''Fn for full or MuM for low.
  contractor    5.( 1 1cost Report Status 6.Date Received:                               IO.NPR Date:
  use only        (1) As Submitted          7.Contractoq No.                             ll.contractor's Vendor Code:          4
                  (2) Settled without Audit 8.E N 1Iqitnal Report for this Prqvider CCN 12.E 0 1If line 5, column 1 is 4: Enter
                  (3) Settled with Audit 9.E N 1Flnal Report for this Provlder CCN               number of times reopened = 0-9.
                  (4) Reopened
                  (5) Amended
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          I HEREBY CERTIFY that I have read the above statement and that I have examined the accompanying electronically
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          UNIVERSITY OF MIAMI HOSP & CLINICS for the cost reporting period beginning 06/01/2011 and ending 05/31/2012 and
          to the best of my knowledge and belief, it is a true, correct and complete statement prepared from the books and
          records of the provider in accordance with applicable instructions, except as noted. I further certify that I
          am familiar with the laws and regulations regarding the provision of health care services identified in this
          cost report were provided in compliance wïth such laws and regulations.

          Encryptlon Information                               (Signed)
          ECR: Date:10/29/2012 Time:4:37 pm                                    Officer or Administrator of Providerls)
          w1kv1zFZ2.v:p1PcmaBRctWZ8oC2S0
          2Dtrh0XG:z135E:NMxBsn yo4yuzrj
          pJyW0MkEZV0u6f38
          PI: Date:10/29/2012 Time:4:37 pm
          DvGkoQyyz9HAdDt5f8keG0UPBhTnb0
          sML4S07k:7aDz8WIjHtbV1h::pXSpg                                Date
          o'EoRGea4x02V0V.
                                                                               Title xv111
                                                         T#tle v          Pacz A         eart B        HIT        Title XIX
                                                          1.Q0             2.00           3.00         4.00          5.00
         PART III - SETTLEMENT SUMMADY
  1.00 Hospital                                                     0     1,120,786     -4,662,137             0     2,083,943 1.00
  2.00 Subprovider - IPF                                            0              0             0                           0 2.00
  3.00 Subprovider - IRF                                            0              0             0                           0 3.00
  4.00 SUBPROVIDER I                                                0              0             0                           0 4.00
  5.00 Swing bed - sNF                                              0              0             0                           0 5.00
  6.00 Swing bed - NF                                               0                                                        0 6.00
  7.00 SKILLED NURSING FACILITY                                     0              0             0                           0 7.00
  8.00 NURSING FACILITY                                             0                                                        0 8.00
  9.00 HOME HEALTH AGENCY I                                         0              0             0                           0 9.00
  10.00 RURAL HEALTH CLINIC I                                       0                            0                           0 10.00
  11.00 FEDERALLY QUALIFIED HEALTH CENTER I                         0                            0                           0 11.00
  12.00 CMHC I                                                      O                            0                           0 12.00
  200.00 Total                                                      0      1,120,786    -4,662,137             0     2,083,943 200.00
  The above amounts represent ''due to''or ''due from''the applicable program for the element of the above complex indicated.
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Case 1:13-cv-22500-CMA Document 1-10 Entered on FLSD Docket 07/12/2013 Page 4 of 85


  Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
  HOSPITAL AND HOSPITAL HEALTH CARE COMPLEX IDENTIFICATION DATA         Provider CCN:100079 Period:        Worksheet S-2
                                                                                                       From 06/01/2011 Part I
                                                                                                       To 05/31/2012 Date/Time Prepared:
                                                                                                                       10 29 2012 4:33 m
                           1.00                           2.00                       3.00                         4.00
       Hos ltal and Hos ltal Hea7th Care raœ 1ex Address:
  1.00 Street:1475 N.W. 12TH AVENUE                 PO BoX:                                                                                  1.00
  2.00 Cit : MIAMI                                  State: FL               Zq Code:33136-       Count :MIAMI-DADE                           2.00
                                                    Component Name           CCN    CBSA Provider Date Payment System (P,
                                                                            Number Number Type Certjfied  T, 0, or N)
                                                                                                                      V       XV111 XIX
                                                    1.00                     2.00      3.û0     4.00      5.00       6.00 7.00 8.00
       Hos ltal and Hos ital-Based rn- nent Identificatson:
  3.00 Hospital                           UNIVERSITY OF MIAMI               100079    33124       3    09/06/1976 N            T         O   3.00
                                                HOSP & CLINICS
  4.00 Subprovider - IPF                                                                                                                     4.00
  5.00 Subprovider - IRF                                                                                              N        N         N   5.00
  6.00 Subprovlder - (other)                                                                                                                 6.00
  7.00    Swing Beds - SNF                                                                                            N        N         N    7.00
  8.00    Swing Beds - NF                                                                                             N                  N    8.00
  9.00    Hospital-Based SNF                                                                                                                  9.00
  10.00   Hospital-Based NF                                                                                                                  10.00
  11.00   Hospital-Based OLTC                                                                                                                11.00
  12.00   Hospital-Based HHA                                                                                                                 12.00
  13.00   Separately Certified ASC                                                                                                           13.00
  14.00   Hospital-Based Hospice                                                                                                             14.00
  15.00   Hospital-Based Hea1th Clinic - RHC                                                                                   N         N   15.00
  16.00   Hospital-Based Hea1th Clinic - FQHC                                                                                  N         N   16.00
  17.00 Hospital-Based (CMHC) 1                                                                                                              17.00
  17.10 Hospital-Based (CORF) 1                                                                                                N         N   17.10
  18.00 Renal Dïalysbs                                                                                                                       18.00
  18.01                                                                                                                                      18.01
  18.02                                                                                                                                      18.02
  18.03                                                                                                                                      18.03
  18.04                                                                                                                                      18.04
  18.05                                                                                                                                      18.05
  18.06                                                                                                                                      18.06
  18.07                                                                                                                                      18.07
  18.08                                                                                                                                      18.08
  18.09                                                                                                                                      18.09
  18.10                                                                                                                                      18.10
  18.11                                                                                                                                      18.11
  18.12                                                                                                                                      18.12
  18.13                                                                                                                                      18.13
  18.14                                                                                                                                      18.14
  18.15                                                                                                                                      18.15
  18.16                                                                                                                                      18.16
  18.17                                                                                                                                      18.17
  18.18                                                                                                                                      18.18
  18.19                                                                                                                                      18.19
  18.20                                                                                                                                      18.20
  18.21                                                                                                                                      18.21
  18.22                                                                                                                                      18.22
  18.23                                                                                                                                      18.23
  18.24                                                                                                                                      18.24
  19.00 Other                                                                                                                                19.00
                                                                                                            From:                  To:
                                                                                                             1.00               2.00
  20.00 Cost Reporting Period (mm/dd/yyyy)                                                                06/01/2011          05/31/2012 20.00
  21.00 T e of Control (see instructnons)                                                                                 2                  21.00
        In atient PPS Informallpn
  22.00 Does this facility qualify for and is it currently receiving payments for                                N                  N        22.00
        disproportionate share hospital adjustment, in accordance with 42 CFR j412.106? In
        column 1, enter 'Y''for yes or ''N''for no. Is this facility subject to 42 CFR Section
        j412.06(c)(2)(Pick1e amendment hospital?) In column 2, enter ''Y''for yes or 'N''for no.
  23.00 Indicate in column 1 the method used to capture Medicaid (tltle XIX) days reported on                             3                  23.00
        lines 24 and/or 25 of this worksheet during the cost reporting period by entering a 1'1'
                                                                                               '
        if days are based on the date of admission, '2':if days are based on census days (also
        referred to as the day count), or '3' if the days are based on the date of discharge.
        Is the method of identifying the days in the current cost reporting period different
          from the method used in the prqor cost reportqng period? Enter in column 2 ''Y'' for yes
          oc ''N'' for no.
                                                                In-state In-state Out-of          Out-of Medicaid   Other
                                                                Medicaid Medicaid     State       State  HMO days Medlcaid
                                                               paid days eligible Medlcaid Medicaid                  days
                                                                                unpaid      paîd days eligible
                                                                                 days                   days
                                                                     1.00        2.00          3.00     4.00         5.00           6.00




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  Hea1th Fqnancial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lleu Of Form CMS-2552-10
  HOSPITAL AND HOSPITAL HEALTH CARE COMPLEX IDENTIFICATION DATA         Provider CCN:100079 Period:        Worksheet S-2
                                                                                           From 06/01/2011 Part I
                                                                                           To 05/31/2012 Date/Time Prepared:
                                                                                                            10 29 2012 4:33 m
                                                               In-state In-state Out-of     Out-of Medicaid Other
                                                               Medjcaid Medicaid   State    State    HMO days Nedicaid
                                                              paid days eligible Medicaid Medicaid                days
                                                                         unpaid paîd days eligible
                                                                            days                   days
                                                                 1.00       2.00       3.00        4.00          5.00           6.00
  24.00 If this provider is an IPPS hospital, enter the                 0          0           0          0             0               0 24.00
        in-state Medicaid paid days in col. 1, in-state
        Medicaid eligible days in col. 2, out-of-state
        Medicaid paid days in col. 3! out-of-state Medicaid
        eligible days in col. 4, Medncaid HMO paid and
        eligible but unpaid days in column 5, and other
        Medïcaid days Jn column 6.
  25.00 If thls provlder is an IRF, enter the in-state                  0          0           0          0             0               0 25.00
        Medicaid paid days in col. 1, the in-state Medicaid
        eligible days in col. 2 out-of-state Medicaid days
        in col. 3, out-of-state Medicaid eligible days in
        col. 4, Medicaid HMO paid and eligible but unpaid
        da s in col. 5 and other Medicaid da s in col. 6.
                                                                                                      Urban/Rural S Date of Ge r
                                                                                                          1.00               2.00
  26.00 Enter your standard geographic classification (not wage) status at the beginning of the                     1                     26.00
        cost reportïng period. Enter (1) for ucban or (2) for rural.
  27.00 For the Standard Geographic classification (not wage),what is your status at the end                        1                     27.00
        of the cost reporting period. Enter (1) for urban or (2) for rural. If applicable,
        enter the effective date of the geographic reclassification in column 2.
  35.00 If this qs a sole community hospital (SCH), enter the number of periods SCH status in                       0                     35.00
        effect in the cost re ortin   eriod.
                                                                                                       Be innin ;           Endin :
                                                                                                          1.00                2.00
  36.00 Enter applicable beginning and ending dates of ScH status. Subscript line 36 for number                                           36.00
        of periods in excess of one and enter subsequent dates.
  37.00 rf thïs ïs a Medïcare dependent hospital (MDH), enter the number of perïods MDH status                      0                     37.Q0
        in effect jn the cost reporting perqod.
  38.00 Enter applicable beginning and ending dates of MDH status. Subscript line 38 foc number                                           38.00
        of eriods in excess of one and enter subse uent dates.
                                                                                                                  V XVI'I XIX
                                                                                                                 1.00 2.00 3.00
        Pros ective pa   nt 5 stem PPS -     ltal
  45.00 goes this facility qualify and receive Capital payment for disproportionate share in accordance           N         N       N     45.00
        with 42 CFR Section j412.3207 (see instructions)
  46.00 Is thls facility eligible for the special exceptions payment pursuant to 42 CFR Section                   N         N       N     46.00
        j412.348(g)? If yes, complete Worksheet L, Part III and L-1, Parts I through III
  47.00 Is this a new hospital under 42 CFR 9412.300 PPS capital? Enter ''Y for yes or ''N''for no.               N         N       N     47.00
  48.00 Is the facilit electin full federal ca ital a ment? Enter ''Y'' for es or ''N'' for no.                   N         N       N     48.00
         eachln Hos ltals
  56.00 Is this a hospital involved in trainqng residents in approved GME programs? Enter ''Y'' for yes           Y                       56.00
  57.00 If line 56 is yes, is this the first cost reporting period during which residents in approved             N                       57.00
        GME programs trained at this facility? Enter ''Y'' for yes or ''N'' for no in column 1. If column 1
        is ''Y'' did residents start training in the fdrst month of this cost reporting period? Enter ''Y''
        for yes or ''N''for no in column 2. If column 2 is ''Y'',complete Worksheet E-4. If column 2 is
        ''N'', complete Worksheet D! Part III & IV and D-2, Part II, if applicable.
  58.00 If line 56 is yes, did thns facility elect cost reimbursement for physicians, services as                                         58.00
        defined in CMS Pub. 15-1, section 2148? If yes, complete Worksheet D-5.
  59.00 Are costs claimed on line 100 of Worksheet A? If yes, complete Worksheet D-2, Part 1.                                             59.00
  60.00 Are you claiming nursing school and/or allied health costs for a program that meets the                                           60.00
          rovider-o erated criterqa under 413.85? Enter 'Y'  ' for es or ''N''for no. (see instructions)
                                                                                         Y/N          IME Average       Direct GME
                                                                                                                            Avera e
                                                                                        1.00              2.00               3.00
  61.00 Did your facility receive additional FTE slots under ACA section 5503?           Y                       0.00               1.09 61.00
        Enter ''Y'' for yes or ''N'' for no in column 1. If ''Y'' effective for
        portions of cost reporting periods beginning on or after July 1: 2011
        enter the average number of primary care FTE residents for IME ln Column
        2 and direct GME in column 3# from the hospital's three most recent cost
        re orts endin and submitted before March 23 2010. (see instructions)
         CA Provislons Affectln th. Hea1th Resources and Servlces Admlnlstratlon HRSA)
  62.00 Enter the number of FTE residents that your hospital trained in this                   0.00                                       62.00
        cost reporting period for which your hospital received HRSA PCRE funding
        (see instructions)
  62.01 Enter the number of FTE residents that rotated from a Teaching Hea1th                  0.00                                       62.01
        center (THC) into your hospital during in this cost reporting period of
        HRSA THC ro ram. (see instructions)
        Teachsn Hos itals that Clalm Resldents in Non-provider Settln s
  63.00 Has your facqlity trained residents in non-provider settings during this          N                                               63.00
        cost reporting period? Enter ''Y'' for yes or ''N'' for no in column 1. If
        yes, complete lines 64-67. (see instructions)



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  Hea1th Financial S stems                         UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   HOSPITAL AND HOSPITAL HEALTH CARE COMPLEX IDENTIFICATION DATA          Provider CCN:100079 Period:        Worksheet S-2
                                                                                              From 06/01/2011 Part I
                                                                                              To 05/31/2012 Date/Time Prepared:
                                                                                                              10 29 2012 4:33 m
                                                                                    Unwelghted unweqghted Ratio (col. 1
                                                                                       FTES        FTES in (col. 1 + col.
                                                                                   Nonprovider    Hospital         2))
                                                                                      51te
                                                                                      1.00            2.00          3.00
        section 5544 of the ACA Base Year FFE Residents ln Nonprovlder settlngs--Thss hAoe year 1s your cost reportsng
         ersod that b 1ns on or after 7u1 1 2009 and beêore June 3Q 2010.
  64.00 If line 63 is yes or your facility trained residents in the base year               0.00          0.00      0.000000 64.00
        period, enter in column 1, from your cost reporting period that begins
        on or after July 1, 2009, and before June 30, 2010 the number of
        unweighted nonpcimary care FTE residents attributable to rotations that
        occurred in a11 nonprovider settings. Enter in column 2 the number of
        unweighted nonprimary care FTE residents that trained in your hospital.
        Include unweighted OB/GYN, dental and podiatry FTES on this line. Enter
        in column 3, the ratio of column 1 divided by the sum of columns 1 and
        2.
                                            Program Name         Program Code       Unweighted      Unweighted Ratio (col. 3/
                                                                                       FrES           FTES in (col. 3 + col.
                                                                                   Nonprovlder       Hospital       4))
                                                                                      Site
                                                1.00                 2.00             3.00            4.00          5,00
  65.00 If lqne 63 is yes or your                                                            0.00            0.00    0.000000 65.00
        facility trained residents in
        the base year period, enter
        from your cost reporting period
        that begins on or after July 1,
        2009 and before June 30, 2010,
        the number of unweighted
        primary care FTE residents for
        each primary care specialty
        program in which you train
        residents. Use subscripted
        lines 65.01 through 65.50 for
        each additional primary care
        program. Enter in column 1, the
        program name. Enter ln column
        2, the program code. Enter in
        column 3, the number of
        unweighted primary care FTE
        residents attributable to
        rotations that occurred in
        nonprovider settings for each
        applicable program. Enter in
        column 4, the number of
        unweighted primary care FTE
        residents in your hospital for
        each applicable program. Enter
        in column 5 the ratio of column
        3 divided by the sum of columns
        3 and 4. (see instructions)
                                                                                    unweighted      Unweighted Ratio (col. 1
                                                                                       FTES           FTES in (col. 1 + col.
                                                                                   Nonprovider       Hospital       2))
                                                                                      Sqte
                                                                                      1.00            2.00         3.00
        Sectlon 5504 of the *r* Current Year FFE Resldents in Nonprovlder settlngs--Effectlve for cost reporting periods
        be innln on or after Ju1 1 2010
  66.00 Enter in column 1 the number of unweighted non-primary care resident                0.00           0.00      0.000000 66.00
        FTES attributable to rotations occurring in a11 non-provider settings.
        Enter in column 2 the number of unweighted non-primary care resident
        FTES that trained in your hospital. Enter in column 3 the ratio of
        (column 1 divided b (column 1 + column 2)). (see instructlons)
                                            Brogram Name         Program Code       Unweighted Unweightêd Ratio (col. 3/
                                                                                       FTES         FTES in (col. 3 + col.
                                                                                   Nonprovider     Hospital         4))
                                                                                       Site
                                                1.00                 2.00              3.00           4.00         5.90




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Case 1:13-cv-22500-CMA Document 1-10 Entered on FLSD Docket 07/12/2013 Page 7 of 85


  Hea1th Financqal S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CMS-2552-10
   HOSPITAL AND HOSPITAL HEALTH CARE COMPLEX IDENTIFICATION DATA         Provider CCN:100079 Period:        Worksheet S-2
                                                                                                 From 06/01/2011 Part I
                                                                                                 To 05/31/2012 Date/Time Prepared:
                                                                                                                 10 29 2012 4:33 m
                                               erogram Name         Program Code       Unweighted Unweighted Ratîo (col. 3/
                                                                                          FTES        FrES in (col. 3 + col.
                                                                                      Nonprovider    Hospital        4))
                                                                                          site
                                                   1.00                 2.00              3.00           4.00          5.00
  67.00 If line 63 is yes, then, for                                                             0.00           0.00    0.000000 67.00
        each primary care residency
        program ïn whïch you are
        training residents, enter in
        column l the program name.
        Enter in column 2 the program
        code. Enter in column 3 the
        number of unweighted primary
        care FTE residents attributable
        to rotations that occurred in
        nonprovider settings for each
        applicable program. Enter in
        column 4 the number of
        unweighted primary care FTE
        residents in your hospital for
        each applicable program. Enter
        in column 5 the ratio of column
        3 divided by the sum of columns
        3 and 4. Use subscripted lines
        67.01 through 67.50 for each
        additional primary care
        program. If you operated a
        prlmary care program that did
        not have FTE residents in a
        nonprovlder setting, enter zero
        in column 3 and complete a11
        other columns for each
        a licable ro ram.
                                                                                                                1.00 2.00 3.00
          In tient Ps chlatric Facill pps
  70.00   Is this facilqty an Inpatient Psychiatric Facility (IPF), or does it contain an IPF subprovider?        N               70.00
          Enter ''Y'' foc yes or ''N'' fnr no
  71.00   If line 70 yes: Column 1: Did the facility have a teaching program in the most recent cost                          0   71.00
          report filed on or before November 15, 2004? Enter ''Y'' for yes or ''N'' for no. Column 2: Did
          this facility train residents in a new teaching program in accordance with 42 CFR 9412.424
          (d)(1)(iii)(D)? Enter 'Y'   'for yes or ''N''for no. Column 3: If column 2 is Y, enter 1, 2 or 3
          respectively in column 3. (see instructions) If this cost reporting period covers the beginning
          of the fourth year, enter 4 in column 3, or if the subsequent academic years of the new teaching
           ro ram in existence enter 5. see instructions)
          In atient Rehabilitation Fatlll RPs
  75.00   Is this facility an Inpatient Rehabilitation Facility (IRF), or does it contain an IRF                  N               75.00
          subpcovïder? Enter ''Y'' for yes and ''N'' for no.
  76.00   If line 75 yes: Column 1: Did the facility have a teaching program in the most recent cost                              76.00
          repocting period ending on or before November 15, 2004? Enter ''Y'' for yes or ''N'' for no. Column
          2: Did this facility train residents in a new teaching program in accordance with 42 CFR
          j412.424 (d)(1)(iii)(D)? Enter ''Y''for yes or ''N''for no. Column 3: If column 2 is Y, enter 1, 2
          or 3 respectively in column 3. (see instructions) If this cost reporting period covers the
          beginning of the fourth year, enter 4 in column 3! or if the subsequent academic years of the
          new teachjn ro ram in existence enter 5. (see lnstructions)
                                                                                                                       1.00
          Lon Term care Hos ital PPs
  80.00 Are you a long term care hospital (LTCH)? Enter in column 1 ''Y''for yes and 'N''for no. LTCHS can              N         80.00
        only exist as independent/freestanding facilities. An independent or freestanding facility may exist
        as an unrelated hospital within a hospital, it must meet the separateness (from the host/co-located
         rovider) re uirements identified in 42 CFR 412.22(e.)
         EFRA Providers
  85.00 Is this a new hospital under 42 CFR Section j413.40(f)(1)(i) TEFRA? Enter 'Y' 'for yeS or ''N''for no.          N         85.00
  86.00 Did this facility establish a new other subprovider (excluded unit) under 42 CFR Section                        N         86.00
         413.40(f)(1)(ii)? Enter ''Y''for es and 'N''fQr no.
                                                                                                        V              XIX
                                                                                                      1.00             2.00
         ltle M pr XIX In tient Services
  90.00 Does this facility have title v and/or XIX inpatient hospital services? Enter 'Y''for           Y               Y         90.00
          yes or ''N'' for no in the applicable column.
  91.00 Is this hospital reimbursed for title V and/or XIX through the cost report either in                                      91.00
        full or in part? Enter ''Y''for yes or ''N''for no in the applicable column.
  92.00 Are title XIX NF patients occupying title XV111 SNF beds (dual certification)? (see                                       92.00
        lnstructions) Enter 'Y' 'for yes or 'N''for no in the applicable column.
  93.00 Does thls facility operate an ICFNMR facility fQr purposes of title v and XIX? Enter                                      93.00
        ''Y''for yes or ''N''for no in the applicable column.
  94.00 Does tltle v or XIX reduce capital cost? Enter ''Y'' for yes, and ''N'' for no in the                                     94.00
        applicable column.


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  Hea1th Financial S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
  HOSPITAL AND HOSPITAL HEALTH CARE COMPLEX IDENTIFICATION DATA          Provider CCN:100079 Perïod:        Worksheet S-2
                                                                                                  From 06/01/2011 Part I
                                                                                                  To 05/31/2012 Date/Time Prepared:
                                                                                                                         10 29 2012 4:33 m
                                                                                                          v                  XIX
                                                                                                         1.00               2.00
  95.00 If line 94 is ''Y'', enter the reduction percentage in the applicable column.                             0.00              0.00 95.00
  96.00 Does title v or XIX reduce Qperating cost? Enter ''Y'' for yes or ''N'' for no in the                                            96.00
        applicable column.
  97.00 If line 96 is ''Y'', enter the reduction ercenta e in the a licable column.                               0.00              0.00 97.00
        Rural Provfders
  105.00Does thls hospital qualify as a critical Access Hospital (CAH)?                                   N                            105.00
  106.00If this facility qualifies as a CAH, has it elected the all-inclusive method of payment           N                            106.00
        for outpatient services? (see instructions)
  107.00Column 1: If this facility qualifies as a CAH, is it eligible for cost reimbursement                                           107.00
        for I &R training programs? Enter ''Y''for yes or ''N''for no in column 1. (see
         instructions) If yes, the GME elqmination would not be on Worksheet B, Part 1, column
         25 and the program would be cost reimbursed. If yes complete Worksheet D-2, Part II.
        Column 2: If this facility qs a CAH, do I&Rs in an approved medical education program
         train in the CAH'S excluded IPF and/or IRF unit? Enter 'Y' 'for yes or 'N'' for no qn
        column 2. (see ïnstructlons)
  108.00Is this a rural hospital qualifying for an exception to the CRNA fee schedule? See 42             N                            108.00
        CFR Section 412.113(c). Enter 'Y''for es or 'N'   'for no.
                                                                        ph sical    occu ational        s eech           Res irator
                                                                          1.00          2.00             3.00               4.00
  109.00 If this hospital qualifies as a CAH or a cost provider, are        N             N                N                  N     109.00
        therapy servqces provided by outside supplier? Enter ''Y''
        for es or ''N'' for no for each thera .
                                                                                                                  1.00 2.00 3.00
          fscellaneous cost Re rtin Informatlon
  115.00 Is this an all-inclusive rate provider? Enter ''Y'' for yes or ''N'' for no in column 1. If yes,          N                0 115.00
         enter the method used (A: B, or E only) in column 2. If column 2 is 'E'   % enter in column 3
         either .'93.'percent for short term hospital or :,98'.percent for long term care (includes
         psychiatric, rehabilitation and long term hospital providers) based on the definition in cMS
         15-1, j2208.1.
  116.00 Is this facility classified as a referral center? Enter ''Y'' for yes or ''N'' for no.                                         116.00
  117.00 Is this faciljty legally-required to carry malpractice insurance? Enter ''Y'' for yes or ''N'' for                             117.00
        nO.
  118.00 Is the malpractice insurance a claims-made or occurrence policy? Enter 1 if the policy is                  1                   118.00
         claïm-made. Enter 2 if tbe olfc ïs occurrence.
                                                                                      Preminms          Losses            Insurance
                                                                                          1.00           2.00               3.00
  118.01 Enter the total amount of malpractice premiums paid in column 1, enter                   0                 0                 0118.01
         the total amount of paid losses in column 2, and enter the total amount
         of self insurance aid in column 3.
                                                                                                         1.00                1.00
  118.02Indicate if malpractice premiums and paid losses are reported in other than the                   N                             118.02
        Admînistratïve and General cost center. If yes, provîde a supporting schedule and lïst
         the amounts applicable to each cost center.
  119.00 Do NOT USE THIS LINE                                                                                                           119.00
  120.00If this is an SCH (or EACH), regardless of bed size, or is rural hospital with 100 or                                           120.00
        fewer beds that qualifies for the outpatient hold harmless provision in accordance with
        ACA. section 3121, as amended by the Medicare and Medicaid Extenders Act (MMEA) of
        2010, section 108; the Temporary Payroll Tax Cut Continuation Act of 2011, section 308:
        and the Middle Class Tax Relief and Job Creation Act of 2012, section 3002, enter ''Y''
        for yes or 'N'
                     ' for no in column 1 or column 2, respectively. Note that for SCHS (and
        EACHS) the outpatient hold harmless provision is effective for services rendered from
        January 1, 2010 through February 29, 2012 regardless of bed sïze and fcom March 1, 2012
        through December 31, 2012 to a11 SCHS (and EACHS) with 100 or fewer beds. These
        responses impact the Tops calculation on Worksheet E, Part B: line 8.
  121.00Did this facility incur and report costs for implantable devlces charged to patients?                 Y                         121.00
        Enter ''Y'' for es or ''N'' for no
        Trans lant Center InforMatlon
  125.00Does thjs facility operate a transplant center? Enter 'Y'
                                                                'foryes and ''N'
                                                                               'for no.If                     N                         125.00
        yes, enter certiflcation datets) (mm/dd/yyyy) below.
  126.00 If this is a Medicare certified kidney transplant center, enter the certifqcation date                                         126.00
         in column 1 and termination date, if applicable, in column 2.
  127.00If thfs ïs a Medicare certïfied heart transplant center, enter the certification date                                           127.00
        in column 1 and termination date, if applicable, in column 2.
  128.00If this is a Medicare certified liver transplant center, enter the certification date                                           128.00
        in column 1 and termination date, if applicable,in column 2.
  129.00If this is a Medicare certified lung transplant center, enter the certification date in                                         129.00
        column l and termination date, if applicable, in column 2.
  130.00 If this is a Medicare certified pancreas transplant center, enter the certification                                            130.00
         date in column 1 and termination date. if applicable, in column 2.
  131.00If this is a Medicare certified intestinal transplant center, enter the certification                                           131.00
         date in column 1 and termination date, if applicable, in column 2.
  132.00If thïs ïs a Medicare certified islet transplant center, enter the certïficatjon date                                           132.00
         in column 1 and termination date, if applicable, in column 2.



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  Hea1th Financial S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
  HOSPITAL AND HOSPITAL HEALTH CARE COMPLEX IDENTIFICATION DATA          Provider CCN:100079 Period:        Worksheet S-2
                                                                                                  From 06/01/2011 Part I
                                                                                                  To 05/31/2012 Date/Time Prepared:
                                                                                                                     10 29 2012 4:33 m
                                                                                                          1.00             2.00
  133.00 If this is a Medicare certified other transplant center, enter the certification date                                        133.00
         in column 1 and termination date, jf applicable, in column 2.
  134.00If this is an organ procurement organization (OP0), enter the OPO number in column 1                                          134.00
        and termination date if a licable in column 2.
         11 Providers
  140.00Are there any related organization or home office costs as defined in CMS Pub. 15-1,               Y        108015            140.00
        chapter 10? Enter ''Y'' for yes or ''N'' for no in column 1. If yes, and home office costs
        are claimed enter in column 2 the home office chain number. (see instructions)
                         1.00                                   2.00                                   3.00
        If thls facility is part pf a chain organization, enter on lines l41 through 143 the nx-. and address of the
        home offlce and enter the h--- offbce contractor n--a and contractor number.
  141.00 Name: UNIVERSITY OF MIAMI               Contractor's Name:FIRST COAST SERVICE Contractor's Number:00090                      141.00
                                                                   OPTIONS INC.
  142.00 Street:1320 S. DIXIE HIGHWAY SUITE 500 PO BoX:                                                                               142.00
  143.00Cit : CoRAL GABLES                      State:              FL                   Zi Code:                33146                143.00
                                                                                                                           1.00
  144.00Are provider based physicians' costs included in Worksheet A?                                                       N         144.00
  145.00If costs for renal services are claimed on Worksheet A, line 74, are they costs for inpatient                       N         145.00
        services on1 ? Enter ''Y'' for es or ''N'' for no.
                                                                                                          1.00             2.00
  146.00 Has the cost allocation methodology changed from the previously filed cost report?                N                          146.00
        Enter ''Y''for yes or 'N''for no in column 1. (See CMS Pub. 15-2, section 4020) If yes,
        enter the approval date (mm/dd/yyyy) in column 2.
  147.00Was there a change in the statjstical basis? Enter ''Y'' for yes or ''N'' for no.                                             147.00
  148.00Was there a change in the order of allocation? Enter ''Y'' for yes or ''N'' for no.                                           148.00
  149.00Was there a change to the simplified cost finding method? Enter ''Y'' for yes or ''N'' for                                    149.00
        nO .
                                                                          Part A         Part B          Title v         Title XIX
                                                                           1.00           2.00            3.00             4.00
        Does thls faeslsty contaqn a provsder that quallfles for an exemptson from the appllcatlon of the lower of costs
        or char es? Enter ''YW for es or RNe for no for each co nent for Part A and Part B. See 42 CFR 413.13
  155.00 Hospital                                                            N             N                N                N        155.00
  156.00 Subprovider - IPF                                                   N             N                N                N        156.00
  157.00Subprovider - IRF                                                    N             N                N                N        157.00
  158.00SUBPROVIDER                                                                                                                   158.00
  159.00sNF                                                                  N             N                N                N        159.00
  160.00HOME HEALTH AGENCY                                                   N             N                N                N        160.00
  161.00CMHC                                                                               N                N                N        161.00
  161.10CORF                                                                               N                N                N        161.10
                                                                                                                           1.00
        Multlcam ul
  165.00Is this hospital part of a Multicampus hospital that has one or more campuses in different CBSAS?                    N        165.00
        Enter ''Y'' for es or ''N'' for no
                                                    Name                 Count         State Zi Code        CBSA         FTE/CRM vs
                                                     0                   1.00           2.00      3.00       4.00          5.00
  166.00If line 165 is yes, for each                                                                                              0.00166.00
        CamPUS entec the name in Column
        0, county in column 1, state in
        column 2, zip code in column 3
        CBSA in column 4, FrE/campus in
        column 5
                                                                                                                           1.Q0
        Hea1th Information Technol (HIT) lncentive ln the a-nrfcan Recove and Relnvestaent Act
  167.00Is this provider a meaningful user under Section j1886(n)? Enter 'Y' 'for yes or 'N''for no.                         N        167.00
  168.00If this provider is a CAH (line 105 is 'Y'') and is a meaningful user (line 167 is ''
                                                                                            Y''
                                                                                              ), enter the                            168.00
        reasonable cost incurred for the HIT assets (see instructions)
  169.00If this provider is a meaningful user (line 167 is ''
                                                            Y') and is not a CAH (line 105 is ''N''), enter the                   0.0 169.00
        transition factor. (see instructions)




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   Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
   HOSPITAL AND HOSPITAL HEALTH CARE REIMBURSEMENT QUESTIONNAIRE         Provider CCN:100079 Period:        Worksheet S-2
                                                                                               From 06/01/2011 Part 11
                                                                                               To 05/31/2012 Date/Time Prepared:
                                                                                                               10 29 2012 4:33 m
                                                                                                      Y/N          Date
                                                                                                       1.00          2.00
         Ge neral Instruction: Enter Y for a11 YES responses. Enter N for a11 No responses. Enter a11 dates in the
          -.
             gg      gormay.
         COMPLETED BY ALL HOSPITALS
         Provlder gr anlzatlon and    eratlon
   1.00 Has the provlder changed ownersbïp immedlately prior to tbe begïnnlng of the cost               N                      1.00
        re ortin eriod? If es enter the date of the chan e in column 2. see instructions
                                                                                        Y/N            Date          V/I
                                                                                       1.00            2.00          3.00
   2.00 Has the provider terminated participation in the Medicare Program? If           N                                      2.00
        yes, enter in column 2 the date of termination and in column 3, ''v'' for
        voluntary or '.1.' for involuntary.
   3.00 Is the provïder involved in business transactions, including management
         contracts,with individuals or entities (e.g., chain home offices! drug
         or medical supply companies) that are related to the provider or 7ts
         officers, medical staff# management personnel, or members of the board
         of directors through ownership, control, or family and other similar
          relatïonshi s? (see instructions)
                                                                                        Y/N            T e           Date
                                                                                       1.00            2.00          3.09
        Ffnanclal Data and R rts
   4.00 column 1: Were the financial statements prepared by a Certified Public           Y              A                      4.00
        Accountant? Column 2: If yes, enter ''A'' for Audited, ''C'' for Compiled1
        or ''R'' for Reviewed. Submit complete copy or enter date available in
        column 3. (see instructions) If no, see instructions.
   5.00 Are the cost report total expenses and total revenues different from                                                   5.00
         those on the filed financial statements? If es submit reconciliation.
                                                                                                       Y/N       Le al 0 er.
                                                                                                       1.0:          2.00
           roved Educat#onal Actfvîtîe:
   6.00 column 1: Are costs claimed for nursing school? Column 2: If yes, is the provider is            N                      6.00
        the legal operator of the program?
   7.00 Are costs claimed for Allied Hea1th Programs? If ''Y'' see instructions.                                               7.00
   8.00 Were nursing school and/or allied health programs approved and/or renewed during the                                   8.00
         cost reportinj period? If yes,see instructions.
   9.00 Are costs clalmed for Intern-Resident programs claimed on the current cost report? If                                  9.00
         yes, see instructions.
   10.00 Was an Intern-Resident program been initlated or renewed qn the current cost reporting                                10.00
         period? If yes! see instructions.
   11.00 Are GME cost dlrectly assigned to cost centers other than I & R in an Approved                 N                      11.00
         Teachin Pro ram on Worksheet A? If es see instructions.
                                                                                                                     YN
                                                                                                                     1.00
         ead Debts
   12.00 Is the provider seeking reimbursement for bad debts? If yes, see instructions.                               Y        12.00
   13.00 If line 12 is yes, did the provider's bad debt collectqon policy change during this cost reporting           N        13.00
         period? If yes, submit copy.
   14.00 If line 12 is es, were atient deductibles and/or co- a ments waived? If es, see instructions.                N        14.00
         Bed    leMent
   15.00 Did total beds available chan e from the rior cost re ortin     erqod? If es, see instructions.              N        15.00
                                                                                              Part A
                                                               Descri tion              Y/N            Date
                                                                    0                  1.00            2.00
         PSAR Data
   16.00 Was the cost report prepared using the PS&R                                     N                                     16.00
         Report only? If either column 1 or 3 is yes,
         enter the paid-through date of the PS&R
         Report used in columns 2 and 4 .tsee
         instructions)
   17.00 Was the cost report prepared using the PS&R                                               10/17/2012                  17.00
         Report for totals and the provider's records
         for allocation? If either column 1 or 3 is
         yes, enter the paid-through date in columns
         2 and 4. (see instructions)
   18.00 If line 16 or 17 is yes, were adjustments                                                                             18.00
         made to PS&R Report data for additional
         claims that have been billed but are not
         included on the PS&R Report used to file
         this cost report? If yes, see instructions.
   19.00 If line 16 or 17 is yes, were adjustments                                       N                                     19.00
          made to PS&R Report data for corrections of
          other PS&R Report information? If yes, see
          instructions.
   20.00 If line 16 or 17 is yes,were adjustments                                                                              20.00
          made to PS&R Report data for Other? Describe
          the other adjustments:



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   Health Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CMS-2552-10
   HOSPITAL AND HOSPITAL HEALTH CARE REIMBURSEMENT QUESTIONNAIRE         Provider CCN:100079 Period:        Worksheet S-2
                                                                                                   From 06/01/2011 Part 11
                                                                                                   To 05/31/2012 Date/Time Prepared:
                                                                                                                    10 29 2012 4:33 m
                                                                                                Part A
                                                                oescri tion              Y/N             Date
                                                                      0                  1.00            2.00
   21.00 Was the cost report prepared only using the                                      N                                      21.00
         provider's records? If yes, see
         instructions.
                                                                                                                        1.00
           'nMPLEFED BY 'nQT REIMBURSED AND TEFRA BOSPITALS ONLY EXCEFF CHILDRENS HOSPITALS
            ltal Related Cost
   22.00 Have assets been relifed for Medicare purposes? If yes, see instructions                                        N       22.00
   23.00 Have changes occurred in the Medicare depreciation expense due to appraisals made during the cost               N       23.00
         reporting period? If yes, see instructions.
   24.00 Were ne* leases and/or amendments to existlng leases entered lnto durlng this cost reporting period?                    24.00
         If yes, see instructions
   25.00 Have there been new capitalized leases entered into during the cost reporting period? If yes, see                       25.00
         instructions.
   26.00 Were assets subject to Sec.2314 of DEFRA acquired during the cost reporting period? If yes, see                         26.00
         instructions.
   27.00 Has the provider's capitalization policy changed during the cost reporting period? If yes, submit               N       27.00
           CO   .
           Int*rest     nse
   28.00 Were new loans, mortgage agreements or letters of credit entered into during the cost reporting                 N       28.00
         period? If yes, see instructions.
   29.00 Did the provqder have a funded depreciation account and/or bond funds (Debt Service Reserve Fund)                       29.00
           treated as a funded depreciation account? If yes, see instructions
   30.00   Has exqsting debt been replaced prior to its scheduled maturity with new debt? If yes, see                    N       30.00
           instructions.
   31.00   Has debt been recalled before scheduled maturity without issuance of new debt? If yes, see                            31.00
           instructions.
           Purchased Servlces
   32.00   Have changes or new agreements occurred in patient care services furnished through contractual                N       32.00
           arrangements with suppliers of services? If yes, see instructions.
   33.00   If line 32 is yes, were the requirements of Sec. 2135.2 applied pertaining to competitive bidding? If                 33.00
           no see instructions.
           Provider-Based Ph sicsans
   34.00 Are services furnished at the provider facility under an arrangement with provider-based physicians?            Y       34.00
         If yes, see instructions.
   35.00 If line 34 is yes, were there new agreements or amended existing agreements with the provider-based                     35.00
          h sicians durin the cost re ortin eriod? If es see instructions.
                                                                                                          Y/N           Date
                                                                                                         1.00           2.00
           Home offlce Costs
   36.00    Were home office costs claimed on the cost report?                                             Y                     36.00
   37.00    If line 36 is yes, has a home office cost statement been prepared by the home office?          Y                     37.00
            If yes, see jnstructions.
   38.00    If line 36 is yes , was the fiscal year end of the home office different from that of                                38.00
            the provider? If yes! enter in column 2 the fiscal year end of the home office.
   39.00    If line 36 is yes, d3d the provider render services to other chain components? If yes,         N                     39.00
         see instructions.
   40.00 If line 36 is yes, did the provider render services to the home office? If yes, see                                     40.00
         instructions.
                                                                                  i.0o                           2.00
         Cost Re rt Prê arêr Contact Information
   41.00 Enter the fïrst name. last name and the title/position       SHARON                         H@#ARD                      41.00
           held by the cost report preparer in columns 1, 2, and 3,
           respectively.
   42.00 Enter the employer/company name of the cost report           UNIVERSITY OF MIAMI HEALTH                                 42.00
           preparer.                                                  SYSTEM
   43.00 Enter the telephone number and email address of the cost     305-243-2356                   SHOWARD@MED.MIAMI.EDU       43.00
         report preparer in columns 1 and 2 respectively.




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   Health Financial S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CMS-2552-10
   HOSPITAL AND HOSPITAL HEALTH CARE REIMBURSEMENT QUESTIONNAIRE          Provider CCN:100079 Period:        Worksheet S-2
                                                                                             From 06/01/2011 Part 11
                                                                                             To 05/31/2012 Date/Time Prepared:
                                                                                                             10 29 2012 4:33 m
                                                                  part B
                                                          Y/N              Date
                                                          3.00             4.00
         PslR Data
   16.00 Was the cost report prepared using the PS&R          N                                                            16.00
         Report only? If either column 1 or 3 is yes,
         enter the paid-through date of the PS&R
         Report used in columns 2 and 4 .tsee
         instructions)
   17.00 Was the cost report prepared using the PS&R                   10/26/2011                                          17.00
         Report for totals and the provider's records
         for allocation? If either column 1 or 3 is
         yes, enter the paid-through date in columns
         2 and 4. (see instructions)
   18.00 If line 16 or 17 is yes, were adjustments                                                                         18.00
         made to PS&R Report data for additional
         claims that have been billed but are not
         included on the PS&R Report used to file
         this cost report? If yes, see instructions.
   19.00 If line 16 or 17 is yes, were adjustments                                                                         19.00
         made to PS&R Report data for corrections of
         other PS&R Report information? If yes, see
         instructions.
   20.00 If line 16 or 17 is yes, were adjustments                                                                         20.00
         made to PS&R Report data for Other? Describe
         the other adjustments:
   21.00 Was the cost report prepared only using the                                                                       21.00
         provider's records? If yes, see
         instructions.
                                                                              3.00
        cost R* rt Pre rer Contact Informatlon
   41.00 Enter the first name, last name and the title/position   REIMBURSEMENT MANAGER                                    41.00
         held by the cost report preparer in columns 1, 2, and 3,
          respectively.
   42.00 Enter the employer/company name of the cost report                                                                42.00
         preparer.
   43.00 Enter the telephone number and email address of the cost                                                          43.00
         report preparer in columns 1 and 2, respectively.




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   Hea1th Financial S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CMS-2552-10
   HOSPITAL AND HOSPITAL HEALTH CARE COMPLEX STATISTICAL DATA             Provider CCN:100079 Period:        Worksheet S-3
                                                                                                From 06/01/2011 Part I
                                                                                                To 05/31/2012 Date/Time Prepared:
                                                                                                                10 29 2012 4:33 m
                Cost Center Description                Worksheet A    No.of Beds       Bed Days    CAH Hours
                                                       Line Number                     Available
                                                           1.00          2.00             3.00         4.00
   1.00 Hospital Adults & Peds. (columns 5, 6, 7 and          30.00             30          10,980            0.00           1.00
           8 exclude Swing Bed, Obsecvation Bed and
           Hospice days)
   2.00    HMO                                                                                                               2.00
   3.00    HM0 IPF                                                                                                           3.00
   4.00    HMO IRF                                                                                                           4.00
   5.00    Hospital Adults & Peds. Swing Bed SNF                                                                             5.00
   6.00    Hospital Adults & Peds. Swing Bed NF                                                                              6.00
   7.00 Total Adults and Peds. (exclude observation                             30          10,980            0.00           7.00
        beds) (see instructions)
   8.00 INTENSIVE CARE UNIT                                   31.00              4           1,464            0.00           8.00
   8.01    STEM CELL TREATMENT                                31.01                6         2,196            0.00           8.01
   9.00    CORONARY CARE UNIT                                                                                                9.00
   10.00   BURN INTENSIVE CARE UNIT                                                                                         10.00
   11.00   SURGICAL INTENSIVE CARE UNIT                                                                                     11.00
   12.00 OTHER SPECIAL CARE (SPECIFY)                                                                                       12.00
   13.00 NURSERY                                                                                                            13.00
   14.00 Total (see instructions)                                               40          14,640            0.00          14.00
   15.00   CAH visits                                                                                                       15.00
   16.00   SUBPROVIDER - IPF                                                                                                16.00
   17.00   SUBPROVIDER - IRF                                  41.00                0               0                        17.00
   18.00   SUBPROVIDER                                        42.00                0               0                        18.00
   19.00   SKILLED NURSING FACILITY                                                                                         19.00
   20.00   NURSING FACILITY                                                                                                 20.00
   21.00   OTHER LONG TERM CARE                                                                                             21.00
   22.00   HOME HEALTH AGENCY                                                                                               22.00
   23.00 AMBULATORY SURGICAL CENTER (D.P.)                                                                                  23.00
   24.00   HOSPICE                                                                                                          24.00
   25.00   CMHC - CMHC                                                                                                      25.00
   25.10   CMHC - CORF                                        99.10                                                         25.10
   26.00   RURAL HEALTH CLINIC                                88.00                                                         26.00
   26.25   FEDERALLY QUALIFIED HEALTH CENTER                  89.00                                                         26.25
   27.00 Total (sum of lines 14-26)                                             40                                          27.00
   28.00   Observation Bed Days                                                                                             28.00
   28.02   SUBPROVIDER - IRF                                  41.00                                                         28.02
   28.03   SUBPROVIDER                                        42.00                                                         28.03
   29.00   Ambulance Trips                                                                                                  29.00
   30.00 Employee discount days (see instruction)                                                                           30.00
   31.00 Employee discount days - IRF                                                                                       31.00
   32.00 Labor & delivery days (see instructions)                                                                           32.00
   33.00 LTCH non-covered days                                                                                              33.00




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   Hea1th Financial S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
   HOSPITAL AND HOSPITAL HEALTH CARE COMPLEX STATISTICAL DATA             Provider CCN:100079 Period:        Worksheet S-3
                                                                                             From 06/01/2011 Part I
                                                                                             To 05/31/2012 Date/Tqme Prepared:
                                                                                                             10 29 2012 4:33 m
                                                                  I/P Days / O/P Vqsits / Trips
                Cost Center Description                 Title V       Title XVIII       Title XIX       Total A11
                                                                                                         Patients
                                                         5.00            6.00             7.00             8.00
   1.00 Hospital Adults & Peds. (columns 5, 6, 7 and              0          1,387               619          5,867         1.00
           8 exclude Swing Bed, observation Bed and
           Hospice days)
   2.00    HMO                                                                  132                 0                       2.00
   3.00    HMO IPF                                                                0                 0                       3.00
   4.00    HMO IRF                                                                0                 0                       4.00
   5.00    Hospital Adults & Peds. Swing Bed SNF                  0               0                 0               0       5.00
   6.00    Hospital Adults & Peds. Swing Bed NF                   0                                 0               0       6.00
   7.00 Total Adnlts and Peds. (exclude observation               0          1,387               619          5,867         7.00
        beds) (see instructions)
   8.00    INTENSIVE CARE UNIT                                    0             190              113            819         8.00
   8.01    STEM CELL TREATMENT                                    0             165              132          1,477         8.01
   9.00    CORONARY CARE UNIT                                                                                               9.00
   10.00   BURN INTENSIVE CARE UNIT                                                                                        10.00
   11.00   SURGICAL INTENSIVE CARE UNIT                                                                                    11.00
   12.00 OTHER SPECIAL CARE (SPECIFY)                                                                                      12.00
   13.00 NURSERY                                                                                                           13.00
   14.00 Total (see instructions)                                 0          1,742               864          8,163        14.00
   15.00 CAH visits                                               0                 0               0               0      15.00
   16.00 SUBPROVIDER - IPF                                                                                                 16.00
   17.00   SUBPROVIDER - IRF                                      0                 0               0               0      17.00
   18.00   SUBPROVIDER                                            0                 0               0               0      18.00
   19.00   SKILLED NURSING FACILITY                                                                                        19.00
   20.00   NURSING FACILITY                                                                                                20.00
   21.00   OTHER LONG TERM CARE                                                                                            21.00
   22.00   HOME HEALTH AGENCY                                                                                              22.00
   23.00 AMBULATORY SURGICAL CENTER (D.P.)                                                                                 23.00
   24.00   HOSPICE                                                                                                         24.00
   25.00   CMHC - CMHC                                                                                                     25.00
   25.10   CMHC - CORF                                            0                 0               0               0      25.10
   26.00   RURAL HEALTH CLINIC                                    0                 0               0               0      26.00
   26.25   FEDERALLY QUALIFIED HEALTH CENTER                      0                 0               0               0      26.25
   27.00 Total (sum of lines 14-26)                                                                                        27.00
   28.00   Observation Bed Days                                   0                                 0           370        28.00
   28.02   SUBPROVIDER - IRF                                                                                      0        28.02
   28.03   SUBPROVIDER                                                                                            0        28.03
   29.00   Ambulance Trips                                                          0                                      29.00
   30.00 Employee discount days (see instruction)                                                                   0      30.00
   31.00 Employee discount days - IRF                                                                               0      31.00
   32.00 Labor & delivery days (see instructions)                                                   0               0      32.00
   33.00 LTCH non-covered days                                                      0                                      33.00




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   Hea1th Financial S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   HOSPITAL AND HOSPITAL HEALTH CARE COMPLEX STATISTICAL DATA             Provider CCN:1000Z9 Period:        Worksheet S-3
                                                                                               From 06/01/2011 Part I
                                                                                               To 05/31/2012 Date/Time Prepared:
                                                                                                                  10 29 2012 4:33 m
                                                                 Full Time Equlvalents           Dlscharges
                Cost Center Description                Total Interns Employees On    Nonpaid       Title v        Title X7111
                                                        & Resldents     Pa roll      Workers
                                                           9.00          10.00        11.00         12.00            13.00
   1.00 Hospital Adults & Peds. (columns 5, 6, 7 and                                                          0              350 1.00
           8 exclude Swing Bed, observation Bed and
           Hospice days)
   2.00    HMO                                                                                                                  0 2.00
   3.00    HMO IPF                                                                                                                3.00
   4.00    HMO IRF                                                                                                                4.00
   5.00    Hospital Adults & Peds. Swing Bed SNF                                                                                  5.00
   6.00    Hospital Adults & Peds. Swing Bed NF                                                                                   6.00
   7.00 Total Adults and Peds. (exclude observation                                                                               7.00
        beds) (see instructions)
   8.00    INTENSIVE CARE UNIT                                                                                                    8.00
   8.01    STEM CELL TREATMENT                                                                                                    8.01
   9.00    CORONARY CARE UNIT                                                                                                     9.00
   10.00   BURN INTENSIVE CARE UNIT                                                                                              10.00
   11.00   SURGICAL INTENSIVE CARE UNIT                                                                                          11.00
   12.00 OTHER SPECIAL CARE (SPECIFY)                                                                                            12.00
   13.00 NURSERY                                                                                                                 13.00
   14.00 Total (see instructions)                              37.23        984.53        0.00                0              350 14.00
   15.00   CAH visits                                                                                                           15.00
   16.00   SUBPROVIDER - IPF                                                                                                    16.00
   17.00   SUBPROVIDER - IRF                                    0.00          0.00        0.00                0               0 17.00
   18.00   SUBPROVIDER                                          0.00          0.00        0.00                0               0 18.00
   19.00   SKILLED NURSING FACILITY                                                                                             19.00
   20.00   NURSING FACILITY                                                                                                     20.00
   21.00   OTHER LONG TERM CARE                                                                                                 21.00
   22.00   HOME HEALTH AGENCY                                                                                                   22.00
   23.00 AMBULATORY SURGICAL CENTER (D.P.)                                                                                       23.00
   24.00   HOSPICE                                                                                                               24.00
   25.00   CMHC - CMHC                                                                                                           25.00
   25.10   CMHC - CORF                                         0.00          0.00         0.00                                   25.10
   26.00   RURAL HEALTH CLINIC                                 0.00          0.00         0.00                                   26.00
   26.25   FEDERALLY QUALIFIED HEALTH CENTER                   0.00          0.00         0.00                                   26.25
   27.00 Total (sum of lines 14-26)                            37.23        984.53        0.00                                   27.00
   28.00   Observation Bed Days                                                                                                  28.00
   28.02   SUBPROVIDER - IRF                                                                                                     28.02
   28.03   SUBPROVIDER                                                                                                           28.03
   29.00   Ambulance Trips                                                                                                       29.00
   30.00 Employee discount days (see instruction)                                                                                30.00
   31.00 Employee discount days - IRF                                                                                            31.00
   32.00 Labor & delivery days (see instructions)                                                                                32.00
   33.00 LTCH non-covered days                                                                                                   33.00




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   Heaqth Financiaï S stems                        UNIVERSITF OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   HOSPITAL AND HOSPITAL HEALTH CARE COMPLEX STATISTICAL DATA             Provider CCN:100079 Period:        Worksheet S-3
                                                                                             From 06/01/2011 Part I
                                                                                             To 05/31/2012 Date/Time Prepared:
                                                                                                             10 29 2012 4:33 m
                                                              Dischar es
                Cost Center Descriptîon                Title XIX     Total A11
                                                                      Patients
                                                         14.00          15.00
   1.00 Hospital Adults & Peds. (columns 5, 6, 7 and           134         1,360                                            1.00
        8 exclude Swing Bedv Observation Bed and
        Hospice days)
   2.00    HMO                                                                                                              2.00
   3.00    HY0 IPF                                                                                                          3.00
   4.00    HMO IRF                                                                                                          4.00
   5.00    Hospital Adults & Peds. Swing Bed SNF                                                                            5.00
   6.00    Hospital Adults & Peds. Swing Bed NF                                                                             6.00
   F.00 Total Adults and Peds. (exclude observatîon                                                                         7.00
        beds) (see ïnstructïons)
   8.00    INTENSIVE CARE UNIT                                                                                              8.00
   8.01    STEM CELL TREATMENT                                                                                              8.01
   9.00    CORONARY CARE UNIT                                                                                               9.00
   10.00   BURN INTENSIVE CARE UNIT                                                                                        10.00
   11.00   SURGICAL INTENSIVE CARE UNIT                                                                                    11.00
   12.00 OTHER SPECIAL CARE (SPECIFY)                                                                                      12.00
   13.00 NURSERY                                                                                                           13.00
   14.00 Total (see instcuctions)                              134         1,360                                           14.00
   15.00   CAH visits                                                                                                      15.00
   16.00   SUBPROVIDER - IPF                                                                                               16.00
   17.00   SUBPROVIDER - IRF                                     0               0                                         17.00
   18.00   SUBPROVIDER                                           0               0                                         18.00
   19.00   SKILLED NURSING FACILITY                                                                                        19.00
   20.00   NURSING FACILITY                                                                                                20.00
   21.00   OTHER LONG TERM CARE                                                                                            21.00
   22.00   HOME HEALTH AGENCY                                                                                              22.00
   23.00 AMBULATORY SURGICAL CENTER (D.P.)                                                                                 23.00
   24.00   HOSPICE                                                                                                         24.00
   25.00   CMHC - CMHC                                                                                                     25.00
   25.10   CMHC - CORF                                                                                                     25.10
   26.00   RURAL HEALTH CLINIC                                                                                             26.00
   26.25   FEDERALLY QUALIFIED HEALTH CENTER                                                                               26.25
   27.00 Total (sum of lines 14-26)                                                                                        27.00
   28.00   Observation Bed Days                                                                                            28.00
   28.02   SUBPROVIDER - IRF                                                                                               28.02
   28.03   SUBPROVIDER                                                                                                     28.03
   29.00   Ambulance Trips                                                                                                 29.00
   30.00 Employee discount days (see instruction)                                                                          30.00
   31.00 Employee discount days - IRF                                                                                      31.00
   32.00 Labor & delivery days (see instructions)                                                                          32.00
   33.00 LTCH non-covered days                                                                                             33.00




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   Hea1th Financial S stems                      UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
   HOSBITAL UNCOMPENSATED AND INDIGENT CARE DATA                        Provider CCN:100079 Period:        Worksheet S-10
                                                                                                From 06/01/2011
                                                                                                To 05/31/2012 10Dat29
                                                                                                                   e/Time Prepared:
                                                                                                                      2012 4:33 m
                                                                                                                   1.00
           Une   nsated and inds ent care eo&t com utatlon
   1.00 Cost to char e ratio (Worksheet C, Part I line 200 column 3 divided b line 200 column 8)                    0.190559
        Medicasd (see înstructlons for each line)
   2.00 Net revenue from Medicaid                                                                                 15,704,234 2.00
   3.00 Did you receiveDSH or supplemental payments from Medicaid?                                                   N         3.00
   4.00    If llne 3 qs yes , does line 2 include a11 DSH or supplemental payments from Medicaid?                    N       4.00
   5.00    If line 4 is ''no'', then enter DSH or supplemental payments from Medicaid                                      0 5.00
   6.00    Medicaid charges                                                                                       97,016,199 6.00
   7.00    Medicaid cost (line 1 times line 6)                                                                    18,487,310 7.00
   8.00    Difference between net revenue and costs for Medicaid program (line 7 minus sum of lines 2 and 5; if    2,783,076 8.00
           < zero then enter zero
           State Chlldren's H*a1th Insurance Pr ram SCHIP see #nstructlons for each llne
   9.00 Net revenue from stand-alone SCHIP                                                                                 0 9.00
   10.00 Stand-alone SCHIP charges                                                                                         0 10.00
   11.00 Stand-alone SCHIP cost (line 1 times line 10)                                                                     0 11.00
   12.00 Difference between net revenue and costs for stand-alone SCHIP (line 11 minus line 9; if < zero then              0 12.00
           enter zero
         gther s'ate or local overnment lnds ent care r ram (see lnstructsons for each lfne)
   13.00 Net revenue from state or local indigent care program (Not included on lines 2, 5 or 9)                           0 13.00
   14.00 Charges for patients covered under state or local indigent care program (Not included in lines 6 or               0 14.00
         10)
   15.00 State or local indigent care program cost (line 1 times line 14)                                                  0 15.00
   16.00 Difference between net revenue and costs for state or local indigent care program (line 15 minus line             0 16.00
           13' if < zero then enter zero
           Unc nsated care see instructions for each llne
   17.00 Private grants, donations, or endowment income restricted to funding charity care                                 0 17.00
   18.00 Government grants, appropriations or transfers for support of hospital operations                                 0 18.00
   19.00 Total unreimbursed cost for Medicaid , SCHIP and state and local indigent care programs (sum of lines    2,783,076    19.00
         8 12 and 16)
                                                                                     uninsured      Insured Total (col. 1
                                                                                      atients       atients    + col. 2
                                                                                       1.00          2.00         3.00
   20.00 Total initial obligation of patients approved for charity care (at full       6,109,539             0    6,109,539    20.00
         charges excluding non-reimbursable cost centers) for the entire facility
   21.00 Cost of initial obligation of patients approved for charity care (line 1      1,164,228             0    1,164,228    21.00
         times line 20)
   22.00 Partial payment by patients approved for charity care                                  0            0            0    22.00
   23.00 Cost of charit care (line 21 minus line 22)                                    1,164,228            0    1,164,228    23.00
                                                                                                                   1.00
   24.00 Does the amount in line 20 column 2 include charges for patient days beyond a length of stay limit         N          24.00
         imposed on patients covered by Medicaid or other indigent care program?
   25.00   If line 24 is 'yes/' charges for patient days beyond an indigent care program's length of stay limit            0   25.00
   26.00   Total bad debt expense for the entire hospital complex (see instructions)                              19,007,207   26.00
   27.00   Medicare bad debts for the entire hospital complex (see instructions)                                     275,624   27.00
   28.00   Non-Medicare and Non-Reimbursable bad debt expense (lîne 26 minus lîne 27)                             18,731,583   28.00
   29.00   cost of non-Medicare bad debt expense (line 1 times line 28)                                            3,569,472   29.00
   30.00   Cost of non-Medicare uncompensated care (line 23 column 3 plus line 29)                                 4,733,700   30.00
   31.00   Total unreimbursed and uncompensated care cost (line 19 plus line 30)                                   7,516,776   31.00




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   Hea1th Financial S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   RECLASSIFICATION AND ADJUSTMENTS OF TRIAL BALANCE OF EXPENSES          Provider CCN:100079 Period:        Worksheet A
                                                                                                From 06/01/2011
                                                                                                To 05/31/2012 Date/Time Prepared:
                                                                                                                 10 29 2012 4:33 m
                Cost Center Description                 Salaries       Other        Total (col. 1 Reclassificati Reclasslfied
                                                                                      + col. 2) ons (See A-6) Trial lalance
                                                                                                                  (col. 3 +-
                                                                                                                   col. 4
                                                          1.00         2.00             3.00         4.00            5.00
           GENERAL SERVICE COST CENTERS
   1.00    00100 NEW CAP REL COSTS-BLDG & FIXT                          5,086,071       5,086,071      607,438      5,693,509   1.00
   2.00    00200 NEW CAP REL COSTS-MVBLE EQUIP                          6,3569415       6,356,415      259,214      6,615,629   2.00
   3.00    00300 OTHER CAPITAL RELATED COSTS                              560,452         560,452     -560,452              0   3.00
   4.00    00400 EMPLOYEE BENEFITS                           23,956     1,151,359       1.175,315       29,730      1,205,045   4.00
   5.00    00500 ADMINISTRATIVE & GENERAL                 8,419,320    59,043.725      67,463,045         -255     67,462,790   5.00
   7.00    00700 OPERATION OF PLANT                         577,551     4,446.115       5,023,666          -72      5,023,594   7.00
   8.00    00800 LAUNDRY & LINEN SERVICE                          0       316,787         316,787            0        316,787   8.00
   9.00    00900HOUSEKEEPING                                      0     2,286,729       2,286,729       -4,155      2,282,574    9.00
   10.00   01000 DIETARY                                          0       985,662         985,662      -29,730        955,932   10.00
   13.00   01300 NURSING ADMINISTRATION                   1,720,969     1,158,145       2,879,114       -2,006      2,877,108   13.00
   14.00   01400 CENTRAL SERVICES & SUPPLY                  420,200     6,252,917       6,673,117   -5,490,723      1,182,394   14.00
   15.00   01500 PHARMACY                                 4,045,614    66,601,978      70,647,592     -351,851     70,295,741   15.00
   16.00   01600 MEDICAL RECORDS & LIBRARY                2,790,952     4,534,111       7,325,063            0      7,325,063   16.00
   17.00   01700 SOCIAL SERVICE                             283,106       119,515         402,621            0        402,621   17.00
   22.00   02200 I&R SERVICES-OTHER PRGM COSTS APPRVD             0     2,674,569       2,674,569            0      2,674,569   22.00
           INPATIENT ROUTINE SERVICE COST CENTERS
   30.00   03000 ADULTS & PEDIATRICS                      3,482,760    2,167,369        5,650,129   -3,036,842      2,613,287   30.00
   31.00   03100 INTENSIVE CARE UNIT                      1,476,347    1,078,606        2,554,953            0      2,554,953   31.00
   31.01   03101 STEM CELL TREATMENT                        756,090    1,093,490        1,849,580            0      1,849,580   31.01
   41.00   04100 SUBPROVIDER - IRF                                0            0                0            0              0   41.00
   42.00   04200 SUBPROVIDER                                      0            0                0            0              0   42.00
             C LLARY SERW CE COST CENTERS
   50.00   05000 OPERATING ROOM                           3,298,389    2,895,900        6,194,289     -163,493      6,030,796   50.00
   53.00   05300 ANESTHESIOLOGY                             251,629    2,013,695        2,265,324      -82,403      2,182,921   53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                     4,894,279    4,653,942        9,548,221     -178,136      9,370,085   54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                    3,965,030    7,025,819       10,990,849      -65,289     10,925,560   55.00
   55.01   05501 CTU                                      5,017,043    2,613,530        7,630,573     -131,221      7,499,352   55.01
   56.00   05600 RADIOISOTOPE                               778,216    2,724,211        3,502,427      -18,055      3,484,372   56.00
   57.00   05700 CT SCAN                                    896,945    1,323,536        2,220,481      -63.369      2,157,112   57.00
   58.00 05800MAGNETIC RESONANCE IMAGING (MRI)            1,190,531    1,694,777        2,885,308      -12.767      2,872,541 58.00
   59.00 05900 CARDIAC CATHETERIZATION                           0             0                0            0              0   59.00
   60.00 06000 LABORATORY                                  572,731     7,031,408        7,604,139     -184,034      7,420,105   60.00
   60.01 03420 PATHOLOGY                                   387,333     2,896,290        3,283,623            0      3,283,623   60.01
   60.02 06001 STEM CELL LABORATORY                         72,427       217,891          290,318            0        290,318   60.02
   63.00 06300 BLOOD STORING, PROCESSING & TRANS.                0     1,963,120        1,963,120            0      1,963,120   63.00
   64.00 06400 INTRAVENOUS THERAPY                               0             0                0    3,036,095      3,036,095   64.00
   65.00 06500 RESPIRATORY THERAPY                         743,818       358,132        1,101,950      -12,342      1,089,608   65.00
   68.00 06800 SPEECH PATHOLOGY                             36,866       164,976          201,842            0        201,842   68.00
   69.00 06900 ELECTROCARDIOLOGY                           812,166       717,914        1,530,080       -1,669      1,528,411   69.00
   71.00 07100 MEDICAL SUPPLIES CHARGED TO PATIENTS              0             0                0    5,864,435      5,864,435   71.00
   72.00 07200 IMP. DEV CHARGED TO PATIENT                       0             0                0      823,477        823,477   72.00
   73.00 07300 DRUGS CHARGED TO PATIENTS                         0             0                0            0              0   73.00
   76.00 03020 CAT SCAN                                          0             0                0            0              0   76.00
         OUTPATIENT SERVICE KTGT CENTERS
   88.00 08800 RURAL HEALTH CLINIC                                 0           0               0              0             0 88.00
   89.00 08900 FEDERALLY QUALIFIED HEALTH CENTER                   0           0               0              0             0 89.00
   90.00 09000 culNlc                                     2,239,660    1,345,586        3,585,246   -1,713,789      1,871.457 90.00
   90.01 09001 CARDIAC CLINIC                              586,328       286,196          872,524       93,743        966,267 90.01
   90.02 09002 GENERAL MEDICINE                            664,539       326,003          990,542      194,701      1,185,243 90.02
   90.03 09003 OPD-I                                      1,288,743      865,963        2,154,706      452,426      2,607,132 90.03
   90.04 09004 MOHS                                         226,022      173,007          399,029      205,853        604,882 90.04
   90.05 09005 SURG ONCOLOGY                                639,457      336,541          975,998      226,977      1,202,975 90.05
   90.06   09006 GYN ONCOLOGY                               174,634      117,968          292,602      111,436        404,038   90.06
   90.07   09007 HEM ONCOLOGY                               548,056      296,401          844,457      354,844      1,199,301   90.07
   90.08   09008 DEERFIELD BEACH CLINIC                   1,315,683    3,135,763        4,451,446      -34,377      4,417,069   90.08
   90.09   09009 MIRAMAR CLINIC                             178,547      208,494          387,041       -5,751        381,290   90.09
   90.11   09011 KENDALL CLINIC                             850,327    1,272,756        2,123,083      -23,675      2,099,408   90.11
   90.12   09012 ENT                                      1,477,600      887,381        2,364,981      -30,214      2,334,767   90.12
   90.13   04950 PLANTATION                                  81,464      517,233          598,697       -1,620        597,077   90.13
   90.14   04951 CRB PAIN CENTER                            381,322      473,472          854,794       -5,578        849,216   90.14
   90.15   04952 CENTER FOR LIVER DISEASE                         0        1,976            1,976            0          1,976   90.15
   90.16   04953 DRI MULTISPEC CLINIC                       283,760      163,995          447,755       -1,156        446,599   90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                    21,228        74,028           95,256           -467       94,789 90.17
   92.00 09200OBSERVATION BEDS (NON-DISTINCT PART)                                                                            92.00
         JFHER REIMBURSABLE CQST CENTERS
   99.10 09910 CORF                                                0           0               0              0             0 99.10
         SPECIAL PQRPOSE rnoT CENTERS
   109.00 10900 PANCREAS ACQUISITION                               0           0                0            0              0 109.00
   110.00 11000 INTESTINAL ACQUISITION                             0           0                0            0              0 110.00
   111.00 11100 ISLET ACQUISITION                                  0           0                0            0              0 111.00
   113.00 11300 INTEREST EXPENSE                                         306,200          306,200     -306.200              0 113.00


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   Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CMS-2552-10
   RECLASSIFICATION AND ADJUSTMENTS OF TRIAL BALANCE OF EXPENSES         Provider CCN:100079 Period:        Worksheet A
                                                                                               From 06/01/2011
                                                                                               To 05/31/2012 Date/Time Prepared:
                                                                                                                10 29 2012 4:33 m
               Cost Center Descrlptïon                 Salaries       Other        Total (col. 1 Reclassificati Reclassifîed
                                                                                     + col. 2) ons (see A-6) Trial ealance
                                                                                                                 (col. 3 +-
                                                                                                                col. 4
                                                         1.00         2.00             3.00         4.00          5.00
   118.00      SUBTOTALS (SUM OF LINES 1-117)           57,871,638   214,998,119     272,869,757     -251,322   272,618,435118.00
         NONREIMBUPQARLE COST CENTERS
   190.00 19000 GIFT, FLOWER, COFFEE SHOP & CANTEEN              0        -4,333          -4,333            0       -4,333 190.00
   191.00 19100 RESEARCH                                   267,690       119.196         386,886      251,322      638,208 191.00
   192.00 19200 PHYSICIANS' PRIVATE OFFICES                      0             0               0            0            0 192.00
   193.00 19300 NONPAID WORKERS                                  0             0               0            0            0 193.00
   194.00 07950 CAFETERIA RENTAL                                 0             0               0            0            0 194.00
   194.0107952 DEVELOPMENT                                      98       890,330         890,428            0      890,428 194.01
   194,0207951OTHER NONREIMBURSABLE COST CENTERS                 0             0               0            0            0 194.02
   200.00     TOTAL (SUM OF LINES 118-199)              58,139,426   216,003,312     274,142,738            0   274,142,738 200.00




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   Hea1th Financial S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CMS-2552-10
   RECLASSIFICATION AND ADJUSTMENTS OF TRIAL BALANCE OF EXPENSES          Provider CCN:100079 Period:        Worksheet A
                                                                                             From 06/01/2011
                                                                                             To 05/31/2012 Date/Time Prepared:
                                                                                                             10 29 2012 4:33 m
                Cost Center Descrlption                 Adjustments Net Expenses
                                                         (See A-8       For Allocation
                                                           6.00              7.00
           GENERAL SERVICE COST CENTERS
   1.00    00100 NEW CAP REL COSTS-BLDG & FIXT                67,379        5,760,888                                       1.00
   2.00    00200 NEW CAP REL COSTS-MVBLE EQUIP               402,444        7,018,073                                       2.00
   3.00    00300 OTHER CAPITAL RELATED COSTS                       0                0                                       3.00
   4.00    00400 EMPLOYEE BENEFITS                                 0        1;205,045                                       4.00
   5.00    00500 ADMINISTRATIVE & GENERAL                -30,641,883       36,820,907                                       5.00
   7.00    00700 OPERATION OF PLANT                                0        5,023,594                                       7.00
   8.00    00800 LAUNDRY & LINEN SERVICE                           0          316,787                                       8.00
   9.00    00900 HOUSEKEEPING                                      0        2,282,574                                       9.00
   10.00   01000 DIETARY                                    -316,966          638,966                                      10.00
   13,00   01300 NURSING ADMINISTRATION                      -16,140        2,860,968                                      13.00
   14.00   01400 CENTRAL SERVICES & SUPPLY                         0        1,182,394                                      14.00
   15.00   01500 PHARMACY                                   -175,435       70,120,306                                      15.00
   16.00   01600 MEDICAL RECORDS & LIBRARY                    -3,207        7,321,856                                      16.00
   17.00   01700 SOCIAL SERVICE                                    0          402,621                                      17.00
   22.00   02200 I&R SERVICES-OTHER PRGM COSTS APPRVD              0        2,674,569                                      22.00
           INPATIENT ROUTINE SERVICE FTKT CENTERS
   30.00   03000 ADULTS & PEDIATRICS                                0       2,613,287                                      30.00
   31.00   03100 INTENSIVE CARE UNIT                                0       2,554,953                                      31.00
   31.01   03101 STEM CELL TREATMENT                                0       1,849,580                                      31.01
   41.00   04100 SUBPROVIDER - IRF                                  0               0                                      41.00
   42.00   04200 SUBPROVIDER                                        0               0                                      42.00
             CILLARY SERVICE KTAT CENTERS
   50.00   05000 OPERATING ROOM                                   0         6,030,796                                      50.00
   53.00   05300 ANESTHESIOLOGY                                   0         2,182,921                                      53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                        -2,647         9,367,438                                      54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                            0        10,925,560                                      55.00
   55.01   05501 CTU                                              0         7,499,352                                      55.01
   56.00   05600 RADIOISOTOPE                                     0         3,484,372                                      56.00
   57.00   05700 CT SCAN                                          0         2,157,112                                      57.00
   58.00 05800 MAGNETIC RESONANCE IMAGING (MRI)                     0       2,872,541                                      58.00
   59.00   05900 CARDIAC CATHETERIZATION                          0                 0                                      59.00
   60.00   06000 LABORATORY                                 -11,525         7,408,580                                      60.00
   60.01   03420 PATHOLOGY                                        0         3,283,623                                      60.01
   60.02   06001 STEM CELL LABORATORY                             0           290,318                                      60.02
   63.00   06300 BLOOD STORING, PROCESSING & TRANS.               0         1,963,120                                      63.00
   64.00   06400 INTRAVENOUS THERAPY                              0         3,036,095                                      64.00
   65.00   06500 RESPIRATORY THERAPY                              0         1,089,608                                      65.00
   68.00   06800 SPEECH PATHOLOGY                                 0           201,842                                      68.00
   69.00   06900 ELECTROCARDIOLOGY                                0         1,528,411                                      69.00
   71.00   07100 MEDICAL SUPPLIES CHARGED TO PATIENTS             0         5,864,435                                      71.00
   72.00   07200 IMP. DEV CHARGED TO PATIENT                      0           823,477                                      72.00
   73.00   07300 DRUGS CHARGED TO PATIENTS                        0                 0                                      73.00
   76.00   03020 CAT SCAN                                         0                 0                                      76.00
           OUTPATIENT SERVICE rDQT CEN5TA5
   88.00   08800 RURAL HEALTH CLINIC                               0                0                                      88.00
   89.00   08900 FEDERALLY QUALIFIED HEALTH CENTER                 0                0                                      89.00
   90.00   09000 CLINIC                                       -9,084        1,862,373                                      90.00
   90.01   09001 CARDIAC CLINIC                              -48,014          918,253                                      90.01
   90.02 09002 GENERAL MEDICINE                                     0       1,185,243                                      90.02
   90.03 09003 OPD-I                                        -116,780        2,490,352                                      90.03
   90.04 09004 MOHS                                                0          604,882                                      90.04
   90.05   09005 SURG ONCOLOGY                                      0       1,202,975                                      90.05
   90.06   09006 GYN ONCOLOGY                                       0         404,038                                      90.06
   90.07   09007 HEM ONCOLOGY                                       0       1,199,301                                      90.07
   90.08   09008 DEERFIELD BEACH CLINIC                             0       4,417,069                                      90.08
   90.09   09009 MIRAMAR CLINIC                                     0         381,290                                      90.09
   90.11   09011 KENDALL CLINIC                                     0       2,099,408                                      90.11
   90.12   09012 ENT                                                0       2.334,767                                      90.12
   90.13   04950 PLANTATION                                         0         597,077                                      90.13
   90.14   04951 CRB PAIN CENTER                                    0         849,216                                      90.14
   90.15   04952 CENTER FOR LIVER DISEASE                           0           1,976                                      90.15
   90.16   04953 DRI MULTISPEC CLINIC                               0         446,599                                      90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                            0          94,789                                      90.17
   92.00 09200 OBSERVATION BEDS (NON-DISTINCT PART)                                                                        92.00
         STHER REIMRURSABLE COST CENTERS
   99.10 09910 CORF                                                 0               0                                      99.10
          SPECIAL PURPOSE COST CENTERS
   109.00 10900 PANCREAS ACQUISITION                                0               0                                     109.00
   110.00 11000 INTESTINAL ACQUISITION                              0               0                                     110.00
   111.00 11100 ISLET ACQUISITION                                   0               0                                     111.00
   113.00 11300 INTEREST EXPENSE                                    0               0                                     113.00
   118.00       SUBTOTALS (SUM OF LINES 1-117)           -30,871,858      241,746,577                                     118.00



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   Hea1th Financjal S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
   RECLASSIFICATION AND ADJUSTMENTS OF TRIAL BALANCE OF EXPENSES          Provider CCN:100079 Period:        Worksheet A
                                                                                            From 06/01/2011
                                                                                            To 05/31/2012 Date/Time Prepared:
                                                                                                             10 29 2012 4:33 m
               cost center Description                Adjustments Net Expenses
                                                        5ee A-8   For Allocation
                                                         6.00          7.00
          NONREIMBURSABLE CDST CENTERS
   190.00 19000 GIFT, FLOWER, COFFEE SHOP & CANTEEN          4,333             0                                          190.00
   191.00 19100 RESEARCH                                         0       638,208                                          191.00
   192.00 19200 PHYSICIANS' PRIVATE OFFICES                      0             0                                          192.00
   193.00 19300 NONPAID WORKERS                                  0             0                                          193.00
   194.00 07950 CAFETERIA RENTAL                                 0             0                                          194.00
   194.0107952 DEVELOPMENT                                       0       890,428                                          194.01
   194.0207951 OTHER NONREIMBURSABLE COST CENTERS                0             0                                          194.02
   200.00      TOTAL (SUM OF LINES 118-199)             -30,867,525   243,275,213                                         200.00




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Case 1:13-cv-22500-CMA Document 1-10 Entered on FLSD Docket 07/12/2013 Page 22 of 85


   Health Financial S stems                         UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
   RECLASSIFICATIONS                                                       Provider CCN:100079 Period:        Worksheet A-6
                                                                                              From 06/01/2011
                                                                                              To 05/31/2012 Date/Time Prepared:
                                                                                                              10 29 2012 4:33 m
                                          Increases
                      Cost Center          Line #         Salar         Other
                         2.00               3.00           4.00          5.00
           B - IMFUSION
   1.00    INTRAVENOV/ THERAPY. -               64.09      2,184,047      852,048                                            1.00
           TOTALS                                          2,184,047      852,048
           C - SITE DISEASE BASED GROUP
   1.00    CARDIAC CLINIC                       90.01         58,064       37,702                                            1.00
   2.00    GENERAL MEDICINE                     90.02        118,256       76,785                                            2.00
   3.00    OPD-I                                90.03        281,933      183,062                                            3.00
   4.00    MOHS                                 90.04        132,106       85,778                                            4.00
   5.00    SURG ONCOLOGY                        90.05        143.574       93,224                                            5.00
   6.00    GYN ONCOLOGY                         90.06         69,001       44,803                                            6.00
   7.00 HEY OJCOLOGY                            90.04        215,147      139,697                                            7.00
           TOTALS                                          1,018,081      661,051
           G - INTEREST EXPENSE
   1.00    NEW CAP REL COSTS-BLDG &              1.00             0       272,381
           FIXT
   2.00    NEW CAP REL COSTS-MVBLE               2.00             0        33,819
           E UIP
           TOTALS                                                 0       306,200
           I - EMPLW EE MEALS
           EMPLOYEE W IEFTJX.S                   4.00             0        29,730
           TOTALS                                                 0        29,730
           7'           RESEARCH
   1.00 RESEARCH                               1q1z00       167:q77        89.345
           TOTALS                                           161,977        89,345
           K - IMPLANTABLE DEVICES
           IMP.. PCV C@3RGED T#-PATIENT         72.00             0       823,477
           TOTALS                                                 0       823,477
           L - MEDICAL SUPPLIES
           MEDICAL SUPPLIES CHARGED TO          71.00             0     5,864,435
           PATIENTS
   2.00                                          0.00             0             0                                            2.00
   3.00                                          0.00             0             0                                            3.00
   4.00                                          0.00             0             0                                            4.00
   5.00                                          0.00             0             0                                            5.00
   6.00                                          0.00             0             0                                            6.00
   7.00                                          0.00             0             0                                            7.00
   8.00                                          0.00             0             0                                            8.00
   9.00                                          0.00             0             0                                            9.00
   10.00                                         0.00             0             0                                           10.00
   11.00                                         0.00             0             0                                           11.00
   12.00                                         0.00             0             0                                           12.00
   13.00                                         0.00             0             0                                           13.00
   14.00                                         0.00             0             0                                           14.00
   15.00                                         0.00             0             0                                           15.00
   16.00                                         0.00             0             0                                           16.00
   17.00                                         0.00             0             0                                           17.00
   18.00                                         0.00             0             0                                           18.00
   19.00                                         0.00             0             0                                           19.00
   20.00                                         0.00             0             0                                           20 .00
   21.00                                         0.00             0             0                                           21.00
   22.00                                         0.00             0             0                                           22.00
   23.00                                         0.00             0             0                                           23.00
   24.00                                         0.00             0             0                                           24.00
   25.û0                                         0.00             û             0                                           25.00
   26.00                                         0.00             0             0                                           26.00
   27.00                                         0.00             0             0                                           27.00
   28.00                                         0.00             0             0                                           28.00
   29.00                                         0.00             0             0                                           29.00
   30.00                                         0.00             0             0                                           30.00
   31.00                                         0.00             0             0                                           31.00
   32.00                                         0.00             0             0                                           32.00
   33.00                                         0.00             0             0                                           33.00
           TOTALS                                                 0     j,864,/35
   500.00 Grand Total: Increases                           3,364,105    8,626,286                                          500.00




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   Hea1th Financial S stems                         UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
   RECLASSIFICATIONS                                                       Provider CCN:100079 Period:        Worksheet A-6
                                                                                              From 06/01/2011
                                                                                              To 05/31/2012 Date/Time Prepared:
                                                                                                              10 29 2012 4:33 m
                                          Decreases
                      Cost Center          Line #         Salar         Other     Wkst. A-7 Ref.
                         6.00               7.00           8.00         9.00          19.00
           R - INFUSION
   1.00 AT#LTS & PEDIATRICS                     /9.09      2,184,047      852,048             0                              1.00
           TOTALS                                          2,184,047      852,048
           C - SITE DISEASE BASED GROUP
   1.00    CLINIC                               90.00      1,018,081      661,051             0                              1.00
   2.00                                          0.00              0            0             0                              2.00
   3.00                                          0.00              0            0             0                              3.00
   4.00                                          0.00              0            0             0                              4.00
   5.00                                          0.00              0            0             0                              5.00
   6.00                                          0.00              0            0             0                              6.00
   7.00                                          0.00              0            0             0                              7.00
           TOTALS                                          1,018,081      661,051
           G - INTEREST EXPENSE
   1.00    INTEREST EXPENSE                    113.00             0       306,200            11                              1.00
   2.00                                          0:09             0             0            11                              2.00
           Tom us                                                 0       jùt,i00
           I - EMBLA EE MEALS
           DIETARY                              10 .00            0        29,730             0
           TOTALS                                                 0        29,730
           J - PI-     W RESEARGI
           PyARMACY                             15.00        $61,977       89,345             0
           TOTALS                                            161,977       89,345
           K - IMPLANTABLE DEVICES
           CqNTRN4 SERVICES & SUPPLY            14.00             0       823,477             0
           TOTALS                                                 0       823,477
           L - MEDICAL SUPPLIES
   1.00    ADMINISTRATIVE & GENERAL              5.00             0            255            0                              1.00
   2.00    OPERATION OF PLANT                    7.00             0             72            0                              2.00
   3.00    HOUSEKEEPING                          9.00             0          4,155            0                              3.00
   4.00    NURSING ADMINISTRATION               13.00             0          2,006            0                              4.00
   5.00    CENTRAL SERVICES & SUPPLY            14.00             0      4,667,246            0                              5.00
   6.00    PHARMACY                             15.00             0        100,529            0                              6.00
   7.00    ADULTS & PEDIATRICS                  30.00             0            747            0                              7.00
   8.00    OPERATING ROOM                       50.00             0        163,493            0                              8.00
   9.00    ANESTHESIOLOGY                       53.00             0         82,403            0                              9.00
   10.00   RADIOLOGY-DIAGNOSTIC                 54.00             0        178,136            0                             10.00
   11.00   RADIOLOGY-THERAPEUTIC                55.00             0         65,289            0                             11.00
   12.00   CTU                                  55.01             0        131,221            0                             12.00
   13.00   RADIOISOTOPE                         56.00             0         18,055            0                             13.00
   14.00   CT ScAN                              57.00             0         63,369            0                             14.00
   15.00   MAGNETIC RESONANCE IMAGING           58.00             0         12,767            0                             15.00
           (MRI)
   16.00   LABORATORY                           60.00             0       184.034             0                             16.00
   17.00   RESPIRATORY THERAPY                  65.00             0        12,342             0                             17.00
   18.00   ELECFROCARDIOLOGY                    69.00             0         1,669             0                             18.00
   19.00   CLINIC                               90.00             0        34,657             0                             19.00
   20.00   CARDIAC CLINIC                       90.01             0         2,023             0                             20.00
   21.00   GENERAL MEDICINE                     90.02             0           340             0                             21.00
   22.00   OPD-I                                90.03             0        12,569             0                             22.00
   23.00 MOHS                                   90.04             0        12,031             0                             23.00
   24.00   SURG ONCOLOGY                        90.05             0         9,821             0                             24.00
   25.00   GYN ONCOLOGY                         90.06             0         2,368             0                             25.00
   26.00   DEERFIELD BEACH CLINIC               90.08             0        34,377             0                             26.00
   27.00   MIRAMAR CLINIC                       90.09             0         5,751             0                             27.00
   28.00   KENDALL CLINIC                       90.11             0        23,675             0                             28.00
   29.00   ENT                                  90.12             0        30,214             0                             29.00
   30.00   PLANTATION                           90.13             0         1,620             0                             30.00
   31.00   CRB PAIN CENTER                      90.14             0         5,578             0                             31.00
   32.00   DRI MULTISPEC CLINIC                 90.16             0         1,156             0                             32.00
   33.00 PREMIUM CARE (EXEX. MED.)              90.17             0             467           0                             33.00
          TOTALS                                                   0     5,864,435
   500.00 Grand Total: Decreases                           3,364,105     8,626,286                                         500.00




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   Hea1th Financial S stems                      UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lleu of Form CM5-2552-10
   RECONCILIATION OF CAPITAL COSTS CENTERS                              Provjder CCN:100079 Period:        Worksheet A-7
                                                                                                   From 06/01/2011 Parts 1-111
                                                                                                   To 05/31/2012 Date/Time Prepared:
                                                                                                                   10 29 2012 4:33 m
                                                                                       Ac uisitions
                                                       Beginning       Purchases         Donation       Total     Disposals and
                                                        Balances                                                   Retirements
                                                          1.00           2.00              3.00          4.00          5.00
        PAFr I - ANALYSIS OF C1* c 5 IN CAPITAL M SEF M LANCES
   1.00 Land                                                      0                O               0               0               O   1.00
   2.00   Land Improvements                               1,708,228                0               0               0               0   2.00
   3.00   Buildings and Fixtures                        103,838,404                0               0               0               0   3.00
   4.00   Building Improvements                                   0                0               0               0               0   4.00
   5.00   Fqxed Equipment                                         0                0               0               0               0   5.00
   6.00   Movable Equipment                              55,523,721                0               0               0               0   6.00
   7.00   HIT designated Assets                                   0                0               0               0               0   7.00
   8.00 Subtotal (sum of lqnes 1-7)                     161,070,353                0               0               0               0 8.00
   9.00 Reconciling Items                                -9,362,121                0               0              0                0 9.00
   10.00 Total (line 8 mjnus line 9)                    170,432,474                0               0              0                0 10.00
                                                                         SUMMARY OF CAPITAL
               Cost Center Description                Depreciation       Lease          Interest   Insurance (see Taxes (see
                                                                                                   instructions instrnctions)
                                                           9.00        10.00         11.00                12.00         13.00
        PART TI - RErnMCILIATION OF          FROM %KAKSHEET A CpLuMN 2 LINES 1 and 2
   1.00 NEW CAP REL COSTS-BLDG & FIXT                      5,086,071           0                   0              0                0 1.00
   2.00 NEW CAP REL COSTS-MVBLE EQUIP                      6,356 ,415          0                   0              0                0 2.00
   3.00 Total (sum of lines 1-2)                         11,442,486                0               0              0                0 3.00
                                                                 CY PUTATION DF RATIOS                 ALLIKATION OF
                                                                                                       OTHER G PITAL
               Cost Center Description                Gross Assets Capîtalized Gross Assets Ratio (see                 Insurance
                                                                     Leases       for Ratio instructions)
                                                                               (col. 1 - co1.
                                                                                           ?
                                                          1.00           2.00             3.00             4.00          5.00
        PART III - RECXNCILIATION OF CAPITAL CQSTS CENTERS
   1.00 NEW CAP REL COSTS-BLDG & FIXT                   118,532,498                0    118,532,498         0.597834       335,057     1.00
   2.00 NEW CAP REL COSTS-MVBLE EQUIP                    79,737,515                0     79,737,515         0.402166       225,395     2.00
   3.00 Total (sum of lines 1-2)                        198,270,013                0    198,270,013         1.000000       560,452 3.00




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   Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   RECONCILIATION OF CAPITAL COSTS CENTERS                               Provider CCN:100079 Period:        Worksheet A-7
                                                                                                      From 06/01/2011 Parts 1-111
                                                                                                      To 05/31/2012 Date/Time Prepared:
                                                                                                                         10 29 2012 4:33 m
                                                      Ending Balance       Fully
                                                                        Depreciated
                                                                          Assets
                                                            6.00            7.00
          PART I - ANALYSIS OF CHAMRES IN CAPITAL ASSET RALANCES
   1.00   Land                                                      0               0                                                  1.00
   2.00    Land Improvements                                1,708,228       1,729,420                                                  2.00
   3.00   Buildings and Fixtures                          103,838,404     116,803,078                                                  3.00
   4.00   Building Improvements                                     0               0                                                  4.00
   5.00    Fixed Equipment                                          0               0                                                  5.00
   6.00   Movable Equipment                                55,523,721      79,737,515                                                  6.00
   7.00   HIT designated Assets                                     0               0                                                  7.00
   8.00 subtotal (sum of lines 1-7)                      161,070,353      198,270,013                                                  8.00
   9.00 Reconciling Items                                 -9,362,121       -8,085,545                                                  9.00
   10.00 Total (line 8 minus line 9)                     170,432,474      206,355,558                                                 10.00
                                                           SUMYARY OF CAPITAL
               Cost Center Descriptbon                    other         otal (l) (sum
                                                      apltal-Relate of cols. 9
                                                      d Costs (see through 14)
                                                     instructions
                                                          14.00       15.00
          PM T 11 - RErY CILIATIO OF         FRœ Y RKSHEET A COLY 2 LINES l and 2
   1.00   NEW CAP REL COSTS-BLDG & FIXT                           0    5,086,071                                                       1.00
   2.00   NEW CAP REL COSTS-MVBLE EQUIP                           0    6,356,415                                                       2.00
   3.00 Total (sum of lines 1-2)                                  0 11,442,486                                                         3.00
                                                              ALLOCATION OF OTHER CAPITAL                 SUMMARY OF
                                                                                                           CARITAL
               Cost Center Description                    Taxes            Other          Total (sum of Depreciation        uease
                                                                    capital-Relate cols. 5
                                                                       d Costs     throu h 7
                                                          6.00           7.00         8.00                   9.00           10.00
        PART III - RECONCILIATION OF CAPITAL COSTS CENTERS
   1.00 NEW CAP REL COSTS-BLDG & FIXT                              0                  0         335,057      5,153,450              0 1.00
   2.00 NEW CAP REL COSTS-MVBLE EQUIP                              0                  0         225,395      6,758,859              0 2.00
   3.00 Total (sum of lines 1-2)                                   0                  0         560,452     11,912,309              0 3.00




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   Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lleu of Form CM5-2552-10
   RECONCILIATION OF CAPITAL COSTS CENTERS                               Provider CCN:100079 Period:        Worksheet A-7
                                                                                              From 06/01/2011 Parts 1-111
                                                                                              To 05/31/2012 Date/Time Prepared:
                                                                                                                     10 29 2012 4:33 m
                                                                                SUMMARY OF CAPITAL
               Cost Center Description                  Interest    Insurance (see Taxes (see        Other    Total (2) (sum
                                                                    instructions) instructions) Capital-Relate of cols. 9
                                                                                                 d Costs (see through 14)
                                                                                                  instructions
                                                          11.0û         12.00         13.00           14.00             15.00
         PART III - RErnMCILIATION OF CAPITAL COSTS CENTERS
   1.00 NEW CAP REL COSTS-BLDG & FIXT                         272,381     335,057             0                  0      5,760,888 1.00
   2.00 NEW CAP REL COSTS-MVBLE EQUIP                          33,819     225,395             0                  0      7,018,073 2.00
   3.00 Total (sum of lines 1-2)                              306,200     560,452             0                  0     12,778,961 3.00




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   Hea1th Financial S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   ADJUSTMENTS TO EXPENSES                                                Provider CCN:100079 Period:        Worksheet A-8
                                                                                                    From 06/01/2011
                                                                                                    To 05/31/2012 Date/Time Prepared:
                                                                                                                     10 29 2012 4:33 m
                                                                                          Expense Classlflcation on Worksheet A
                                                                                        To/From Which the Amount is to be Adjusted


                Cost Center Description                  Basis/code (2)   Amnunt               Cost Center            Line #
                                                              1.00         2.00                  3.00                  4.00
   1.00 Investment income - NEW CAP REL COSTS-BLDG &                               0 NEW CAP REL COSTS-BLDG &                 1.00 1.00
           FIXT (chapter 2)                                                            FIXT
   2.00    Investment income - NEW CAP REL COSTS-MVBLE                             0NEW CAP REL COSTS-MVBLE                   2.00    2.00
        EQUIP (chapter 2)                                                           EQUIP
   3.00 Investment income - other (chapter 2)                                      0                                          0.00 3.00
   4.00 Trade,quantity, and time discounts (chapter                                0                                          0.00 4.00
        8)
   5.00 Refunds and rebates of expenses (chapter 8)                                0                                          0.00 5.00
   6.00 Rental of provider space by suppliers                                      0                                          0.00 6.00
           (chapter 8)
   7.00    Telephone services (pay stations excluded)                        -10,836 DMINISTRATIVE & GENERAL                  5.00
           (chapter 21)
   8.00    Televqsion and radio service (chapter 21)                                0                                         0.00 8.00
   9.00    Parking 1ot (chapter 21)                                                 0                                         0.00 9.00
   10.00   Provider-based physician adjustment               A-8-2                  0                                              10.00
   11.00   Sale of scrap! waste,etc. (chapter 23)                                   0                                         0.00 11.00
   12.00   Related organnzation transactions (chapter        A-8-1        -29,840,595                                              12.00
           10)
   13.00 Laundry and linen service                                                 0                                          0.00   13.00
   14.00 Cafeteria-employees and guests                                            0                                          0.00   14.00
   15.00 Rental of quarters to employee and others                                 0                                          0.00   15.00
   16.00 Sale of medical and surgical supplies to                                  0                                          0.00   16.00
         other than patients
   17.00 Sale of drugs to other than patients                               -175,435PHARMACY                              15.00 17.00
   18.00 Sale of medical records and abstracts                                -3,207MEDICAL RECORDS & LIBRARY             16.00 18.00
   19.00 Nursing school (tuition,fees, books, etc.)                                0                                          0.00 19.00
   20.00 Vending machines                                                          0                                          0.00 20.00
   21.00 Income from impositjon of interest, finance                               0                                          0.00 21.00
           or penalty charges (chapter 21)
   22.00 Interest expense on Medicare overpayments                                 0                                          0.00 22.00
         and borrowings to repay Medicare
           overpayments
   23.00 Adjustment for respiratory therapy costs in                               0RESPIRATORY THERAPY                   65.00 23.00
         excess of limitation (chapter l4)
   24.00 Adjustment for physical therapy costs in                                  0*** Cost Center Deleted ***           66.00 24.00
         excess of lïmitation (chapter 14)
   25.00 Utilization review - physicians'                                          0*** cost Center Deleted ***          114.00 25.00
         compensation (chapter 21)
   26.00 Depreciation - NEW CAP REL COSTS-BLDG & FIXT                              0NEW CAP REL COSTS-BLDG &                  1.00 26.00
                                                                                    FIXT
   27.00 Depreciation - NEW CAP REL COSTS-MVBLE EQUIP                              0NEW CAP REL COSTS-MVBLE                   2.00 27.00
                                                                                    EQUIP
   28.00 Non-physician Anesthetist                                                 0*** Cost Center Deleted ***           19.00 28.00
   29.00 Physicians' assistant                                                     0                                       0.00 29.00
   30.00   Adjustment for occupational therapy costs in                            0*** Cost Center Deleted ***           67.00 30.00
           excess of limitation (chapter 14)
   31.00   Adjustment for speech pathology costs in                                OSPEECH PATHOLOGY                      68.00 31.00
           excess of limitation (chapter 14)
   32.00   CAH HIT Adjustment for Depreciation and                                 0                                       0.00 32.00
           Interest
   33.00   NON-ALLOWABLE PUBLIC RELATIONS                                   -109,454 DMINISTRATIVE & GENERAL               5.00      33.00
   34.00   PUBLIC RELATIONS CONSULTING FEE                                  -194,350 DMINISTRATIVE & GENERAL               5.00      34.00
   35.00   TRANSPORTATION                                                   -126,759 DMINISTRATIVE & GENERAL               5.00      35.00
   36.00   CARDIOVASCULAR CENTER CONFERENCE                                  -48,014CARDIAC CLINIC                        90.01      36.00
   37.00   OFFSET OF NEGATIVE AMOUNTS                                          4,333GIFT, FLOWER, COFFEE SHOP &          190.00      37.00
                                                                                    CANTEEN
   38.00 SPACE RENTAL-QUEST/MISC                               B             -11,525LABORATORY                            60.00 38.00
   39.00   SPACE RENTAL-QUEST                                  B              -9,084CLINIC                                90.00      39.00
   40.00   SPACE RENTAL-QUEST                                  B             -51,135 DMINISTRATIVE & GENERAL               5.00      40.00
   41.00   TRANSPORTATION & PARKING                            B            -238,693ADMINISTRATIVE & GENERAL               5.00      41.00
   42.00   INSERVICE EDUCATION                                 B             -16,140 NURSING ADMINISTRATION               13.00      42.00
   43.00   RADIOLOGY                                           B              -2,647RADIOLOGY-DIAGNOSTIC                  54.00      43.00
   44.00   OPD-I                                               B            -116,780OPD-I                                 90.03      44.00
   45.00   LOSS ON EXTENQUISHMENT OF DEBT-                     A              67,465NEW CAP REL COSTS-BLDG &               1.00      45.00
                                                                                    FIXT
   45.01 LOSS ON EXTENQUISHMENT OF DEBT-                                      33,813NEW CAP REL COSTS-MVBLE                   2.00 45.01
                                                                                    EQUIP
   45.02 NON-ALLOWABLE CONSULTING FEES                                       -66,662 DMINISTRATIVE & GENERAL               5.00 45.02
   45.03 OP MEALS                                                           -229,388DIETARY                               10.00 45.03




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   Hea1th Financial S stems                      UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CMS-2552-10
   ADJUSTMENTS TO EXPENSES                                              Provider CCN:100079 Period:        Worksheet A-8
                                                                                                  From 06/01/2011
                                                                                                  To 05/31/2012 Date/Time Prepared:
                                                                                                                   10 29 2012 4:33 m
                                                                                        Expense Classification on Worksheet A
                                                                                      To/From Which the Amount is to be Adjusted


               Cost Center Description                 Basis/fode (2)   Amount               Cost Center           Line #
                                                            1.00         2.00                 3.90                   4.00
   45.04 NON-ALLa#ABLE INTEREST EXPENSE                       B            368,642NEW CAP REL COSTS-MVBLE                   2.00 45.04
                                                                                  EQUIP
   45.05 INTEREST INCOME OFFSET                              B                 -86NEW CAP REL COSTS-BLDG &                  1.00 45.05
                                                                                  FIXT
   45.06 INTEREST INCOME OFFSET                                                -11NEW CAP REL COSTS-MVBLE                   2.00 45.06
                                                                                  EQUIP
   45.07 MISCELLANEOUS INCOME - A&G                                         -3,399 DMINISTRATIVE & GENERAL               5.00 45.07
   45.08 SALES COMMISSIONS                                                 -87,578DIETARY                               10.00 45.08
   50.00 TOTAL (sum of lines 1 thru 49) (Transfer to                    -30,867,525                                              50.00
         Worksheet A, column 6, line 200.)




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   Hea1th Financqal S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   ADJUSTMENTS TO EXPENSES                                                Provider CCN:100079 Period:        Worksheet A-8
                                                                                             From 06/01/2011
                                                                                             To 05/31/2012 Date/Time Prepared:
                                                                                                             10 29 2012 4:33 m
                Cost Center Descrlption              kst. A-7 Ref.
                                                         5.00
   1.00 Investment income - NEW CAP REL COSTS-BLDG &             0                                                          1.00
           FIXT (chapter 2)
   2.00    Investment income - NEW CAP REL COSTS-MVBLE            0                                                         2.00
        EQUIP (chapter 2)
   3.00 Investment income - other (chapter 2)                     0                                                         3.00
   4.00 Trade, quantity, and time discounts (chapter              0                                                         4.00
        8)
   5.00 Refunds and rebates of expenses (chapter 8)               0                                                         5.00
   6.00 Rental of provider space by suppliers                     0                                                         6.00
           (chapter 8)
   7.00    Telephone services (pay stations excluded)             0                                                         7.00
           (chapter 21)
   8.00    Television and radio service (chapter 21)              0                                                         8.00
   9.00    Parking 1ot (chapter 21)                               0                                                         9.00
   10.00   Provider-based physician adjustment                    0                                                        10.00
   11.00   Sale of scrap:waste, etc. (chapter 23)                 0                                                        11.00
   12.00   Related organlzation transactions (chapter             0                                                        12.00
           10)
   13.00 Laundry and linen service                                0                                                        13.00
   14.00 Cafeteria-employees and guests                           0                                                        14.00
   15.00 Rental of quarters to employee and others                0                                                        15.00
   16.00 Sale of medical and surgical supplies to                 0                                                        16.00
         other than patients
   17.00 Sale of drugs to other than patients                     0                                                        17.00
   18.00 Sale of medical records and abstracts                    0                                                        18.00
   19.00 Nursing school (tuition, fees, books, etc.)              0                                                        19.00
   20.00 Vending machines                                         0                                                        20.00
   21.00 Income from lmposition of interest, finance              0                                                        21.00
           or penalty charges (chapter 21)
   22.00 Interest expense on Medicare overpayments                0                                                        22.00
         and borrowqngs to repay Medicare
         overpayments
   23.00 Adjustment for respiratory therapy costs in                                                                       23.00
         excess of limitation (chapter 14)
   24.00 Adjustment for physical therapy costs in                                                                          24.00
         excess of limitation (chapter 14)
   25.00 Utilization review - physicians'                                                                                  25.00
           compensation (chapter 21)
   26.00   Depreciation - NEW CAP REL COSTS-BLDG & FIXT           0                                                        26.00
   27.00   Depreciation - NEW CAP REL COSTS-MVBLE EQUIP           0                                                        27.00
   28.00   Non-physician Anesthetist                                                                                       28.00
   29.00   Physicians' assqstant                                  0                                                        29.00
   30.00   Adjustment for occupational therapy costs in                                                                    30.00
           excess of limqtatqon (chapter 14)
   31.00   Adjustment for speech pathology costs in                                                                        31.00
           excess of limitatjon (chapter 14)
   32.00   CAH HIT Adjustment for Depreciation and                0                                                        32.00
           Interest
   33.00 NON-ALLOWABLE PUBLIC RELATIONS                           0                                                        33.00
   34.00 PUBLIC RELATIONS CONSULTING FEE                          0                                                        34.00
   35.00 TRANSPORTATION                                           0                                                        35.00
   36.00 CARDIOVASCULAR CENTER CONFERENCE                         0                                                        36.00
   37.00 OFFSET OF NEGATIVE AMOUNTS                               0                                                        37.00
   38.00 SPACE RENTAL-QUEST/MISC                                  0                                                        38.00
   39.00   SPACE RENTAL-QUEST                                     0                                                        39.00
   40.00   SPACE RENTAL-QUEST                                     0                                                        40.00
   41.00   TRANSPORTATION & PARKING                               0                                                        41.00
   42.00   INSERVICE EDUCATION                                    0                                                        42.00
   43.00   RADIOLOGY                                              0                                                        43.00
   44.00   OPD-I                                                  0                                                        44.00
   45.00   LOSS ON EXTENQUISHMENT OF DEBT-                        9                                                        45.00
   45.01   LOSS ON EXTENQUISHMENT OF DEBT-                        9                                                        45.01
   45.02   NON-ALLOWABLE CONSULTING FEES                          0                                                        45.02
   45.03   OP MEALS                                               0                                                        45.03
   45.04   NON-ALLOWABLE INTEREST EXPENSE                         9                                                        45.04
   45.05   INTEREST INCOME OFFSET                                 9                                                        45.05
   45.06   INTEREST INCOME OFFSET                                 9                                                        45.06
   45.07   MISCELLANEOUS INCOME - A&G                             0                                                        45.07
   45.08   SALES COMMISSIONS                                      0                                                        45.08
   50.00 TOTAL (sum of lines 1 thru 49) (Transfer to                                                                       50.00
         Worksheet A, column 6, line 200.)




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   Hea1th Financial S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   STATEMENT OF COSTS OF SERVICES FROM RELATED ORGANIZATIONS AND HOME     Provider CCN:100079 Period:        Worksheet A-8-1
   OFFICE COSTS                                                                                    From 06/01/2011
                                                                                                   To 05/31/2012 Date/Time Prepared:
                                                                                                                   10 29 2012 4:33 m
                                                           Line No.             Cost Center                Ex ense Items
                                                             1.00                  2.00                        3.00
           .   COSTS INCURRED AND ADJUSTMF.NTS REW IRO M A RESULT OF TRANSAU IONS WITH RELATED ORRAHIZATIO S OR CLAIMED
          Hœ E OFFICE rnl'l's:
   1.00                                                             5.00ADMINISTRATIVE & GENERAL     DMIN & GENERAL              1.00
   2.00                                                             0.00                                                         2.00
   3.00                                                             0.00                                                         3.00
   4.00                                                             0.00                                                         4.00
   5.00 TOTALS (sum of lines 1-4). Transfer column                                                                               5.00
          6, line 5 to Worksheet A-8, column 2, line
          12.
   * The amounts on lines 1-4 (and subscripts as appropriate) are transferred in detail to Worksheet A, column 6, lines as
   appropriate. Positive amounts increase cost and negative amounts decrease cost. For related organization or home office cost
   which has not been posted to Worksheet A, columns 1 and/or 2, the amount allowable should be indlcated in column 4 of thjs part.
                                                         Symbol (1)              Name             Percentage of
                                                                                                      ownershi
                                                             1.00                  2.00                 3.00
          B. INTERRELATIONSHIP TO RELATED OROAMIZATIONIS AND OR HQME OFFICE:
   The Secretary,by virtue of the authority granted under section 1814(b)(1) of the Social Security Act, requires thatyou furnish
   the informatnon requested under Part B of this worksheet.
   This information is used by the Centers for Medicare and Medicaid Services and its intermediaries/contractors in determining that
   the costs applicable to services, facilities! and supplies furnished by organizations related to you by common ownership or
   control represent reasonable costs as determlned under section 1861 of the Social Security Act. If you do not provide a11 or any
   part of the request information, the cost report is considered incomplete and not acceptable for purposes of claiming
   reimbursement under title Xv111.
   6.00                                                      A       UNIVERSITY OF M                     100.00                 6.00
   7.00                                                                                                    0.00                 7.00
   8.00                                                                                                    0.00                 8.00
   9.00                                                                                                    0.00                 9.00
   10.00                                                                                                   0.00                10.00
   100.00 G. Other (financial or non-financial)                                                                                100.00
          s ecif :
   (1) Use the following symbols to indicate interrelationship to related organizations:
   A. Individual has financial interest (stockholder, partner, etc.) in both related organization and in provider.
   B. Corporation. partnership, or other organization has financial interest in provider.
   C. Provider has financial interest in corporation, partnership, or other organization.
   D. Director, officer, adminqstrator, or key person of provider or relative of such person has financial interest in related
   organization.
   E. Individual is director! officer, administrator, or key person of provider and related organization.
   F. Director, officer, admlnistrator, or key person of related organization or relative of such person has financial interest in
   provider.




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   Hea1th Financial S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
   STATEMENT OF COSTS OF SERVICES FROM RELATED ORGANIZATIONS AND HOME     Provider CCN:100079 Period:        Worksheet A-8-1
   OFFICE COSTS                                                                                       From 06/01/2011
                                                                                                      To 05/31/2012 Date/Time Prepared:
                                                                                                                         10 29 2012 4:33 m
                                                         Amount of          Amount           Net         kst. A-7 Ref.
                                                        llowable Cost Included in Adjustments
                                                                      ks.A,column (col. 4 minus
                                                                               5           col. 5 *
                                                            4.00             5.00            6.00           7.00
           .   'M TS INœ RRED AND M JUSTMENTS REW IRED M A RESULT OF TRANSAG Iœ S Wn RELATED (mGANIZAH O S DR CLM MED
          IIY E OFFICE tm TS:
   1.00                                                     4,705,190       34,545,785     -29,840,595              0                  1.00
   2.00                                                             0                0               0              0                  2.00
   3.00                                                             0                0               0              0                  3.00
   4.00                                                             0                0               0              0                  4.00
   5.00 TOTALS (sum of lines 1-4). Transfer column          4,705,190       34,545,785     -29,840,595                                 5.00
          6, line 5 to Worksheet A-8, column 2, line
          12.
   * The amounts on lines 1-4 (and subsccipts as appropriate) are transferred in detail to Worksheet A, column 6, lines as
   appropriate. Positive amounts increase cost and negatjve amounts decrease cost. For related organization or home office cost
   which has not been posted to Worksheet A, columns 1 and/or 2, the amount allowable should be indicated in column 4 of this part.
                                                                     Related Organizatîonts) and/or Home Office


                                                                     Name                Percentage of       Type of Bvsiness
                                                                                           Ownershî
                                                                     4.00                    5.00                  6.00
         B. INTERRELATIONSHIP TO RELATED OROAHIZATION S) AND/QR HOME OFFICE:
   The Secretary, by virtue of the authority granted under section 1814(b)(1) of the Social Security Act, requires that you furnish
   the information requested under Part B of this worksheet.
   This information is used by the Centers for Medjcare and Medjcaid Services and its intermediaries/contractors in determining that
   the costs applicable to services, facilities! and supplies furnished by organizations related to you by common ownership or
   control represent reasonable costs as determaned under section 1861 of the Social Security Act. If you do not provide a11 or any
   part of the request information, the cost report is considered incomplete and not acceptable for purposes of claiming
   reimbursement under title Xv111.
   6.00                                               UNIVERSITY OF MIAMI                  100.00COLLEGE                       6.00
   7.00                                                                                      0.00                              7.00
   8.00                                                                                      0.00                              8.00
   9.00                                                                                      0.00                              9.00
   10.00                                                                                     0.00                             10.00
   100.00 G. Other (financial or non-financial)                                                                                      100.00
          s ecif :
   (1) Use the following symbols to indicate interrelationship to related organizations:
   A. Individual has financial interest (stockholder, partner, etc.) in both related organization and in provider.
   B. corporation, partnership, or other organization has financial interest in provider.
   C. Provider has financial interest in corporation, partnership, or other organization.
   D. Director, officer, administrator, or key person of provider or relative of such person has financial interest in related
   organization.
   E. Individual is director! officer, administrator, or key person of provider and related organization.
   F. Director, officer, admnnistrator, or key person of related organization or relative of such person has financial interest in
   provider.




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   Hea1th Financial S stems                         UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CMS-2552-10
   COST ALLOCATION - GENERAL SERVICE COSTS                                 Provider CCN:100079 Period:        Worksheet B
                                                                                                     From 06/01/2011 Part I
                                                                                                     To 05/31/2012 Date/Time Prepared:
                                                                                                                        10 29 2012 4:33 m
                                                                         CAPITAL RELATED COSTS
                Cost Center Description                 Net Expenses    NEW BLDG &       NEW MVBLE       EMPLOYEE        Spbtotal
                                                          for Cost         FIXT            EQUIP         BENEFITS
                                                         Allocation
                                                        (from Wkst A
                                                          col. 7
                                                             0            1.00             2.00           4.00              4A
        GENERAL SERW CE TN CENTERS
   1.00 00100 NEW CAP REL COSTS-BLDG & FIXT                 5:760,888      5,760,888                                                    1.00
   2.00 00200 NEW CAP REL COSTS-MVBLE EQUIP                 7,018,073                      7,018,073                                    2.00
   4.00 00400 EMPLOYEE BENEFITS                             1,205,045              0          12,199      1,217,244                     4.00
   5.00    00500 ADMINISTRATIVE & GENERAL                  36,820,907        291,148         261,506        175,065       37,548,626    5.00
   7.00    00700 OPERATION OF PLANT                         5,023,594      1,917,900           7,608         12,120        6,961,222    7.00
   8.00    00800 LAUNDRY & LINEN SERVICE                      316,787            205               0              0          316,992    8.00
   9.00    00900 HOUSEKEEPING                               2,282,574         72,843           5,125              0        2,360.542    9.00
   10.00   01000 DIETARY                                      638,966            779           2,511              0          642,256   10.00
   13.00   01300 NURSING ADMINISTRATION                     2,860,968         50,201           1,102         36,115        2,948.386   13.00
   14.00   01400 CENTRAL SERVICES & SUPPLY                  1,182,394         30,469               0          8,818        1,221,681   14.00
   15.00   01500 PHARMACY                                  70,120,306        116,139               0         84,897       70,321,342   15.00
   16.00   01600 MEDICAL RECORDS & LIBRARY                  7,321,856        101,120          37,551         58,568        7,519,095   16.00
   17.00   01700 SOCIAL SERVICE                               402,621         18,032               0          5,941          426,594   17.00
   22.00   02200 I&R SERVICES-OTHER PRGM COSTS APPRVD       2,674,569              0               0              0        2,674,569   22.00
           INPATIENT ROUTINE SERVICE rDIT CENTERS
   30.00   03000 ADULTS & PEDIATRICS                        2,613,287        191,585          79,734         27,253        2,911,859   30.00
   31.00   03100 INTENSIVE CARE UNIT                        2,554,953         19,199          23,978         30,981        2,629,111   31.00
   31.01   03101 STEM CELL TREATMENT                        1,849,580        102,882          14,849         15,867        1,983,178   31.01
   41.00   04100 SUBPROVIDER - IRF                                  0              0               0              0                0   41.00
   42.00   04200 SUBPROVIDER                                        0              0               0              0                0   42.00
             CltLm SERVICE TN CENTERS
   50.00   05000 OPERATING ROOM                             6,030,796       340,570          627,834         69,217        7,068,417   50.00
   53.00   05300 ANESTHESIOLOGY                             2,182,921         8,237          129.106          5,280        2,325,544   53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                       9,367,438       228,632          967,274        102,706       10,666,050   54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                     10,925,560       423,515        1,001,313         83,206       12,433,594   55.00
   55.01   05501 CTU                                        7,499,352       171,812           24,001        105,283        7,800,448   55.01
   56.00   05600 RADIOISOTOPE                               3,484,372        63,602          462,440         16,331        4,026,745   56.00
   57.00   05700 CF SCAN                                    2,157,112        48,111          282,384         18,822        2,506,429   57.00
   58.00 05800MAGNETIC RESONANCE IMAGING (MRI)              2,872,541        158,616          42,982         24,983        3,099,122 58.00
   59.00 05900 CARDIAC CATHETERIZATION                              0             0                0              0                0   59.00
   60.00 06000 LABORATORY                                   7,408,580        68,274           82,694         12,019        7,571,567   60.00
   60.01 03420 PATHOLOGY                                    3,283,623        14,261           68,180          8,128        3,374,192   60.01
   60.02 06001 STEM CELL LABORATORY                           290,318             0                0          1,520          291.838   60.02
   63.00 06300 BLOOD STORING, PROCESSING & TRANS.           1,963,120             0            3,621              0        1,966,741   63.00
   64.00 06400 INTRAVENOUS THERAPY                          3,036,095             0                0         45,832        3,081,927   64.00
   65.00 06500 RESPIRATORY THERAPY                          1,089,608        20,408           17,199         15,609        1,142,824   65.00
   68.00 06800 SPEECH PATHOLOGY                               201,842             0                0            774          202,616   68.00
   69.00 06900 ELECTROCARDIOLOGY                            1,528,411        70,528          163,244         17,043        1,779,226   69.00
   71.00 07100 MEDICAL SUPPLIES CHARGED TO PATIENTS         5,864,435             0           43,137              0        5,907,572   71.00
   72.00 07200 IMP. DEV CHARGED TO PATIENT                    823,477             0                0              0          823,477   72.00
   73.00 07300 DRUGS CHARGED TO PATIENTS                            0             0           79,735              0           79,735   73.00
   76.00 03020 CAT SCAN                                             0             0                0              0                0   76.00
         OUTPATIENT SERVICE KTGT CENTERS
   88.00 08800 RURAL HEALTH CLINIC                                  0                0               0              0               0 88.00
   89.00 08900 FEDERALLY QUALIFIED HEALTH CENTER                    0             0                0              0                 0 89.00
   90.00 09000 CLINIC                                       1,862,373        97,001           81,982         25,635        2,066,991  90.00
   90.01 09001 CARDIAC CLINIC                                 918,253         37,129           1,714         12,828          969,924   90.01
   90.02 09002 GENERAL MEDICINE                             1,185,243        126,774           5,529         16,427        1,333,973   90.02
   90.03   09003 OPD-I                                      2,490,352        134,253          12,177         32,961        2,669,743   90.03
   90.04   09004 MOHS                                         604,882         36,104          12,465          7,515          660,966   90.04
   90.05   09005 SURG ONCOLOGY                              1,202,975        154,047          19,414         16,432        1,392,868   90.05
   90.06   09006 GYN ONCOLOGY                                 404,038         80,855           7,389          5,113          497,395   90.06
   90.07   09007 HEM ONCOLOGY                               1,199,301        397,862          60,190         16,016        1,673,369   90.07
   90.08   09008 DEERFIELD BEACH CLINIC                     4,417,069              0       1,895,384         27,610        6,340,063   90.08
   90.09   09009 MIRAMAR CLINIC                               381,290              0          36,045          3,747          421,082   90.09
   90.11   09011 KENDALL CLINIC                             2,099,408         19,773         145,340         17,844        2,282,365   90.11
   90.12   09012 ENT                                        2,334,767              0         291,322         31,007        2,657,096   90.12
   90.13   04950 PLANTATION                                   597,077              0               0          1,710          598,787   90.13
   90.14   04951 CRB PAIN CENTER                              849,216              0               0          8,002          857,218   90.14
   90.15   04952 CENTER FOR LIVER DISEASE                       1,976              0               0              0            1,976   90.15
   90.16   04953 DR1 MULTISPEC CLINIC                         446,599              0           7,815          5,955          460,369   90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                       94,789                0               0           445          95.234 90.17
   92.00 09200 OBSERVATION BEDS (NON-DISTINCT PART)                                                                                0 92.00
         OTHER REIMBI-QABLE CDST CENTERS
   99.10 09910 CORF                                                 0                0               0              0               0 99.10
         SPECIAL PURPOSE rnQT CENTERS
   109.00 10900 PANCREAS ACQUISITION                                0                0               0              0               0 109.00
   110.0011000 INTESTINAL ACQUISITION                               0                0               0              0               0 110.00


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   Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CMS-2552-10
   COST ALLOCATION - GENERAL SERVICE COSTS                               Provider CCN:100079 Period:        Worksheet B
                                                                                                   From 06/01/2011 Part I
                                                                                                   To 05/31/2012 Date/Time Prepared:
                                                                                                                      10 29 2012 4:33 m
                                                                       CAPITAL RELATED COSTS
               Cost Center Description                Net Expenses    NEW FLDG &       NEW MVBLE       EMPLOYEE        Subtotal
                                                        for Cost         FIXT            EQUIP         BENEFITS
                                                       Allocation
                                                      (from Wkst A
                                                        c@1- 7
                                                           0            1.00             2.00           4.00              4A
   111.00 11100 ISLET ACQUISITION                                0                 0               0              0               0 111.00
   113.00 11300 INTEREST EXPENSE                                                                                                    113.00
   118.00      SUBTOTALS (SUM OF LINES 1-117)           241,746,577     5,612,866        7,018,073      1 211,625      241 592,936 118.00
         NONREIMBURSABLE COST CENTERS
   190.00 19000 GIFT, FLOWER, COFFEE SHOP & CANTEEN               0             0                  0            0                0 190.00
   191.00 19100 RESEARCH                                    638,208         7,868                  0        5,617          651,693 191.00
   192.00 19200 PHYSICIANS' PRIVATE OFFICES                       0             0                  0            0                0 192.00
   193.00 19300 NONPAID WORKERS                                   0             0                  0            0                0 193.00
   194.00 07950 CAFETERIA RENTAL                                  0             0                  0            0                0 194.00
   194.01 07952 DEVELOPMENT                                 890,428         6,270                  0            2          896,700 194.01
   194.02 07951 OTHER NONREIMBURSABLE COST CENTERS                0       133,884                  0            0          133,884 194.02
   200.00      Cross Foot Adjustments                                                                                             0 200.00
   201.00      Negative Cost Centers                                               0               0              0               0 201.00
   202.00      TOTAL (sum lines 118-201)                243,275,213     5,760,888        7,018,073      1,217,244      243,275,213 202.00




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   Hea1th Financial S stems                           UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CMS-2552-10
   COST ALLOCATION - GENERAL SERVICE COSTS                                   Provider CCN:100079 Perlod:        Worksheet B
                                                                                                From 06/01/2011 Part I
                                                                                                To 05/31/2012 Date/Tlme Prepared:
                                                                                                                  10 29 2012 4:33 m
                Cost Center Descriptlon                   DMINISTRATIVE OPERATION OF LAUNDRY &    HOUSEKEEPING      DIETARY
                                                           & GENERAL        PLANT   LINEN SERVICE
                                                              5.00          7.00         8.00         9.00           10.00
           GENERAL SERVICE CSST CENTERS
   1.00    00100 NEW CAP REL COSTS-BLDG & FIXT                                                                                    1.00
   2.00    00200 NEW CAP REL COSTS-MVBLE EQUIP                                                                                    2.00
   4.00    00400 EMPLOYEE BENEFITS                                                                                                4.00
   5.00    00500 ADMINISTRATIVE & GENERAL                    37,548,626                                                           5.00
   7.00    00700 OPERATION OF PLANT                           1,270,541    8,231,763                                              7.00
   8.00    00800 LAUNDRY & LINEN SERVICE                         57,856          475       375,323                                8.00
   9.00    00900 HOUSEKEEPING                                   430,839      168,822             0    2,960,203                   9.00
   10.00   01000 DIETARY                                        117,223        1,805             0          663        761,947   10.00
   13.00   01300 NURSING ADMINISTRATION                         538,131      116,347             0       42,718              0   13.00
   14.00   01400 CENTRAL SERVICES & SUPPLY                      222,978       70,615             0       25,927              0   14.00
   15.00   01500 PHARMACY                                    12,834,868      269,165             0       98,826              0   15.00
   16.00   01600 MEDICAL RECORDS & LIBRARY                    1,372,363      234,356             0       86,046              0   16.00
   17.00   01700 SOCIAL SERVICE                                  77,861       41,790             0       15,344              0   17.00
   22.00   02200 I&R SERVICES-OTHER PRGM COSTS APPRVD           488,154            0             0            0              0   22.00
           INPATIENT ROUTINE SERVICE CnKT ffNTERs
   30.00   03000 ADULTS & PEDIATRICS                           531,464       444,018       40,872       163,025        547,643   30.00
   31.00   03100 INTENSIVE CARE UNIT                           479,857        44,497        5,705        16,337         76,446   31.00
   31.01   03101 STEM CELL TREATMENT                           361,964       238,440       10,290        87,545        137,858   31.01
   41.00   04100 SUBPROVIDER - IRF                                   0             0            0             0              0   41.00
   42.00   04200 SUBPROVIDER                                         0             0            0             0              0   42.00
             CILLARY SERVICE GnQT CENTERS
   50.00   05000 OPERATING ROOM                               1,290,106      789,307       83,405       289,801              0   50.00
   53.00   05300 ANESTHESIOLOGY                                 424,451       19,090            0         7,009              0   53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                         1,946,735      529,877       75,823       194,549              0   54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                        2,269,342      981,541       37,911       360,381              0   55.00
   55.01   05501 CTU                                          1,423,714      398,192       37,911       146,199              0   55.01
   56.00   05600 RADIOISOTOPE                                   734,949      147,405        7,582        54,121              0   56.00
   57.00   05700 CT SCAN                                        457,466      111,503       11,374        40,939              0   57.00
   58.00 05800 MAGNETIC RESONANCE IMAGING (MRI)                 565,642      367,609            0       134,971              0 58.00
   59.00   05900 CARDIAC CATHETERIZATION                              0            0             0            0              0   59.00
   60.00   06000 LABORATORY                                   1,381,940      158,232             0       58,096              0   60.00
   60.01   03420 PATHOLOGY                                      615,847       33,052             0       12,135              0   60.01
   60.02   06001 STEM CELL LABORATORY                            53,265            0             0            0              0   60.02
   63.00   06300 BLOOD STORING, PROCESSING & TRANS.             358,964            0             0            0              0   63.00
   64.00   06400 INTRAVENOUS THERAPY                            562,504            0             0            0              0   64.00
   65.00   06500 RESPIRATORY THERAPY                            208,585       47,299             0       17,366              0   65.00
   68.00   06800 SPEECH PATHOLOGY                                36,981            0             0            0              0   68.00
   69.00   06900 ELECFROCARDIOLOGY                              324,739      163,456         7,582       60,014              0   69.00
   71.00   07100 MEDICAL SUPPLIES CHARGED TO PATIENTS         1,078,232            0             0            0              0   71.00
   72.00   07200 IMP. DEV CHARGED TO PATIENT                    150,299            0             0            0              0   72.00
   73.00   07300 DRUGS CHARGED TO PATIENTS                       14,553            0             0            0              0   73.00
   76.00   03020 CAT SCAN                                             0            0             0            0              0   76.00
           OUTPAH ENT SERW CE CDST CENTERS
   88.00   08800 RURAL HEALTH CLINIC                                  0            0             0            0              0   88.00
   89.00   08900 FEDERALLY QUALIFIED HEALTH CENTER                    0            0             0            0              0   89.00
   90.00   09000 CLINIC                                         377,261      224,811             0       82,541              0   90.00
   90.01   09001 CARDIAC CLINIC                                 177,028       86,049             0       31,594              0   90.01
   90.02   09002 GENERAL MEDICINE                               243,473      293,812        11,374      107,875              0   90.02
   90.03 09003 oPD-1                                           487,273       311,145        18,956      114,240              0 90.03
   90.04 09004 MOHS                                             120,638       83,675         7,582       30,722              0 90.04
   90.05 09005 SURG ONCOLOGY                                    254,222      357,019        18,956      131,083              0 90.05
   90.06   09006 GYN ONCOLOGY                                    90,783      187,390            0        68,802              0   90.06
   90.07   09007 HEM ONCOLOGY                                   305,418      922,085            0       338,552              0   90.07
   90.08   09008 DEERFIELD BEACH CLINIC                       1,157,169            0            0             0              0   90.08
   90.09   09009 MIRAMAR CLINIC                                  76,855            0            0             0              0   90.09
   90.11   09011 KENDALL CLINIC                                 416,570       45,826            0        16,826              0   90.11
   90.12   09012 ENT                                            484,965            0            0             0              0   90.12
   90.13   04950 PLANTATION                                     109,289            0            0             0              0   90.13
   90.14   04951 CRB PAIN CENTER                                156,457            0            0             0              0   90.14
   90.15   04952 CENTER FOR LIVER DISEASE                           361            0            0             0              0   90.15
   90.16 04953 DRI MULTISPEC CLINIC                              84,025            0            0             0              0 90.16
   90.17 04954 PREMIUM CARE (EXEX.MED.)                         17,382             0            0             0              0 90.17
   92.00 09200 OBSERVATION BEDS (NON-DISTINCT PART)                                                                            92.00
         OTHER REIMBURSABLE rGIT CENTERS
   99.10 09910 CORF                                                  0             0            0             0              0 99.10
         SPECIAL PURPUSE 'nKT CENTERS
   109.00 10900 PANCREAS ACQUISITION                                 0             0            0             0              0 109.00
   110.00 11000 INTESTINAL ACQUISITION                               0             0            0             0              0 110.00
   111.0011100 ISLET ACQUISITION                                     0             0            0             0              0 111.00
   113.00 11300 INTEREST EXPENSE                                                                                               113.00
   118.00       SUBTOTALS (SUM OF LINES 1-117)               37,241,582    7,888,705       375,323    2,834,247        761,947118.00
           NONREINBUPQARLE CDST CENTERS
   190.00 19000 GIFT, FLOWER, COFFEE SHOP & CANTEEN                  0             0            0             0              0 190.00


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   Hea1th Financial S stems                          UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CMS-2552-10
   COST ALLOCATION - GENERAL SERVICE COSTS                                  Provider CCN:100079 Period:        Worksheet B
                                                                                                 From 06/01/2011 Part I
                                                                                                 To 05/31/2012 Date/Time Prepared:
                                                                                                                    10 29 2012 4:33 m
               Cost Center Description                   DMINISTRATIVE OPERATION OF LAUNDRY &       HOUSEKEEPING      DIETARY
                                                          & GENERAL        PLANT      LINEN SERVICE
                                                             5-00          7.00            8.00         9.00           10-00
   191.00 19100 RESEARCH                                       118,945         18,236             0         6,695              0 191.00
   192.00 19200 PHYSICIANS? PRIVATE OFFICES                          0              0             0             0              0 192.00
   193.00 19300 NONPAID WORKERS                                      0              0             0             0              0 193.00
   194.00 07950 CAFETERIA RENTAL                                     0              0             0             0              0 194.00
   194.01 07952 DEVELOPMENT                                    163,663         14,532             0         5,335              0 194.01
   194.02 07951 OTHER NONREIMBURSABLE COST CENTERS              24,436        310,290             0       113,926              0 194.02
   20û.00      Cross Foot Adjustments                                                                                           200.00
   201.00      Negative Cost Centers                                0              0             0             0               0 201.00
   202.00      TOTAL (sum lines 118-201)                    37,548,626     8,231,763       375,323     2,960,203         761,947202.00




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   Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   COST ALLOCATION - GENERAL SERVICE COSTS                               Provider CCN:100079 Period:        Worksheet B
                                                                                                From 06/01/2011 Part I
                                                                                                To 05/31/2012 Date/Time Prepared:
                                                                                                                     10 29 2012 4:33 m
                 Cost Center Description                NURSING      CENTRAL         PHARMACY        MEDICAL        SOCIAL SERVICE
                                                      DMINISTRATION SERVICES &                      RECORDS &
                                                                      SUPPLY                        LIBRARY
                                                         13.00         14.00          15.00          16.00              17.00
         GENERAL SERVICE COST CENTERS
   1.00 00100 NEW CAP REL COSTS-BLDG & FIXT                                                                                        1.00
   2.00 00200 NEW CAP REL COSTS-MVBLE EQUIP                                                                                        2.00
   4.00 00400 EMPLOYEE BENEFITS                                                                                                    4.00
   5.00 00500 ADMINISTRATIVE & GENERAL                                                                                             5.00
   7.00 00700 OPERATION OF PLANT                                                                                                   7.00
   8.00 00800 LAUNDRY & LINEN SERVICE                                                                                              8.QQ
   9.00 00900 HOUSEKEEPING                                                                                                         9.00
   10.00 01000 DIETARY                                                                                                            10.00
   13.00 01300 NURSING ADMINISTRATION                     3,645,582                                                               13.00
   14.00 01400 CENTRAL SERVICES & SUPPLY                          0    1,541,201                                                  14.00
   15.00 01500 PHARMACY                                           0            0     83,524,201                                   15.00
   16.00 01600 MEDICAL RECORDS & LIBRARY                          0            0              0       9,211,860                   16.00
   17.00 01700 SOCIAL SERVICE                                30,474            0              0               0           592,063 17.00
   22.00 02200 I&R SERVICES-OTHER PRGM COSTS APPRVD               0            0              0               0                 0 22.00
         INPATIENT ROUTINE SERVICE COST CENTERS
   30.00 03000 ADULTS & PEDIATRICS                         291,567               0              0     1,658,134           148,017   30.00
   31.00 03100 INTENSIVE CARE UNIT                          34,209               0              0       230,297            23,683   31.00
   31.01 03101 STEM CELL TREATMENT                         134,279               0              0       414,534            35,524   31.01
   41.00 04100 SUBPROVIDER - IRF                                 0               0              0             0                 0   41.00
   42.00 04200 SUBPROVIDER                                       0               0              0             0                 0   42. 00
           CILLARY SERVICE CDST CENTERS
   50.00 05000 OPERATING ROOM                              312,165               0              0               0               0   50.00
   53.00 05300 ANESTHESIOLOGY                               32,689               0              0               0               0   53.00
   54.00 05400 RADIOLOGY-DIAGNOSTIC                        684,147               0              0               0               0   54.00
   55.00 05500 RADIOLOGY-THERAPEUTIC                       232,104               0              0               0               0   55.00
   55.01 05501 CTU                                         433,198               0              0               0               0   55.01
   56.00 05600 RADIOISOTOPE                                 70,687               0              0               0               0   56.00
   57.00 05700 CT SCAN                                      81,744               0              0               0               0   57.00
   58.00 05800 MAGNETIC RESONANCE IMAGING (MRI)             79,620               0              0               0               0 58.00
   59.00 05900 CARDIAC CATHETERIZATION                           0             0              0                 0               0   59.00
   60.00 06000 LABORATORY                                        0             0              0                 0               0   60.00
   60.01 03420 PATHOLOGY                                         0             0              0                 0               0   60.01
   60.02 06001 STEM CELL LABORATORY                              0             0              0                 0               0   60.02
   63.00 06300 BLOOD STORING, PROCESSING & TRANS.                0             0              0                 0               0   63.00
   64.00 06400 INTRAVENOUS THERAPY                               0             0              0                 0               0   64.00
   65.00 06500 RESPIRATORY THERAPY                               0             0              0                 0               0   65.00
   68.00 06800 SPEECH PATHOLOGY                                  0             0              0                 0               0   68.00
   69.00 06900 ELECTROCARDIOLOGY                            69,964             0              0                 0               0   69.00
   71.00 07100 MEDICAL SUPPLIES CHARGED TO PATIENTS              0     1,541,201              0                 0               0   71.00
   72.00 07200 IMP. DEV CHARGED TO PATIENT                       0             0              0                 0               0   72.00
   73.00 07300 DRUGS CHARGED TO PATIENTS                         0             0     83,524,201                 0               0   73.00
   76.00 03020 CAT SCAN                                          0             0              0                 0               0   76.00
         G ITPAH ENT SERW CE CQST CENTERS
   88.00 08800 RURAL HEALTH CLINIC                               0               0              0            0                  0   BB.Q0
   89.00 08900 FEDERALLY QUALIFIED HEALTH CENTER                 0               0              0            0                  0   89.00
   90.00 09000 CLINIC                                       44,831               0              0      460,593             59,206   90.00
   90.01 09001 CARDIAC CLINIC                               58,566               0              0      921,186             29,603   90.01
   90.02 09002 GENERAL MEDICINE                             97,387               0              0      921,186             29,603 90.02
   90.03 09003OPD-I                                        184,436               0              0      921,186             29,603 90.03
   90.04 09004 MOHS                                         43,062               0              0      921,186             59,206 90.04
   90.05 09005 SURG ONCOLOGY                                96,605               0              0      921,186             59,206 90.05
   90.06 09006 GYN ONCOLOGY                                 34,096               0              0      921,186             59,206 90.06
   90.07 09007 HEM ONCOLOGY                                105,440               0              0      921,186             59,206 90.07
   90.08   09008 DEERFIELD BEACH CLINIC                    115,120               0              0               0               0   90.08
   90.09   09009 MIRAMAR CLINIC                             22,811               0              0               0               0   90.09
   90.11   09011 KENDALL CLINIC                             72,905               0              0               0               0   90.11
   90.12   09û12 ENT                                       185,031               0              Q               0               0   9û.12
   90.13   04950 PLANTATION                                 12,165               0              0               0               0   90. 13
   90.14   04951 CRB PAIN CENTER                            39,458               0              0               0               0   90. 14
   90.15   04952CENTER FOR LIVER DISEASE                         0               0              0               0               0 90.15
   90.16   04953 DRI MULTISPEC CLINIC                       45,077               0              0               0               0 90. 16
   90.17 04954 PREMIUM CARE (EXEX.RED.)                      1,745               0              0               0               0 90.17
   92.00 09200 OBSERVATION BEDS (NON-DISTINCT PART)                                                                               92.00
         OTHER REIMBURSABLE COST CENTERS
   99.10 09910 CORF                                              0               0              0               0               0 99.10
         SPECIAL PURPOSE FnQT CENTERS
   109.0010900 PANCREAS ACQUISITION                              0               0              0               0               0 109.00
   110.00 11000 INTESTINAL ACQUISITION                           0               0              0               0               0 110.00
   111.00 11100 ISLET ACQUISITION                                0               0              0               0               0 111.00
   113.00 11300 INTEREST EXPENSE                                                                                                  113.00
   118.00       SUBTOTALS (SUM OF LINES 1-117)           3,645,582     1,541,201     83,524,201      9,211,860            592,063118.00



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   Hea1th Financial S stems                           UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lleu of Form CMS-2552- 10
   COST ALLOCATION - GENERAL SERVICE COSTS                                   Provider CCN:100079 Period:        Worksheet B
                                                                                                    From 06/01/2011 Part I
                                                                                                    To 05/31/2012 Date/Time Prepared:
                                                                                                                     10 29 2012 4:33 m
               Cost Center Descriptlon                      NURSING      CENTRAL         PHARMACY        MEDICAL    SOCIAL SERVICE
                                                          DMINISTRATION SERVICES &                      RECORDS &
                                                                           RUPPLY                        LIBRARY
                                                             13.00         14.00          15.00           16.00         17.00
         NY REIG URSM LE CW T CENTEKS
   190.00 19000 GIFF, FLOWER, COFFEE SHOP & CANTEEN                   0              0              0               0           0 190.00
   191.00 19100 RESEARCH                                              0              0              0               0           0 191.00
   192.00 19200 PHYSICIANS' PRIVATE OFFICES                           0              0              0               0           0 192.00
   193.00 19300 NONPAID WORKERS                                       0              0              0               0           0 193.00
   194.00 07950 CAFETERIA RENTAL                                      0              0              0               0           0 194.00
   194.01 07952 DEVELOPMENT                                           0              0              0               0           0 194.01
   194.02 07951 OTHER NONREIMBURSABLE COST CENTERS                    0              0              0               0           0 194.02
   200.00      Cross Foot Adjustments                                                                                            200.00
   201.00      Negative Cost Centers                                  0            0              0               0             0201.00
   202.00      TOTAL (sum lines 118-201)                      3,645,582    1,541,201     83,524,201       9,211,860       592,063202.00




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   Hea1th Financial S stems                         UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
   COST ALLOCATION - GENERAL SERVICE COSTS                                 Provider CCN:100079 Period:        Worksheet B
                                                                                                     From 06/01/2011 Part I
                                                                                                     To 05/31/2012 Date/Time Prepared:
                                                                                                                       10 29 2012 4:33 m
                                                          INTERNS &
                                                          RESIDENTS
                Cost Center Description                 SERVICEG-OTHER    Subtotal          Intern &      Total
                                                          PRGM COSTS                     Residents Cost
                                                                                             & Bost
                                                                                            Stepdown
                                                                                          Ad'ustments
                                                            22.00          24.00              25.00       26.00
        GENERAL SERVICE CO5T CENTERS
   1.00 00100 NEW CAP REL COSTS-BLDG & FIXT                                                                                          1.00
   2.00    00200 NEW CAP REL COSTS-MVBLE EQUIP                                                                                       2.00
   4.00    00400 EMPLOYEE BENEFITS                                                                                                   4.00
   5.00    00500 ADMINISTRATIVE & GENERAL                                                                                            5.00
   7.00    00700 OPERATION OF PLANT                                                                                                  7.00
   8.00    00800 LAUNDRY & LINEN SERVICE                                                                                             8.00
   9.00    00900 HOUSEKEEPING                                                                                                        9.00
   10.00   01000 DIETARY                                                                                                            10.00
   13.00   01300 NURSING ADMINISTRATION                                                                                             13.00
   14.00   01400 CENTRAL SERVICES & SUPPLY                                                                                          14.00
   15.00   01500 PHARMACY                                                                                                           15.00
   16.00   01600 MEDICAL RECORDS & LIBRARY                                                                                          16.00
   17.00   01700 SOCIAL SERVICE                                                                                                     17.00
   22.00   02200 I&R SERVICES-OTHER PRGM COSTS APPRVD       3,162,723                                                               22.00
           INPATIENT ROUTINE SERVICE COST CENTERS
   30.00   03000 ADULTS & PEDIATRICS                        3,162,723      9,899,322        -3,162,723    6,736,599                 30.00
   31.00   03100 INTENSIVE CARE UNIT                                0      3,540,142                 0    3,540,142                 31.00
   31.01   03101 STEM CELL TREATMENT                                0      3,403,612                 0    3,403,612                 31.01
   41.00   04100 SUBPROVIDER - IRF                                  0              0                 0            0                 41.00
   42.00   04200 SUBPROVIDER                                        0              0                 0            0                 42.00
             CILLARY SERVICE KTGT CENTERS
   50.00   05000 OPERATING ROOM                                       0    9,833,201                 0     9.833,201                50.00
   53.00   05300 ANESTHESIOLOGY                                       0    2,808,783                 0     2,808,783                53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                                 0   14,097,181                 0    14,097,181                54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                                0   16,314,873                 0    16,314,873                55.00
   55.01   05501 CTU                                                  0   10,239,662                 0    10,239,662                55.01
   56.00   05600 RADIOISOTOPE                                         0    5,041,489                 0     5,041,489                56.00
   57.00   05700 CT SCAN                                              0    3,209,455                 0     3,209,455                57.00
   58.00 05800 MAGNETIC RESONANCE IMAGING (MRI)                       0    4,246,964                 0    4,246,964                 58.00
   59.00 05900 CARDIAC CATHETERIZATION                                0            0                 0             0                59.00
   60.00 06000 LABORATORY                                             0    9,169,835                 0     9,169,835                60.00
   60.01 03420 PATHOLOGY                                              0    4,035,226                 0     4,035,226                60.01
   60.02 06001 STEM CELL LABORATORY                                   0      345,103                 0       345,103                60.02
   63.00 06300 BLOOD STORING, PROCESSING & TRANS.                     0    2,325,705                 0     2,325,705                63.00
   64.00 06400 INTRAVENOUS THERAPY                                    0    3,644,431                 0     3,644,431                64.00
   65.00 06500 RESPIRATORY THERAPY                                    0    1,416,074                 0     1,416,074                65.00
   68.00 06800 SPEECH PATHOLOGY                                       0      239,597                 0       239,597                68.00
   69.00 06900 ELECTROCARDIOLOGY                                      0    2,404,981                 0     2,404,981                69.00
   71.00 07100 MEDICAL SUPPLIES CHARGED TO PATIENTS                   0    8,527,005                 0     8,527,005                71.00
   72.00 07200 IMP. DEV CHARGED TO PATIENT                            0      973,776                 0       973,776                72.00
   73.00 07300 DRUGS CHARGED TO PATIENTS                              0   83,618,489                 0    83,618,489                73.00
   76.00 03020 CAT SCAN                                               0            0                 0             0                76.00
         OUTPATIENT SERVICE CJST CENTERS
   88.00 08800 RURAL HEALTH CLINIC                                    0              0               0            0                 88.00
   89.00 08900 FEDERALLY QUALIFIED HEALTH CENTER                      0            0                 0            0                 89.00
   90.00 09000 CLINIC                                                 0    3,316,234                 0    3,316,234                 90.00
   90.01 09001 CARDIAC CLINIC                                         0    2,273,950                 0    2,273,950                 90.01
   90.02 09002 GENERAL MEDICINE                                       0    3,038,683                 0    3,038,683                 90.02
   90.03 09003 OPD-I                                                  0    4,736,582                 0    4,736,582                 90.03
   90.04 09004 MOHS                                                   0    1,927,037                 0    1,927,037                 90.04
   90.05 09005 SURG ONCOLOGY                                          0    3,231,145                 0    3,231,145                 90.05
   90.06 09006 GYN ONCOLOGY                                           0    1,858,858                 0    1,858,858                 90.06
   90.07 09007 HEM ONCOLOGY                                           0    4,325,256                 0    4,325,256                 90.07
   90.08 09008 DEERFIELD BEACH CLINIC                                 0    7,612,352                 0    7,612,352                 90.08
   90.09 09009 MIRAMAR CLINIC                                         0      520,748                 0      520,748                 90.09
   90.11 09011 KENDALL CLINIC                                         0    2,834,492                 0    2,834,492                 90.11
   90.12 09012 ENT                                                    0    3,327,092                 0    3,327,092                 90.12
   90.13 04950 PLANTATION                                             0      720,241                 0      720,241                 90.13
   90.14 04951 CRB PAIN CENTER                                        0    1,053,133                 0    1,053,133                 90.14
   90.15 04952 CENTER FOR LIVER DISEASE                               0        2,337                 0        2,337                 90.15
   90.16 04953 DRI MULTISPEC CLINIC                                   0      5891471                 0      589,471                 90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                              0      114,361                 0      114,361                 90.17
   92.00 09200 OBSERVATION BEDS (NON-DISTINCF PART)                                                  0                              92.00
         OTHER REIMD RSM LE M T CENTERS
   99.10 09910 CORF                                                   0              0               0            0                 99.10
         SPECIAL PURPOSE COST CENTERS
   109.00 10900 PANCREAS ACQUISITION                                  0              0               0            0                109.00
   110.00 11000 INTESTINAL ACQUISITION                                0              0               0            0                110.00


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   Hea1th Financial S stems                           UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552- 10
    COST ALLOCATION - GENERAL SERVICE COSTS                                  Provider CCN:100079 Period:        Worksheet B
                                                                                                   From 06/01/2011 Part I
                                                                                                   To 05/31/2012 Date/Time Prepared:
                                                                                                                      10 29 2012 4:33 m
                                                           INTERNS &
                                                           RESIDENTS
               Cost Center Description                   SERVICES-OTHER    Subtotal       Intern &       Total
                                                           PRGM COSTS                  Residents Cost
                                                                                           & eost
                                                                                          Stepdown
                                                                                        Ad'ustments
                                                             22.00          24.00           25.00        26.00
   111.0011100 ISLET ACQUISITION                                       0              0             0            0                111.00
   113.00 11300 INTEREST EXPENSE                                                                                                  113.00
   118.00      SUBTOTALS (SUM OF LINES 1-117)                 3,162,723    240,816,878     -3,162,723   237,654,155               118.00
         N/NREIM- IRSARLE RGQT CENTERS
   190.00 19000 GIFT, FLOWER, COFFEE SHOP & CANTEEN                    0            0              0             0                190 .00
   191.00 19100 RESEARCH                                               0      795,569              0       795,569                191.QQ
   192.00 19200 PHYSICIANS' PRIVATE OFFICES                            0            0              0             0                192.00
   193.00 19300 NONPAID WORKERS                                        0            0              0             0                193.00
   194.00 07950 CAFETERIA RENTAL                                       0            0              0             0                194.00
   194.01 07952 DEVELOPQENT                                            0    1,080,230              0     1,080,230                194.01
   194.0207951 OTHER NONREIMBURSABLE COST CENTERS                      0      582,536              0       582,536                194.02
   200.00      Cross Foot Adjustments                                 0           0                0           0                  200.00
   201.00      Negative Cost Centers                                  0           0                0           0                  201.00
   202.00      TOTAL (sum lqnes 118-201)                      3,162,723 243,275,213       -3,162,723 240,112,490                  202.00




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   Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
   ALLOCATION 0F CAPITAL RELATED COSTS                                   Provider CCN:100079 Period:        Worksheet B
                                                                                                 From 06/01/2011 Part 14
                                                                                                 To 05/31/2012 Date/Tlme Prepared:
                                                                                                                    10 29 2012 4:33 m
                                                                      CAPITAL RELATED COSTS
               Cost Center Description                  Directly    NEW BLDG &       NEW MVBLE       Subtotal        EMPLOYEE
                                                      Assigned NeW     FIXT            EQUIP                         BENEFITS
                                                         Capital
                                                      Related Costs
                                                            0          1.00            2.00            2A              4.00
         GENERAL SERVICE COST CENTE:S
   1.00 00100 NEW CAP REL COSTS-BLDG & FIXT                                                                                          1.00
   2.00 00200 NEW CAP REL COSTS-MVBLE EQUIP                                                                                          2.00
   4.00 00400 EMPLOYEE BENEFITS                                   0            0          12,199         12,199           12,199     4.00
   5.00 00500 ADMINISTRATIVE & GENERAL                    1,689,640      291,148         261,506      2,242,294            1,772     5.00
   7.00 00700 OPERATION OF PLANT                             48,250    1,917,900           7,608      1,973,758              121     7.00
   8.00 00800 LAUNDRY & LINEN SERVICE                             0          205               0            205                0     8.00
   9.00 00900 HOUSEKEEPING                                        0       72,843           5,125         77,968                0     9.00
   10.00 01000 DIETARY                                            0          779           2,511          3,290                0    10.00
   13.00 01300 NURSING ADMINISTRATION                             0       50,201           1,102         51,303              361    13.00
   14.00 01400 CENTRAL SERVICES & SUPPLY                    212,467       30,469               0        242,936               88    14.00
   15.00 01500 PHARMACY                                     199,920      116,139               0        316,059              850    15.00
   16.00 01600 MEDICAL RECORDS & LIBRARY                    129,554      101,120          37,551        268,225              586    16.00
   17.00 01700 SOCIAL SERVICE                                     0       18,032               0         18,032               59    17.00
   22.00 02200 I&R SERVICES-OTHER PRGM COSTS APPRVD               0            0               0              0                0    22.00
         INPATIENT ROUTINE SERVICE CDST CENTERS
   30.00 03000 ADULTS & PEDIATRICS                               0       191,585          79,734        271,319               273   30.00
   31.00 03100 INTENSIVE CARE UNIT                               0        19,199          23,978         43,177               310   31.00
   31.01 03101 STEM CELL TREATMENT                               0       102,882          14,849        117,731               159   31.01
   41.00 04100 SUBPROVIDER - IRF                                 0             0               0              0                 0   41.00
   42.00 04200 SUBPROVIDER                                       0             0               0              0                 0   42.00
           CILLARY SERVICE COST CENTERS
   50.00 05000 OPERATING ROOM                                 2,600      340,570         627,834        971,004             693     50.00
   53.00 05300 ANESTHESIOLOGY                                     0        8,237         129,106        137,343              53     53.00
   54.00 05400 RADIOLOGY-DIAGNOSTIC                       1,635,915      228,632         967,274      2,831,821           1,028     54.00
   55.00 05500 RADIOLOGY-THERAPEUTIC                        750,074      423,515       1,001,313      2,174,902             833     55.00
   55.01 05501 CTU                                           36,545      171,812          24,001        232,358           1,054     55.01
   56.00 05600 RADIOISOTOPE                                       0       63,602         462,440        526,042             163     56.00
   57.00 05700 CT SCAN                                            0       48,111         282,384        330,495             188     57.00
   58.00 05800 MAGNETIC RESONANCE IMAGING (MRI)              4,200       158.616          42.982        205,798               250 58.00
   59.00 05900 CARDIAC CATHETERIZATION                           0             0               0              0                 0   59.00
   60.00 06000 LABORATORY                                    6,559        68,274          82,694        157,527               120   60.00
   60.01 03420 PATHOLOGY                                         0        14,261          68,180         82,441                81   60.01
   60.02 06001 STEM CELL LABORATORY                              0             0               0              0                15   60.02
   63.00 06300 BLOOD STORING, PROCESSING & TRANS.                0             0           3,621          3,621                 0   63.00
   64.00 06400 INTRAVENOUS THERAPY                               0             0               0              0               459   64.00
   65.00 06500 RESPIRATORY THERAPY                               0        20,408          17,199         37,607               156   65.00
   68.00 06800 SPEECH PATHOLOGY                                  0             0               0              0                 8   68.00
   69.00 06900 ELECTROCARDIOLOGY                                 0        70,528         163,244        233,772               171   69.00
   71.00 07100 MEDICAL SUPPLIES CHARGED TO PATIENTS              0             0          43,137         43,137                 0   71.00
   72.00 07200 IMP. DEV CHARGED TO PATIENT                       0             0               0              0                 0   72.00
   73.00 07300 DRUGS CHARGED TO PATIENTS                         0             0          79,735         79,735                 0   73.00
   76.00 03020 CAT SCAN                                          0             0               0              0                 0   76.00
         G ITPA'FIENT SERW CE CX T CENTERS
   88.00 08800 RURAL HEALTH CLINIC                               0             0                 0            0                 0 88.00
   89.00 08900 FEDERALLY QUALIFIED HEALTH CENTER                 0             0                 0            0                 0 89.00
   90.00 09000 CLINIC                                            0        97,001          81,982        178,983               257   90.00
   90.01 09001 CARDIAC CLINIC                                    0        37,129           1,714         389843               128   90.01
   90.02 09002 GENERAL MEDICINE                                  0       126,774           5,529        132,303               164   90.02
   90.03 09003 0PD-1                                             0       134,253          12,177        146,430               330   90.03
   90.04 09004 MOHS                                         21,010        36,104          12,465         69,579                75   90.04
   90.05 09005 SURG ONCOLOGY                                     0       154,047          19,414        173,461               164   90.05
   90.06 09006 GYN ONCOLOGY                                      0        80,855           7,389         88,244                51   90.06
   90.07 09007 HEM ONCOLOGY                                      0       397,862          60,190        458,052               160   90.07
   90.08 09008 DEERFIELD BEACH CLINIC                        3,085             0       1,895,384      1,898,469               276   90.08
   90.09 09009 MIRAMAR CLINIC                               64,035             0          36,045        100,080                37   90.09
   90.11 09011 KENDALL CLINIC                              409,508        19,773         145,340        574,621               179   90.11
   90.12 09012 ENT                                               0             0         291,322        291,322               310   90.12
   90.13 04950 PLANTATION                                        0             0               0              0                17   90.13
   90.14 04951 CRB PAIN CENTER                              30,695             0               0         30,695                80   90.14
   90.15 04952 CENTER FOR LIVER DISEASE                          0             0               0              0                 0   90.15
   90,16 04953 DRI MULTISPEC CLINIC                          6,131             0           7,815         13,946                60   90.16
   90.17 04954 PREMIUM CARE (EXEX.#ED.)                          0               0               0              0               4 90.17
   92.00 09200 OBSERVATION BEDS (NON-DISTINCF PART)                                                             0                 92.00
         OTHER REIMBURSABLE COST CENTERS
   99,10 09910 CORF                                              0               0               0              0               0 99.10
         SPECIAL PURPQSE CDST CENTERS
   109.00 10900 PANCREAS ACQUISITION                             0               0               0              0               0 109.00
   110.00 11000 INTESTINAL ACQUISITION                           0               0               0              0               0 110.00
   111.0011100 ISLET ACQUISITION                                 0               0               0              0               0111.00


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   Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   ALLOCATION OF CAPITAL RELATED COSTS                                   Provider CCN:100079 Period:        Worksheet B
                                                                                                 From 06/01/2011 Part 14
                                                                                                 To 05/31/2012 Date/Tnme Prepared:
                                                                                                                    10 29 2012 4:33 m
                                                                      CAPITAL RELATED COSTS
               Cost Center Description                   Directly   NEW BLDG &       NEW MVBLE       Subtotal        EMPLOYEE
                                                      Assigned New     FIXT            EQUIP                         BENEFITS
                                                         Capital
                                                      Related Costs
                                                            0          1.00            2.00            2A              4.00
   113.00 11300 INTEREST EXPENSE                                                                                                  113.00
   118.00      SUBTOTALS (SUM OF LINES 1-117)             5,250,188    5,612,866       7,018,073     17,881,127           12,143118.00
         N/NREIMBURSABLE COST CENTERS
   190.00 19000 GIFT, FLOWER, COFFEE SHOP & CANTEEN              0             0                 0            0                  0 190.00
   191.00 19100 RESEARCH                                         0         7,868                 0        7,868                 56 191.00
   192.00 19200 PHYSICIANS' PRIVATE OFFICES                      0             0                 0            0                  0 192.00
   193.00 19300 NONPAID WORKERS                                  0             0                 0            0                  0 193.00
   194.00 07950 CAFETERIA RENTAL                                 0             0                 0            0                  0 194.00
   194.01 07952 DEVELOPMENT                                      0         6,270                 0        6,270                  0 194.01
   194.02 07951 OTHER NONREIMBURSABLE COST CENTERS               0       133,884                 0      133,884                  0 194.02
   200.00      Cross Foot Adjustments                                                                         0                  200.00
   201.00      Negative Cost Centers                                             0               0              0               0 201.00
   202.00      TOTAL (sum lines 118-201)                  5,250,188    5,760,888       7,018,073     18,029,149           12,199 202.00




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   Hea1th Financial S stems                           UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
   ALLOCATION OF CAPITAL RELATED COSTS                                       Provider CCN:100079 Period:        Worksheet B
                                                                                                From 06/01/2011 Part IJ
                                                                                                To   05/31/2012 Date/Tnme Prepared:
                                                                                                                  10 29 2012 4:33 m
                Cost Center Descriptqon                   DMINISTRATIVE OPERATION OF LAUNDRY Z    HOUSEKEEPING      DIETARY
                                                           & GENERAL        PLANT   LINEN SERVICE
                                                              5.00          7.00        8.00          9.00           10.00
        GENERAL SERVICE COST CENTERS
   1.00 00100 NEW CAP REL COSTS-BLDG & FIXT                                                                                        1.00
   2.00    00200 NEW CAP REL COSTS-MVBLE EQUIP                                                                                     2.00
   4.00    00400 EMPLOYEE BENEFITS                                                                                                 4.00
   5.00    00500 ADMINISTRATIVE & GENERAL                     2,244,066                                                            5.00
   7.00    00700 OPERATION OF PLANT                              75,933    2,049,812                                               7.00
   8.00    00800 LAUNDRY & LINEN SERVICE                          3,458          118         3,781                                 8.00
   9.00    00900 HOUSEKEEPING                                    25,749       42,039             0      145,756                    9.00
   10.00   01000 DIETARY                                          7,006          449             0           33         10,778    10.00
   13.00   01300 NURSING ADMINISTRATION                          32,161       28,972             0        2,103              0    13.00
   14.00   01400 CENTRAL SERVICES & SUPPLY                       13,326       17,584             0        1,277              0    14.00
   15.00   01500 PHARMACY                                       767,063       67,025             0        4,866              0    15.00
   16.00   01600 MEDICAL RECORDS & LIBRARY                       82,018       58,358             0        4,237              0    16.00
   17.00   01700 SOCIAL SERVICE                                   4,653       10,406             0          755              0    17.00
   22.00   02200 I&R SERVICES-OTHER PRGM COSTS APPRVD            29,174            0             0            0              0    22.00
           INPATIENT RU NE SERW CE M T CEG RS
   30.00   03000 ADULTS & PEDIATRICS                             31,763      110,566          412         8,027           7,747   30.00
   31.00   03100 INTENSIVE CARE UNIT                             28,678       11,080           57           804           1,081   31.00
   31.01   03101 STEM CELL TREATMENT                             21,633       59,375          104         4,311           1,950   31.01
   41.00   04100 SUBPROVIDER - IRF                                    0            0            0             0               0   41.00
   42.00   04200 SUBPROVIDER                                          0            0            0             0               0   42.00
             CA LARY SEM CE COA CENTERS
   50.00   05000 OPERATING ROOM                                  77,102      196,547          840        14,269              0    50.00
   53.00   05300 ANESTHESIOLOGY                                  25,367        4,754            0           345              0    53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                           116,345      131,946          764         9,579              0    54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                          135,626      244,416          382        17,742              0    55.00
   55.01   05501 CFU                                             85,087       99,155          382         7,199              0    55.01
   56.00   05600 RADIOISOTOPE                                    43,924       36,706           76         2,665              0    56.00
   57.00   05700 Cr SCAN                                         27,340       27.766          l15         2,016              0    57.00
   58.00 05800 MAGNETIC RESONANCE IMAGING (MRI)                  33,805       91,539            0         6,646              0 58.00
   59.00 05900 CARDIAC CATHETERIZATION                               0             0            0             0              0    59.00
   60.00 06000 LABORATORY                                       82,591        39,402            0         2,861              0    60.00
   60.01 03420 PATHOLOGY                                        36,806         8,230            0           598              0    60.01
   60.02 06001 STE# CELL LABORATORY                              3,183             0            0             0              0    60.02
   63.00 06300 BLOOD STORING, PROCESSING & TRANS.               21,453             0            0             0              0    63.00
   64.00 06400 INTRAVENOUS THERAPY                              33,618             0            0             0              0    64.00
   65.00 06500 RESPIRATORY THERAPY                              12,466        11,778            0           855              0    65.00
   68.00 06800 SPEECH PATHOLOGY                                  2,210             0            0             0              0    68.00
   69.00 06900 ELECTROCARDIOLOGY                                19,408        40,703           76         2,955              0    69.00
   71.00 07100 MEDICAL SUPPLIES CHARGED TO PATIENTS             64,440             0            0             0              0    71.00
   72.00 07200 IMP. DEV CHARGED TO PATIENT                       8,982             0            0             0              0    72.00
   73.00 07300 DRUGS CHARGED TO PATIENTS                           8Z0             0            0             0              0    73.00
   76.00 03020 CAT SCAN                                              0             0            0             0              0    76.00
         OUTPATIENT SERVICE COST CENTERS
   88.00 08800 RURAL HEALTH CLINIC                                   0             0            0             0              0    88.00
   89.00 08900 FEDERALLY QUALIFIED HEALTH CENTER                     0             0            0             0              0    89.00
   90.00 09000 CLINIC                                           22,547        55,981            0         4,064              0    90.00
   90.01 09001 CARDIAC CLINIC                                   10,580        21,427            0         1,556              0    90.01
   90.02 09002 GENERAL MEDICINE                                 14,551        73,163          115         5,312              0    90.02
   90.03 09003 oPD-1                                            29,122        77,479          191         5,625              0    90.03
   90.04 09004 MOHS                                              7,210        20,836           76         1,513              0    90.04
   90.05 09005 SURG ONCOLOGY                                    15,193        88,902          191         6,454              0    90.05
   90.06 09006 GYN ONCOLOGY                                      5,426        46,662            0         3,388              0    90.06
   90.07 09007 HEM ONCOLOGY                                     18,253       229,611            0        16,670              0    90.07
   90.08 09008 DEERFIELD BEACH CLINIC                           69,157             0            0             0              0    90.08
   90.09 09009 MIRAMAR CLINIC                                    4,593             0            0             0              0    90.09
   90.11 09011 KENDALL CLINIC                                   24,896        11,411            0           828              0    90.11
   90.12 09012 ENT                                              28,984             0            0             0              0    90.12
   90.13 04950 PLANTATION                                        6,532             0            0             0              0    90.13
   90.14 04951 CRB PAIN CENTER                                   9,351             0            0             0              0    90.14
   90.15 04952 CENTER FOR LIVER DISEASE                             22             0            0             0              0    90.15
   90.16 04953 DRI MULTISPEC CLINIC                              5,022             0            0             0              0    90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                          1,039            0            0             0              0 90.17
   92.00 09200 OBSERVATION BEDS (NON-DISTINCT PART)                                                                            92.00
         OTHER REIMBUPQARLE rRQT CENTERS
   99.10 09910 CORF                                                  0             0            0             0              0 99.10
         SPECIAL PURM E M T CENTERS
   109.00 10900 PANCREAS ACQUISITION                                 0             0            0             0              0 109.00
   110.0011000 INTESTINAL ACQUISITION                                0             0            0             0              0110.00
   111.0011100 ISLET ACQUISITION                                     0             0            0             0              0111.00
   113.00 11300 INTEREST EXPENSE                                                                                               113.00
   118.00       SUBTOTALS (SUM OF LINES 1-117)                2,225,716    1,964,386         3,781      139.553         10,778118.00
           NONREIMBURSABLE COST CENTERS
   190.00 19000 GIFT, FLOWER, COFFEE SHOP & CANTEEN                  0             0            0             0              0 190.00


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   Health Financial S stems                          UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   ALLOCATION OF CAPITAL RELATED COSTS                                      Provjder CCN:100079 Period:        Worksheet B
                                                                                               From 06/01/2011 Part IJ
                                                                                               To 05/31/2012 Date/Tlme Prepared:
                                                                                                                 10 29 2012 4:33 m
               Cost Center Descriptlon                   DMINISTRATIVE OPERATION OF LAUNDRY & HOUSEKEEPING         DIETARY
                                                          & GENERAL        PLANT   LINEN SERVICE
                                                             5.00          7.00        8.00       9.00              10.00
   191.00 19100 RESEARCH                                         7,109        4,541            0           330               0 191.00
   192.00 19200 PHYSICIANS' PRIVATE OFFICES                          0            0            0             0               0 192.00
   193.00 19300 NONPAID WORKERS                                      0            0            0             0               0 193.00
   194.00 07950 CAFETERIA RENTAL                                     0            0            0             0               0 194.00
   194.01 07952 DEVELOPMENT                                      9,781        3,619            0           263               0 194.01
   194.02 07951 OTHER NONREIMBURSABLE COST CENTERS               1,460       77,266            0         5,610               0 194.02
   200.00      Cross Foot Adjustments                                                                                         200.00
   201.00      Negative Cost Centers                                0             0            0             0               0 201.00
   202.00      TOTAL (sum lines 118-201)                     2,244,066    2,049,812         3,781      145,756         10,778 202.00




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   Hea1th Financial S stems                         UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CMS-2552-10
   ALLOCATION OF CAPITAL RELATED COSTS                                     Provider CCN:100079 Period:        Worksheet B
                                                                                                  From 06/01/2011 Part 14
                                                                                                  To 05/31/2012 Date/Tlme Prepared:
                                                                                                                       10 29 2012 4:33 m
                Cost Center Description                   NURSING      CENTRAL         PHARMACY        MEDICAL        SOCIAL SERVICE
                                                        DMINISTRATION SERVICES &                      RECORDS X
                                                                        SUPPLY                        LIBRARY
                                                           13.00         14.00          15.00          16.00              17.00
        GENERAL SERVICE COST CENTFRS
   1.00 00100 NEW CAP REL COSTS-BLDG & FIXT                                                                                          1.00
   2.00    00200 NEW CAP REL COSTS-MVBLE EQUIP                                                                                       2.00
   4.00    00400 EMPLOYEE BENEFITS                                                                                                   4.00
   5.00    00500 ADMINISTRATIVE & GENERAL                                                                                            5.00
   7.00    00700 OPERATION OF PLANT                                                                                                  7.00
   8.00    00800 LAUNDRY & LINEN SERVICE                                                                                             8.00
   9.00    00900 HOUSEKEEPING                                                                                                        9.00
   10.00   01000 DIETARY                                                                                                            10.00
   13.00   01300 NURSING ADMINISTRATION                       114,900                                                               13.00
   14.00   01400 CENTRAL SERVICES & SUPPLY                          0      275,211                                                  14.00
   15.00   01500 PHARMACY                                           0            0      1,155,863                                   15.00
   16.00   01600 MEDICAL RECORDS & LIBRARY                          0            0              0         413,424                   16.00
   17.00   01700 SOCIAL SERVICE                                   960            0              0               0            34,865 17.00
   22.00   02200 I&R SERVICES-OTHER PRGM COSTS APPRVD               0            0              0               0                 0 22.00
           INPATIENT ROUTINE SERVICE COST CENTERS
   30.00   03000 ADULTS & PEDIATRICS                            9,190              0              0        74,419             8,714    30.00
   31.00   03100 INTENSIVE CARE UNIT                            1,078              0              0        10,336             1,395    31.00
   31.01   03101 STEM CELL TREATMENT                            4,232              0              0        18,604             2,092    31.01
   41.00   04100 SUBPROVIDER - IRF                                  0              0              0             0                 0    41.00
   42.00   04200 SUBPROVIDER                                        0              0              0             0                 0    42.00
             CILLARY SERVICE COST CENTERS
   50.00   05000 OPERATING ROOM                                 9,839              0              0               0               0    50.00
   53.00   05300 ANESTHESIOLOGY                                 1,030              0              0               0               0    53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                          21.564              0              0               0               0    54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                          7,315              0              0               0               0    55.00
   55.01   05501 CTU                                           13.653              0              0               0               0    55.01
   56.00   05600 RADIOISOTOPE                                   2,228              0              0               0               0    56.00
   57.00   05700 CT SCAN                                        2,576              0              0               0               0    57.00
   58.00 05800MAGNETIC RESONANCE IMAGING (MRI)                  2,509              0              0               0               0 58.00
   59.00 05900 CARDIAC CATHETERIZATION                              0            0              0                 0               0    59.00
   60.00 06000 LABORATORY                                           0            0              0                 0               0    60.00
   60.01 03420 PATHOLOGY                                            0            0              0                 0               0    60.01
   60.02 06001 STEM CELL LABORATORY                                 0            0              0                 0               0    60.02
   63.00 06300 BLOOD STORING, PROCESSING & TRANS.                   0            0              0                 0               0    63.00
   64.00 06400 INTRAVENOUS THERAPY                                  0            0              0                 0               0    64.00
   65.00 06500 RESPIRATORY THERAPY                                  0            0              0                 0               0    65.00
   68.00 06800 SPEECH PATHOLOGY                                     0            0              0                 0               0    68.00
   69.00 06900 ELECFROCARDIOLOGY                                2,205            0              0                 0               0    69.00
   71.00 07100 MEDICAL SUPPLIES CHARGED TO PATIENTS                 0      275,211              0                 0               0    71.00
   72.00 07200 IMP. DEV CHARGED TO PATIENT                          0            0              0                 0               0    72.00
   73.00 07300 DRUGS CHARGED TO PATIENTS                            0            0      1,155,863                 0               0    73.00
   76.00 03020 CAT SCAN                                             0            0              0                 0               0    76.00
         BUTPATIENT SERVICE COST CENTERS
   88.00 08800 RURAL HEALTH CLINIC                                  0              0              0             0                 0    88.00
   89.00 08900 FEDERALLY QUALIFIED HEALTH CENTER                    0              0              0             0                 0    89.00
   90.00 09000 CLINIC                                           1,413              0              0        20,671             3,487    90.00
   90.01 09001 CARDIAC CLINIC                                   1,846              0              0        41,342             1,743    90.01
   90.02 09002 GENERAL MEDICINE                                 3,069              0              0        41,342             1,743 90.02
   90.03 09003 OPD-I                                            5,813              0              0        41,342             1,743 90.03
   90.04 09004 MOHS                                             1,357              0              0        41,342             3.487 90.04
   90.05 09005 SURG ONCOLOGY                                    3,045              0              0        41,342             3,487    90.05
   90.06 09006 GYN ONCOLOGY                                     1,075              0              0        41,342             3,487    90.06
   90.07 09007 HEM ONCOLOGY                                     3,323              0              0        41,342             3,487    90.07
   90.08 09008 DEERFIELD BEACH CLINIC                           3,628              0              0             0                 0    90.08
   90.09 09009 MIRAMAR CLINIC                                     719              0              0               0               0    90.09
   90.11 09011 KENDALL CLINIC                                   2,298              0              0               0               0    90.11
   90.12 09012 ENT                                              5.832              0              0               0               0    90.12
   90.13 04950 PLANTATION                                         383              0              0               0               0    90.13
   90.14 04951 CRB PAIN CENTER                                  1,244              0              0               0               0    90.14
   90.15 04952 CENTER FOR LIVER DISEASE                             0              0              0               0               0    90.15
   90.16 04953 DRI MULTISPEC CLINIC                             1,421              0              0               0               0    90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                           55              0              0               0               0 90.1Z
   92.00 09200OBSERVATION BEDS (NON-DISTINCT PART)                                                                                  92.00
         OTHER REIMSUPQARLE CO5T CENTERS
   99.10 09910 CORF                                                 0              0              0               0               0 99.10
         SPECIAL PURPQSE COST CENTERS
   109.0010900 PANCREAS ACQUISITION                                 0              0              0               0                0 109.00
   110.0011000 INTESTINAL ACQUISITION                               0              0              0               0                0 110.00
   111.00 11100 ISLET ACQUISITION                                   0              0              0               0                0 111.00
   113.00 11300 INTEREST EXPENSE                                                                                                     113.00
   118.00       SUBTOTALS (SUM OF LINES 1-117)                114,900      275,211      1,155,863         413,424             34,865118.00



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   Hea1th Financial S stems                           UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   ALLOCATION OF CAPITAL RELATED COSTS                                       Provider CCN:100079 Period:        Worksheet B
                                                                                                    From 06/01/2011 Part 14
                                                                                                    To 05/31/2012 Date/Tnme Prepared:
                                                                                                                         10 29 2012 4:33 m
               Cost Center Descriptîon                      NURSING      CENTRAL         PHARMACY        MEDICAL        SOCIAL SERVICE
                                                          DMINISTRATION SERVICES &                      RECORDS &
                                                                          GUPPLY                         LIBRARY
                                                             13.00         14.00          15.00           16.00             17.00
         HnMREIMBURIARLE rnQT CENTERS
   190.00 19000 GIFT, FLOWER, COFFEE SHOP & CANTEEN                  0               0              0               0               0 190.00
   191.00 19100 RESEARCH                                             0               0              0               0               0 191.00
   192.00 19200 PHYSICIANS' PRIVATE OFFICES                          0               0              0               0               0 192.00
   193.00 19300 NONPAID WORKERS                                      0               0              0               0               0 193.00
   194.00 07950 CAFETERIA RENTAL                                     0               0              0               0               0 194.00
   194.0107952 DEVELOPMENT                                           0               0              0               0               0 194.01
   194.0207951 OTHER NONREIMBURSABLE COST CENTERS                    0               0              0               0               0 194.02
   200.00      Cross Foot Adjustments                                                                                                200.00
   201.00      Negative Cost Centers                                 0               0              0               0               0 201,00
   202.00      TOTAL (sum lines 118-201)                        114,900      275,211       1,155,863        413,424            34,865202.00




   MCRIF32 - 2.41.133.0
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  Hea1th Financial S stems                         UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
  ALLOCATION OF CAPITAL RELATED COSTS                                     Provider CCN:100079 Period:        Worksheet B
                                                                                                   From 06/01/2011 Part 14
                                                                                                   To 05/31/2012 Date/Tnme Prepared:
                                                                                                                      10 29 2012 4:33 m
                                                          INTERNS &
                                                          RESIDENTS
                Cost Cênter Description                 SERVICES-OTHER   îubtotal      Intern &           Total
                                                          PRGM COSTS                Residents Cost
                                                                                        & Post
                                                                                       Stepdown
                                                                                        Ad-ustments
                                                            22.00         24.00            25.00          26.00
        GENERAL SERVICE C95T CENTERS
   1.00 00100 NEW CAP REL COSTS-BLDG & FIXT                                                                                         1.00
   2.00    00200 NEW CAP REL COSTS-MVBLE EQUIP                                                                                      2.00
   4.00    00400 EMPLOYEE BENEFITS                                                                                                  4.00
   5.00    00500 ADMINISTRATIVE & GENERAL                                                                                           5.00
   7,00    00700 OPERATION OF PLANT                                                                                                 7.00
   8.00    00800 LAUNDRY & LINEN SERVICE                                                                                            8.00
   9.00    00900 HOUSEKEEPING                                                                                                       9.00
   10.00   01000 DIETARY                                                                                                           10.00
   13.00   01300 NURSING ADMINISTRATION                                                                                            13.00
   14.00   01400 CENTRAL SERVICFS & SUPPLF                                                                                         14.00
   15.00   01500 PHARMACY                                                                                                          15.00
   16.00   01600 MEDICAL RECORDS & LIBRARY                                                                                         16.00
   17.00   01700 SOCIAL SERVICE                                                                                                    17.00
   22.00   02200 I&R SERVICES-OTHER PRGM COSTS APPRVD          29,174                                                              22.00
           INPATIENT ROUTINE SERVICE COST CENTERS
   30.00   03000 ADULTS & PEDIATRICS                                        522,430                   0     522,430                30.00
   31.00   03100 INTENSIVE CARE UNIT                                         97,996                   0      97,996                31.00
   31.01   03101 STEM CELL TREATMENT                                        230,191                   0     230,191                31.01
   41.00   04100 SUBPROVIDER - IRF                                                0                   0           0                41.00
   42.00   04200 SUBPROVIDER                                                      0                   0           0                42.00
             CILLARY SERVICE rTGT CENTERS
   50.00   05000 OPERATING ROOM                                           1,270,294                   0   1,270,294                50.00
   53.00   05300 ANESTHESIOLOGY                                             168,892                   0     168,892                53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                                     3,113,047                   0   3,113,047                54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                                    2,581,216                   0   2,581,216                55.00
   55.01   05501 CTU                                                        438,888                   0     438,888                55.01
   56.00   05600 RADIOISOTOPE                                               611,804                   0     611,804                56.00
   57.00   05700 CT SCAN                                                    390,496                   0     390,496                57.00
   58.00 05800 MAGNETIC RESONANCE IMAGING (MRI)                              340,547                  0     340,547                58.00
   59.00 05900 CARDIAC CATHETERIZATION                                             0                  0           0                59.00
   60.00 06000 LABORATORY                                                    282,501                  0     282,501                60.00
   60.01 03420 PATHOLOGY                                                     128,156                  0     128,156                60.01
   60.02 06001 STEM CELL LABORATORY                                            3,198                  0       3,198                60.02
   63.00 06300 BLOOD STORING, PROCESSING & TRANS.                             25:074                  0      25,074                63,00
   64.00 06400 INTRAVENOUS THERAPY                                            34,077                  0      34,077                64.00
   65.00 06500 RESPIRATORY THERAPY                                            62,862                  0      62,862                65.00
   68.00 06800 SPEECH PATHOLOGY                                                2,218                  0       2,218                68.00
   69.00 06900 ELECFROCARDIOLOGY                                             299,290                  0     299,290                69.00
   71.00 07100 MEDICAL SUPPLIES CHARGED TO PATIENTS                          382,788                  0     382,788                71.00
   72.00 07200 IMP. DEV CHARGED TO PATIENT                                     8,982                  0       8,982                72.00
   73.00 07300 DRUGS CHARGED TO PATIENTS                                   1,236,468                  0   1,236,468                73.00
   76.00 03020 CAT SCAN                                                            0                  0           0                76.00
         OUTPATIENT SERVICE COST CENTERS
   88.00 08800 RURAL HEALTH CLINIC                                                  0                 0           0                88.00
   89.00 08900 FEDERALLY QUALIFIED HEALTH CENTER                                  0                   0           0                89.00
   90.00 09000 CLINIC                                                       287,403                   0     287,403                90.00
   90.01 09001 CARDIAC CLINIC                                               117,465                   0     117,465                90.01
   90.02 09002 GENERAL MEDICINE                                              271,762                  0     271,762                90.02
   90.03 09003 ORD-1                                                         308,075                  0     308,075                90.03
   90.04 09004 MOHS                                                          145,475                  0     145,475                90.04
   90.05 09005 SURG ONCOLOGY                                                 332,239                  0     332,239                90.05
   90.06 09006 GYN ONCOLOGY                                                  189,675                  0     189,675                90.06
   90.07 09007 HEM ONCOLOGY                                                  770,898                  0     770,898                90.07
   90.08 09008 DEERFIELD BEACH CLINIC                                      1,971,530                  0   1,971,530                90.08
   90.09 09009 MIRAMAR CLINIC                                                105,429                  0     105,429                90.09
   90.11 09011 KENDALL CLINIC                                                614,233                  0     614,233                90.11
   90.12 09012 ENT                                                           326,448                  0     326,448                90.12
   90.13 04950 PLANTATION                                                      6.932                  0       6,932                90.13
   90.14 04951 CRB PAIN CENTER                                                41,370                  0      41,370                90.14
   90.15 04952 CENTER FOR LIVER DISEASE                                           22                  0          22                90.15
   90.16 04953 DRI MULTISPEC CLINIC                                           20,449                  0      20,449                90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                                      1,098                   0       1,098                90.17
   92.00 09200OBSERVATION BEDS (NON-DISTINCT PART)                                                    0                            92.00
         JTHER REIMBURSABLE P.nQT CENTERS
   99.10 09910 CORF                                                                 0                 0           0                99.10
         SPECIAL PURPOSE COST CENTERS                                                          '
   109.00 10900 PANCREAS ACQUISITION                                                0                 0           0               109.00
   110.00 11000 INTESTINAL ACQUISITION                                              0                 0           0               110.00



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   Hea1th Financjal S stems                           UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   ALLOCATION OF CAPITAL RELATED COSTS                                       Provider CCN:100079 Period:        Worksheet B
                                                                                                  From 06/01/2011 Part 14
                                                                                                  To 05/31/2012 Date/Tnme Prepared:
                                                                                                                    10 29 2012 4:33 m
                                                            INTERNS &
                                                            RESIDENTS
               Cost Center Description                   SERVICES-OTHER   Subtotal       Intern &      Total
                                                           RRGM COSTS                 Residents Cost
                                                                                          & Post
                                                                                         Stepdown
                                                                                       Ad'ustments
                                                             22.00         24.00           25.00       26.00
   111.00 11100 ISLET ACQUISITION                                                    0             0           0                111.00
   113.00 11300 INTEREST EXPENSE                                                                                                113.00
   118.00      SUBTOTALS (SUM OF LINES 1-117)                        0    17,741,918              0    17 741 918               118.00
         > REIMKJRSABLE V T CENTERS
   190.00 19000 GIFT, FLOWER, COFFEE SHOP & CANTEEN                                 0             0            0                190.00
   191.00 19100 RESEARCH                                                       19,904             0       19,904                191.00
   192.00 19200 PHYSICIANS' PRIVATE OFFICES                                         0             0            0                192.00
   193.00 19300 NONPAID WORKERS                                                     0             0            0                193.00
   194.00 07950 CAFETERIA RENTAL                                                    0             0            0                194.00
   194.0107952 DEVELOPMENT                                                     19,933             0       19,933                194.01
   194.0207951 OTHER NONREIMBURSABLE COST CENTERS                            '218,220             0      218,220                194.02
   200.00      Cross Foot Adjustments                            29,174       29,174              0        29,174               200.00
   201.00      Negative Cost Centers                                  0            0              0             0               201.00
   202.00      TOTAL (sum lines 118-201)                         29,174   18,029,149              0    18,029,149               202.00




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   Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   COST ALLOCATION - STATISTICAL BASIS                                   Provider CCN:100079 Period:        Worksheet B-1
                                                                                                   From 06/01/2011
                                                                                                   To 05/31/2012 Date/Time Prepared:
                                                                                                                     10 29 2012 4:33 m
                                                        CAPITAL RELATED COSTS
                Cost Center Description                NEW BLDG &       NEW MVBLE       EMPLOYEE    ReconciliationADMINISTRATIVE
                                                          FIXT            EQUIP         BENEFITS                     & GENERAL
                                                        (SQUARE         (DOLLAR           (GROSS                       (ACCUM.
                                                         FEET           VALUE)          SALARIES                        COST
                                                          1.00            2-00            4.90            5A            5.00
           GENERAL SERVICE COST CENTERS
   1.00    00100 NEW CAP REL COSTS-BLDG & FIXT              281,151                                                                  1.00
   2.00    00200 NEW CAP REL COSTS-MVBLE EQUIP                            6,304,498                                                  2.00
   4.00    00400 E#PLOYEE BENEFITS                                0          10,959      58,004,876                                  4.00
   5.00    00500 ADMINISTRATIVE & GENERAL                    14,209         234,917       8,341,809    -37,548,626    205,726,587    5.00
   7.00    00700 OPERATION OF PLANT                          93,600           6,834         577,551              0      6,961,222    7.00
   8.00    00800 LAUNDRY & LINEN SERVICE                         10               0               0              0        316,992    8.00
   9.00    00900 HOUSEKEEPING                                 3,555           4,604               0              0      2,360,542    9.00
   10.00   01000 DIETARY                                         38           2,256               0              0        642,256   10.00
   13.00   01300 NURSING ADMINISTRATION                       2,450             990       1,720,969              0      2,948,386   13.00
   14.00   01400 CENTRAL SERVICES & SUPPLY                    1,487               0         420,200              0      1,221,681   14.00
   15.00   01500 PHARMACY                                     5,668               0       4,045,614              0     70,321,342   15.00
   16.00   01600 MEDICAL RECORDS & LIBRARY                    49935          33,733       2,790,952              0      7,519,095   16.00
   17.00   01700 SOCIAL SERVICE                                 880               0         283,106              0        426,594   17.00
   22.00 02200 I&R SERVICES-OTHER PRGM COSTS APPRVD               0                 0             0              0      2,674,569 22.00
         INPATIENT ROUTINE SERVICE PnQT VENTERS
   30.00 03000 ADULTS & PEDIATRICS                            9,350          71,627       1,298,713             0       2,911,859   30.00
   31.00 03100 INTENSIVE CARE UNIT                              937          21,540       1,476,347             0       2,629,111   31.00
   31.01 03101 STEM CELL TREATMENT                            5,021          13,339         756,090             0       1,983,178   31.01
   41.00 04100 SUBPROVIDER - IRF                                  0               0               0             0               0   41.00
   42.00 04200 SUBPROVIDER                                        0               0               0             0               0   42.00
           CILLARY SERVICE COST CENTERS
   50.00 05000 OPERATING ROOM                                16,621         563,998       3,298,389             0       7,068,417   50.00
   53.00 05300 ANESTHESIOLOGY                                   402         115,979         251,629             0       2,325,544   53.00
   54.00 05400 RADIOLOGY-DIAGNOSTIC                          11,158         868,925       4,894,279             0      10.666.050   54.00
   55.00 05500 RADIOLOGY-THERAPEUTIC                         20,669         899,503       3,965,030             0      12,433,594   55.00
   55.01 05501 CTU                                            8,385          21,561       5,017,043             0       7,800,448   55.01
   56.00 05600 RADIOISOTOPE                                   3,104         415,421         778,216             0       4,026,745   56.00
   57.00 05700 CT SCAN                                        2,348         253,672         896,945             0       2,506,429   57.00
   58.00 05800 QAGNETIC RESONANCE IMAGING (MRI)               7,741          38,612       1,190,531             0       3,099,122 58.00
   59.00 05900 CARDIAC CATHETERIZATION                            0               0               0             0               0   59.00
   60.00 06000 LABORATORY                                     3,332          74,286         572,731             0       7,571,567   60.00
   60.01 03420 PATHOLOGY                                        696          61,248         387,333             0       3,374,192   60.01
   60.02 06001 STEM CELL LABORATORY                               0               0          72,427             0         291,838   60.02
   63.00 06300 BLOOD STORING, PROCESSING & TRANS.                 0           3,253               0             0       1,966,741   63.00
   64.00 06400 INTRAVENOUS THERAPY                                0               0       2,184,047             0       3,081,927   64.00
   65.00 06500 RESPIRATORY THERAPY                              996          15.450         743,818             0       1,142,824   65.00
   68.00 06800 SPEECH PATHOLOGY                                   0               0          36,866             0         202,616   68.00
   69.00 06900 ELECTROCARDIOLOGY                              3,442         146,646         812,166             0       1,779,226   69.00
   71.00 07100 MEDICAL SUPPLIES CHARGED TO PATIENTS               0          38,751               0             0       5,907,572   71.00
   72.00 07200 IMP. DEV CHARGED TO PATIENT                        0               0               0             0         823,477   72.00
   73.00 07300 DRUGS CHARGED TO PATIENTS                          0          71,628               0             0          79,735   73.00
   76.00 03020 CAT SCAN                                           0               0               0             0               0   76.00
         OUFPATIENT SERVICE COST CENTERS
   88.00 08800 RURAL HEALTH CLINIC                                0               0               0             0               0   88.00
   89.00 08900 FEDERALLY QUALIFIED HEALTH CENTER                  0               0               0             0               0   89.00
   90.00 09000 CLINIC                                         4,734          73,646       1,221,579             0       2,066,991   90.00
   90.01 09001 CARDIAC CLINIC                                 1,812           1,540         611,309             0         969,924   90.01
   90.02 09002 GENERAL MEDICINE                               6,187           4,967         782,795             0       1,333,973   90.02
   90.03 09003 OPD-I                                          6,552          10,939       1,570,676             0       2,669,743   90.03
   90.04 09004 MOHS                                           1,762          11,198         358,128             0         660,966   90.04
   90.05   09005 SURG ONCOLOGY                                7,518          17,440         783,031             0       1,392,868   90.05
   90.06   09006 GYN ONCOLOGY                                 3,946           6,638         243,635             0         497,395   90.06
   90.07   09007 HEM ONCOLOGY                                19,417          54,070         763,203             0       1,673,369   90.07
   90.08   09008 DEERFIELD BEACH CLINIC                           0       1,702,665       1,315,683             0       6,340,063   90.08
   90.09   09009 MIRAMAR CLINIC                                   0          32,380         178,547             0         421.082   90.09
   90.11   09011 KENDALL CLINIC                                 965         130,562         850,327             0       2,282,365   90.11
   90.12   09012 ENT                                              0         261,701       1,477,600             0       2,657,096   90.12
   90.13   04950 PLANTATION                                       0               0          81,464             0         598,787   90.13
   90.14   04951 CRB PAIN CENTER                                  0               0         381,322             0         857.218   90.14
   90.15   04952 CENTER FOR LIVER DISEASE                         0               0               0             0           1,976   90.15
   90.16   04953 DRI MULTISPEC CLINIC                             0           7,020         283,760             0         460,369   90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                            0               0        21,228             0          95,234 90.17
   92.00 09200 OBSERVATION BEDS (NON-DISTINCT PART)                                                                               92.00
         OTHER REIMBURSABLE CO5T CENTERS
   99.10 09910 CORF                                                 0               0              0            0                0 99.10
         SPECIAL PQRPO:E FTGT CENTERS
   109.0010900 PANCREAS ACQUISITION                                 0               0              0            0                0109.00
   110.00 11000 INTESTINAL ACQUISITION                              0               0              0            0                0 110.00
   111.00 11100 ISLET ACQUISITION                                   0               0              0            0                0 111.00


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   Hea1th Financial S stems                           UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
   COST ALLOCATION - STATISTICAL BASIS                                       Provider CCN:100079 Period:        Worksheet B-1
                                                                                                       From 06/01/2011
                                                                                                       To 05/31/2012 Date/Time Prepared:
                                                                                                                          10 29 2012 4:33 m
                                                            CAPITAL RELATED COSTS
               Cost Center Description                     NEW BLDG &       NEW MVBLE       EMPLOYEE    ReconciliationADMINISTRATIVE
                                                              FIXT            EQUIP         BENEFITS                    & GENERAL
                                                            (SQUARE         (DOLLAR          (GROSS                         (ACCUM.
                                                             FEET            VALUE          SALARIES                         COST
                                                              1.00            2.00            4.00            5A             5.00
   113.00 11300 INTEREST EXPENSE                                                                                                       113.00
   118.00      SUBTOTALS (SUM OF LINES 1-117)                   273,927       6,304,498      57,737,088     -37,548,626    204,044,310 118.00
         NONREIMBQRSARLE COST CENTERS
   190.00 19000 GIFT, FLOWER, COFFEE SHOP & CANTEEN                     0               0             0              0               0 190.00
   191.00 19100 RESEARCH                                              384               0       267,690              0         651,693 191.00
   192.00 19200 PHYSICIANS' PRIVATE OFFICES                             0               0             0              0               0 192.00
   193.0019300 NONPAI: WORKERS                                          0               0              0             0               0 193,00
   194.00 07950 CAFETERIA RENTAL                                        0               0               0            0               0 194.00
   194.01 07952 DEVELOPRENT                                           306               0              98            0         896,700 194.01
   194.02 07951 OTHER NONREIMBURSABLE COST CENTERS                  6,534               0               0            0         133,884 194.02
   200.00      Cross Foot Adjustments                                                                                                  200.00
   201.00      Negative Cost Centers                                                                                                   201.00
   202.00      Cost to be allocated (per Wkst. B,             5,760,888       7,018,073       1,217,244                     37,548,626 202.00
               Part 1)
   203.00      Unit cost multiplier (Wkst. B, Part 1)         20.490370        1.113185        0.020985                       0.182517 203.00
   204.00      Cost to be allocated (per Wkst. B,                                                12,199                      2,244,066 204.00
               Part II)
   205.00      Unit cost multiplier (Wkst. B, Part                                             0.000210                       0.010908 205.00
               II)




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   Hea1th Financial S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
   COST ALLOCATION - STATISTICAL BASIS                                    Provider CCN:100079 Period:        Worksheet B-1
                                                                                                      From 06/01/2011
                                                                                                      To 05/31/2012 Date/Time Prepared:
                                                                                                                        10 29 2012 4:33 m
                Cost Center Descrlption                 OBERATION OF      LAUNDRY &       HOUSEKEEPING    DIETARY         NURSING
                                                           PLANT        LINEN SERVICE       (SQUARE        (MEALS   ADMINISTRATION
                                                          (SQUARE         (POUNDS OF         FEET)        SERVED)
                                                           FEET)           LAUNDRY)                                     (DIRECT
                                                                                                                        NRSING HRS
                                                            7.00            8.00             9.00          10.00           13.00
        GENERAL SERVICE COST CENTERS
   1.00 00100 NEW CAP REL COSTS-BLDG & FIXT                                                                                             1.00
   2.00    00200 NEW CAP REL COSTS-MVBLE EQUIP                                                                                          2.00
   4.00    00400 EMPLOYEE BENEFITS                                                                                                      4.00
   5.00    00500 ADMINISTRATIVE & GENERAL                                                                                               5.00
   7.00    00700 OPERATION OF PLANT                          173,342                                                                    7.00
   8.00    00800 LAUNDRY & LINEN SERVICE                          10          599,703                                                   8.00
   9.00    00900 HOUSEKEEPING                                  3,555                0          169,777                                  9.00
   10.00   01000 DIETARY                                          38                0               38        44,852                   10.00
   13.00   01300 NURSING ADMINISTRATION                        2,450                0            2,450             0       1,230,760   13.00
   14.00   01400 CENTRAL SERVICES & SUPPLY                     1,487                0            1,487             0               0   14.00
   15.00   01500 PHARMACY                                      5,668                0            5,668             0               0   15.00
   16.00   01600 MEDICAL RECORDS & LIBRARY                     4,935                0            4,935             0               0   16.00
   17.00   01700 SOCIAL SERVICE                                  880                0              880             0          10,288   17.00
   22.00   02200 I&R SERVICES-OTHER PRGM COSTS APPRVD              0                0                0             0               0   22.00
           INPATIENT ROUFINE SERVICE rnIT CENTERS
   30.00   03000 ADULTS & PEDIATRICS                           9,350           65,307            9,350        32,237          98,434   30.00
   31.00   03100 INTENSIVE CARE UNIT                             937            9,116              937         4,500          11,549   31.00
   31.01   03101 STEM CELL TREATMENT                           5,021           16,441            5,021         8,115          45,333   31.01
   41.00   04100 SUBPROVIDER - IRF                                 0                0                0             0               0   41.00
   42.00   04200 SUBPROVIDER                                       0                0                0             0               0   42.00
             CILLARY SERVICE COST CENTERS
   50.00   05000 OPERATING ROOM                               16,621          133,268           16,621              0        105,388   50.00
   53.00   05300 ANESTHESIOLOGY                                  402                0              402              0         11,036   53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                         11,158          121,152           11,158              0        230,971   54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                        20,669           60.576           20,669              0         78,359   55.00
   55.01   05501 CTU                                           8,385           60,576            8,385              0        146,249   55.01
   56.00   05600 RADIOISOTOPE                                  3,104           12.115            3,104              0         23,864   56.00
   57.00   05700 CT SCAN                                       2,348           18,173            2,348              0         27,597   57.00
   58.00 05800 MAGNETIC RESONANCE IMAGING (RRI)                7,741                  0          7,741              0         26,880 58.00
   59.00 05900 CARDIAC CATHETERIZATION                             0                0                0              0              0   59.00
   60.00 06000 LABORATORY                                      3,332                0            3,332              0              0   60.00
   60.01 03420 PATHOLOGY                                         696                0              696              0              0   60.01
   60.02 06001 STEM CELL LABORATORY                                0                0                0              0              0   60.02
   63.00 06300 BLOOD STORING, PROCESSING & TRANS.                  0                0                0              0              0   63.00
   64.00 06400 INTRAVENOUS THERAPY                                 0                0                0              0              0   64.00
   65.00 06500 RESPIRATORY THERAPY                               996                0              996              0              0   65.00
   68.00 06800 SPEECH PATHOLOGY                                    0                0                0              0              0   68.00
   69.00 06900 ELECFROCARDIOLOGY                               3,442           12,115            3,442              0         23,620   69.00
   71.00 07100 MEDICAL SUPPLIES CHARGED TO PATIENTS                0                0                0              0              0   71.00
   72.00 07200 IMP. DEV CHARGED TO PATIENT                         0                0                0              0              0   72.00
   73.00 07300 DRUGS CHARGED TO PATIENTS                           0                0                0              0              0   73.00
   76.00 03020 CAT SCAN                                            0                0                0              0              0   76.00
         GJTPATIENT SERW CE CX T CENTERS
   88.00 08800 RURAL HEALTH CLINIC                                 0                0                0              0              0   88.00
   89.00 08900 FEDERALLY QUALIFIED HEALTH CENTER                   0                0                0              0              0   89.00
   90.00 09000 CLINIC                                          4,734                0            4,734              0         15,135   90.00
   90.01 09001 CARDIAC CLINIC                                  1,812                0            1,812              0         19,772   90.01
   90.02 09002 GENERAL MEDICINE                                6,187           18,173            6,187              0         32,878   90.02
   90.03 09003 OPD-I                                           6,552           30,288            6,552              0         62,266   90.03
   90.04 09004 MOHS                                            1,762           12,115            1,762              0         14,538   90.04
   90.05 09005 SURG ONCOLOGY                                   7,518           30,288            7,518              0         32,614   90.05
   90.06 09006 GYN ONCOLOGY                                    3,946                0            3,946              0         11,511   90.06
   90.07 09007 HEM ONCOLOGY                                   19,417                0           19,417              0         35,597   90.07
   90.08 09008 DEERFIELD BEACH CLINIC                              0                0                0              0         38,865   90.08
   90.09 09009 MIRAMAR CLINIC                                      0                0                0              0          Z,701   90.09
   90.11 09011 KENDALL CLINIC                                    965                0              965              0         24:613   90.11
   90.12 09012 ENT                                                 0                0                0              0         62,467   90.12
   90.13 04950 PLANTATION                                          0                0                0              0          4,107   90.13
   90.14 04951 CRB PAIN CENTER                                     0                0                0              0         13,321   90.14
   90.15 04952 CENTER FOR LIVER DISEASE                            0                0                0              0              0   90.15
   90.16 04953 DRI MULTISPEC CLINIC                                0                0                0              0         15,218   90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                            0                 0               0             0              589 90.17
   92.00 09200 OBSERVATION BEDS (NON-DISTINCT PART)                                                                                    92.00
         OTBER REIMBURSABLE COST CENTERS
   99.10 09910 CORF                                                 0                 0               0             0                0 99.10
         SPECIAL PQRPOSE COST CENTERS
   109.00 10900 PANCREAS ACQUISITION                                0                 0               0             0                0 109.00
   110.00 11000 INTESTINAL ACQUISITION                              0                 0               0             0                0 110.00
   111.00 11100 ISLET ACQUISITION                                   0                 0               0             0                0 111.00
   113.00 11300 INTEREST EXPENSE                                                                                                       113.00



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   Hea1th Financial s stems                           UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CMS-2552-10
   COST ALLOCATION - STATISTICAL BASIS                                       Provider CCN:100079 Perlod:        Worksheet B-1
                                                                                                          From 06/01/2011
                                                                                                          To 05/31/2012 Date/Time Prepared:
                                                                                                                             10 29 2012 4:33 m
               Cost Center Description                    OPERATION OF        LAUNDRY &       HOUSEKEEPING     DIETARY         NURSING
                                                             PLANT          LINEN SERVICE       (SQUARE         (MEALS   ADMINISTRATION
                                                            (SQUARE           (POUNDS OF         FEFT)         SERVED)
                                                             FEET)             LAUNDRY)                                      (DIRECT
                                                                                                                             NRSING HRS
                                                              7.QQ              B.QQ              9.QQ         IQ.QG            13.90
   118.00      SUBTOTALS (SUM OF LINES 1-117)                   166,118           599,703          162,553         44,852       1,230,760 118.00
          NONREIMBURSABLE COST CENTERS
   190.00 19000 GIFT, FLOWER, COFFEE SHOP & CANTEEN                     0                 0                0             0                0 190.00
   191.00 19100 RESEARCH                                              384                 0              384             0                0 191.00
   192.00 19200 PHYSICIANS' PRIVATE OFFICES                             0                 0                0             0                0 192.00
   193.00 19300 NONPAID WORKERS                                         0                 0                0             0                0 193.00
   194.00 07950 CAFETERIA RENTAL                                        0                 0                0             0                0 194.00
   194.0107952 DEVELOPMENT                                         306                    0             306              0                0 194.01
   194.02 07951 OTHER NONREIMBURSABLE COST CENTERS               6,534                    û          6 ,534              0                û 194.02
   200.00      Cross Foot Adjustments                                                                                                     200.00
   201.00      Negative Cost Centers                                                                                                      201.00
   202.00      Cost to be allocated (per Wkst. B,             8,231,763           375,323         2,960,203       761,947       3,645,582 202.00
               part 1)
   203.00      Unit cost multiplier (Wkst. B, Part 1)         47.488566          0.625848        17.435831      16.988027        2.962058 203.00
   204.00      Cost to be allocated (per Wkst. B,             2,049,812             3,781          145,756         10,778         114,900 204.00
               Part II)
   205.00      Unit cost multiplier (Wkst. B, Part            11.825247          0.006305         0.858514       0.240301        0.093357205.00
               II)




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   Hea1th Financial s stems                         UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CMS-2552-10
   COST ALLOCATION - STATISTICAL BASIS                                     Provlder CCN:100079 Period:        Worksheet B-1
                                                                                                     From 06/01/2011
                                                                                                     To 05/31/2012 Date/Time Prepared:
                                                                                                                           10 29 2012 4:33 m
                Cost Center Descrlptlon                   CENTRAL         PHARMACY       MEDICAL         SOCIAL SERVICE
                                                         SERVICES &       (COSTED        RECORDS &
                                                           SUPPLY         REQUIS.)        LIFRARY            (TIME
                                                          (COSTED                          (TIME            SPENT)
                                                          RE UIS.                         SPENT
                                                           14.00           15.00          16.00              17.00
        GENERAL SERVICE COST CEMTERS
   1.00 00100 NEW CAP REL COSTS-BLDG & FIXT                                                                                              1.00
   2.00    00200 NEW CAP REL COSTS-MVBLE EQUIP                                                                                           2.00
   4.00    00400 EMPLOYEE BENEFITS                                                                                                       4.00
   5.00    00500 ADMINISTRATIVE & GENERAL                                                                                                5.00
   7.00    00700 OPERATION OF PLANT                                                                                                      7.00
   8.00    00800 LAUNDRY & LINEN SERVICE                                                                                                 8.00
   9.00    00900 HOUSEKEEPING                                                                                                            9.00
   10.00   01000 DIETARY                                                                                                                10.00
   13.00   01300 NURSING ADMINISTRATION                                                                                                 13.00
   14.00   01400 CENTRAL SERVICES & SUPPLY                          100                                                                 14.00
   15.00   01500 PHARMACY                                             0    1,000,000                                                    15.00
   16.00   01600 MEDICAL RECORDS & LIBRARY                            0            0           1.000                                    16.00
   17.00   01700 SOCIAL SERVICE                                       0            0               0                 100                17.00
   22.00   02200 I&R SERVICES-OTHER PRGM COSTS APPRVD                 0            0               0                   0                22.00
           INPATIENT ROUTINE SERVICE COST CENTERS
   30.00   03000 ADULTS & PEDIATRICS                                  0              0             180               25                 30.00
   31.00   03100 INTENSIVE CARE UNIT                                  0              0              25                4                 31.00
   31.01   03101 STEM CELL TREATMENT                                  0              0              45                6                 31.01
   41.00   04100 SUBPROVIDER - IRF                                    0              0               0                0                 41.00
   42.00   04200 SUBPROVIDER                                          0              0               0                0                 42.00
             CILLARY SERVICE COST CENTERS
   50.00   05000 OPERATING ROOM                                       0              0               0                0                 50.00
   53.00   05300 ANESTHESIOLOGY                                       0              0               0                0                 53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                                 0              0               0                0                 54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                                0              0               0                0                 55.00
   55.01   05501 CTU                                                  0              0               0                0                 55.01
   56.00   05600 RADIOISOTOPE                                         0              0               0                0                 56.00
   57.00   05700 CT SCAN                                              0              0               0                0                 57.00
   58.00 05800 MAGNETIC RESONANCE IMAGING (MRI)                       0              0               0                0                 58.00
   59.00   05900 CARDIAC CATHETERIZATION                              0            0                 0                0                 59.00
   60.00   06000 LABORATORY                                           0            0                 0                0                 60.00
   60.01   03420 PATHOLOGY                                            0            0                 0                0                 60.01
   60.02   06001 STEM CELL LABORATORY                                 0            0                 0                0                 60.02
   63.00   06300 BLOOD STORING, PROCESSING & TRANS.                   0            0                 0                0                 63.00
   64.00   06400 INTRAVENOUS THERAPY                                  0            0                 0                0                 64.00
   65.00   06500 RESPIRATORY THERAPY                                  0            0                 0                0                 65.00
   68.00   06800 SPEECH PATHOLOGY                                     0            0                 0                0                 68.00
   69.00   06900 ELECTROCARDIOLOGY                                    0            0                 0                0                 69.00
   71.00   07100 MEDICAL SUPPLIES CHARGED TO PATIENTS               100            0                 0                0                 71.00
   72.00   07200 IMP. DEV CHARGED TO PATIENT                          0            0                 0                0                 72.00
   73.00   07300 DRUGS CHARGED TO PATIENTS                            0    1r000,000                 0                0                 73.00
   76.00   03020 CAT SCAN                                             0            0                 0                0                 76.00
           Y TPAH ENT SERVICE CO5T CENTERS
   88.00   08800 RURAL HEALTH CLINIC                                  0              0               0                0                 88.00
   89.00   08900 FEDERALLY QUALIFIED HEALTH CENTER                    0              0               0                0                 89.00
   90.00   09000 CLINIC                                               0              0             50                10                 90.00
   90.01   09001 CARDIAC CLINIC                                       0              0            100                 5                 90.01
   90.02   09002 GENERAL MEDICINE                                     0              0            100                 5                 90.02
   90.03   09003 OPD-I                                                0              0            100                 5                 90.03
   90.04   09004 MOHS                                                 0              0            100                10                 90.04
   90.05   09005 SURG ONCOLOGY                                        0              0            100                10                 90.05
   90.06   09006 GYN ONCOLOGY                                         0              0            100                10                 90.06
   90.07   09007 HEM ONCOLOGY                                         0              0            100                10                 90.07
   90.08   09008 DEERFIELD BEACH CLINIC                               0              0              0                 0                 90.08
   90.09   09009 MIRAMAR CLINIC                                       0              0              0                 0                 90.09
   90.11   09011 KENDALL CLINIC                                       0              0              0                 0                 90.11
   90.12   09012 ENT                                                  0              0              0                 0                 90.12
   90.13   04950 PLANTATION                                           0              0               0                0                 90.13
   90.14   04951 CRB PAIN CENTER                                      0              0               0                0                 90.14
   90.15   04952 CENTER FOR LIVER DISEASE                             0              0               0                0                 90.15
   90.16   04953 DRI MULTISPEC CLINIC                                 0              0               0                0                 90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                              0              0               0                0                90.17
   92.00 09200 OBSERVATION BEDS (NON-DISTINCT PART)                                                                                    92.00
         OTBER REIMBURSABLE COST CENTERS
   99.10 09910 CORF                                                   0              0               0                0                99.10
         SPECIAL PURPOSE CnQT CENTERS
   109.00 10900 PANCREAS ACQUISITION                                  0              0               0                0                109.00
   110.0011000 INTESTINAL ACQUISITION                                 0              0               0                0                110.00
   111.00 11100 ISLET ACQUISITION                                     0              0               0                0                111.00
   113.00 11300 INTEREST EXPENSE                                                                                                       113.00



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   Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu 0f Form CMS- 2552-10
   COST ALLOCATION - STATISTICAL BASIS                                   Provider CCN:100079 Period:        Worksheet B-1
                                                                                                   From 06/01/2011
                                                                                                   To 05/31/2012 Date/Time Prepared:
                                                                                                                         10 29 2012 4:33 m
               Cost Center Descriptîon                  CENTRAL         PHARMACY       MEDICAL         SOCIAL SERVICE
                                                       SERVICES &        (COSTED       RECORDS &
                                                         SUPPLY         REQUIS.)        LIBRARY            (TIME
                                                         (COSTED                         (TIME            SPENT)
                                                        RE UIS.                         SPENT
                                                         14.00           15.00          16.00              17.00
   118.00      SUBTOTALS (SUM OF LINES 1-117)                     100     1,000,000         1,000                  100               118.00
             REIMO IRSABLE CQ:T CENTERS
   190.00 19000 GIFT, FLOWER, COFFEE SHOP & CANTEEN                 0              0               0                0                190.00
   191.00 19100 RESEARCH                                            0              0               0                0                191.00
   192.00 19200 PHYSICIANS' PRIVATE OFFICES                         0              0               0                0                192.00
   193.00 19300 NONPAID WORKERS                                     0              0               0                0                193.00
   194.00 07950 CAFETERIA RENTAL                                    0              0               0                0                194 .00
   194.0107952 DEVELOPMENT                                          0              0               0                0                194.01
   194.0207951 OTHER NONREIMBURSABLE COST CENTERS                   0              0               0                0                194 .02
   200.00      Cross Foot Adjustments                                                                                                200.00
   201.00      Negative Cost Centers                                                                                                 201.00
   202.00      Cost to be allocated (per Wkst. B,         1,541,201     83,524,201       9,211,860           592.063                 202.00
               Part 1)
   203.00      Unit cost multjplier (Wkst. B, Part 1) 15,412.010000      83.524201 9,211.860000 5,920.630000                         203.00
   204.00      Cost to be allocated (per Wkst, B,           275,211      1,155,863      413,424       34,865                         204.00
               Part II)
   205.00      Unit cost multiplier (Wkst. B, Part     2,752.110000       1.155863      413.424000        348.650000                 205.00
               II)




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   Hea1th Financial S stems                         UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
   COST ALLOCATION - STATISTICAL BASIS                                     Provider CCN:100079 Period:        Worksheet B-1
                                                                                              From 06/G1/2G11
                                                                                              To 05/31/2012 Date/Time Prepared:
                                                                                                              10 29 2012 4:33 m
                                                           INTERNS &
                                                           RESIDENTS
                Cost Center Description                 SERVICES-OTHER
                                                         PRGM COSTS
                                                          (ASSIGNED
                                                            TIME
                                                            22.00
           GENERAL SERVICE rDQT CENTERS
   1.00    00100 NEW CAP REL COSTS-BLDG & FIXT                                                                               1.00
   2.00    00200 NEW CAP REL COSTS-MVBLE EQUIP                                                                               2.00
   4.00    00400 EMPLOYEE BENEFITS                                                                                           4.00
   5.00    00500 ADMINISTRATIVE & GENERAL                                                                                    5.00
   7.00    00700 OPERATION OF PLANT                                                                                          7.00
   8.00    00800 LAUNDRY & LINEN SERVICE                                                                                     8.00
   9.00    00900 HOUSEKEEPING                                                                                                9 .00
   10.00   01000 DIETARY                                                                                                    10.00
   13.00   01300 NURSING ADMINISTRATION                                                                                     13.00
   14.00   01400 CENTRAL SERVICES & SUPPLY                                                                                  14.00
   15.00   01500 PHARMACY                                                                                                   15.00
   16.00   01600 MEDICAL RECORDS & LIBRARY                                                                                  16.00
   17.00   01700 SOCIAL SERVICE                                                                                             17.00
   22.00   02200 I&R SERVICES-OTHER PRGM COSTS APPRVD               100                                                     22.00
           INPATIENT RQUTINE SERVICE 'nQT CENTERS
   30.00   03000 ADULTS & PEDIATRICS                                100                                                     30.00
   31.00   03100 INTENSIVE CARE UNIT                                  0                                                     31.00
   31.01   03101 STEM CELL TREATMENT                                  0                                                     31.01
   41.00   04100 SUBPROVIDER - IRF                                    0                                                     41.00
   42.00   04200 SUBPROVIDER                                          0                                                     42.00
             CILLARY SERVICE rGQT CENTERS
   50.00   05000 OPERATING ROOM                                       0                                                     50.00
   53.00   05300 ANESTHESIOLOGY                                       0                                                     53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                                 0                                                     54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                                0                                                     55.00
   55.01   05501 CTU                                                  0                                                     55.01
   56.00   05600 RADIOISOTOPE                                         0                                                     56.00
   57.00   05700 CT SCAN                                              0                                                     57.00
   $8.00 05800MAGNETIC RESONANCE IMAGING (MRI)                        0                                                     58.00
   59.00 05900 CARDIAC CATHETERIZATION                                0                                                     59.00
   60.00 06000 LABORATORY                                             0                                                     60.00
   60.01 03420 PATHOLOGY                                              0                                                     60.01
   60.02 06001 STEM CELL LABORATORY                                   0                                                     60.02
   63.00 06300 BLOOD STORING, PROCESSING & TRANS.                     0                                                     63.00
   64.00 06400 INTRAVENOUS THERAPY                                    0                                                     64.00
   65.00 06500 RESPIRATORY THERAPY                                    0                                                     65.00
   68.00 06800 SPEECH PATHOLOGY                                       0                                                     68.00
   69.00 06900 ELECFROCARDIOLOGY                                      0                                                     69.00
   71.00 07100 MEDICAL SUPPLIES CHARGED TO PATIENTS                   0                                                     71.00
   72.00 07200 IMP. DEV CHARGED TO PATIENT                            0                                                     72.00
   73.00 07300 DRUGS CHARGED TO PATIENTS                              0                                                     73.00
   76.00 03020 CAT SCAN                                               0                                                     76.00
         OIFPATIEMT SERVICE COST CENTERS
   88.00 08800 RURAL HEALTH CLINIC                                    0                                                     88.00
   89.00 08900 FEDERALLY QUALIFIED HEALTH CENTER                      0                                                     89.00
   90.00   09000 CLINIC                                               0                                                     90.00
   90.01   09001 CARDIAC CLINIC                                       0                                                     90 .01
   90.02   09002 GENERAL MEDICINE                                     0                                                     90 .02
   90.03   09003 OPD-1                                                0                                                     90.03
   90.04   09004 MOHS                                                 0                                                     90.04
   90.05   09005 SURG ONCOLOGY                                        0                                                     90.05
   90.06   09006 GYN ONCOLOGY                                         0                                                     90.06
   90.07   09007 HEM ONCOLOGY                                         0                                                     90.07
   90.08   09008 DEERFIELD BEACH CLINIC                               0                                                     90.08
   90.09   09009 MIRAMAR CLINIC                                       0                                                     90.09
   90.11   09011 KENDALL CLINIC                                       0                                                     90.11
   90.12   09012 ENT                                                  0                                                     90.12
   90.13   04950 PLANTATION                                           0                                                     90.13
   90.14   04951 CRB PAIN CENTER                                      0                                                     90.14
   90.15   04952 CENTER FOR LIVER DISEASE                             0                                                     90.15
   90.16   04953 DRI MULTISPEC CLINIC                                 0                                                     90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                              0                                                     90.17
   92.00 09200OBSERVATION BEDS (NON-DISTINCF PART)                                                                          92.00
         OTHER REIMRURSABLE RDQT CENTERS
   99.10 09910 CORF                                                   0                                                     99.10
         SPECIAL PURPOSE CPST CENTERS
   109.0010900 PANCREAS ACQUISITION                                   0                                                    109.00
   110.00 11000 INTESTINAL ACQUISITION                                0                                                    110.00
   111.00 11100 ISLET ACQUISITION                                     0                                                    111.00


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  Hea1th Financial S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
  COST ALLOCATION - STATISTICAL BASIS                                    Provider CCN:100079 Period:        Worksheet B-1
                                                                                            From 06/01/2011
                                                                                            TO 05/31/2012 Date/Time Prepared:
                                                                                                            10 29 2012 4:33 m
                                                        INTERNS &
                                                        RESIDERTS
               Cost Center Description                SERVICES-OTHER
                                                       PRGM COSTS
                                                        (ASSIGNED
                                                          TIME
                                                          22.00
   113.00 11300 INTEREST EXPENSE                                                                                         113.00
   118.00      SUBTOTALS (SUM OF LINES 1-117)                     100                                                    118.00
         NIAREIG RSM LE CDST CENTERS
   190.00 19000 GIFT, FLOWER, COFFEE SHOP & CANTEEN                 0                                                    190.00
   191.00 19100 RESEARCH                                            0                                                    191.00
   192.00 19200 PHYSICIANS' PRIVATE OFFICES                         0                                                    192.00
   193.00 19300 NONPAID WORKERS                                     0                                                    193.00
   194.00 07950 CAFETERIA RENTAL                                    0                                                    194.00
   194.01 07952 DEVELOPMENT                                         0                                                    194.01
   194.02 07951 OTHER NONREIMBURSABLE COST CENTERS                  0                                                    194.02
   200.00      Cross Foot Adjustments                                                                                    200.00
   201.00      Negative Cost Centers                                                                                     201.00
   202.00      Cost to be allocated (per Wkst. B,         3:162,723                                                      202.00
               Part 1)
   203.00      Unit cost multiplier (Wkst. B, Part 1) 31,627.230000                                                      203.00
   204.00      Cost to be allocated (per Wkst. B,            29,174                                                      204.00
               Part II)
   205.00      Unit cost multiplier (Wkst. B, Part       291.740000                                                      205.00
               II)




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   Hea1th Financial 5 stems                          UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CMS-2552-10
   COMPUTATION OF RATIO OF COSTS TO CHARGES                                 Provider CCN:100079 Period:        Worksheet C
                                                                                                  From 06/01/2011 Part I
                                                                                                  To 05/31/2012 Date/Time Prepared:
                                                                                                                       10 29 2012 4:33 m
                                                                                 Title Xv111            Hos ital              Tefra
                                                                                                          Costs
                 Cost Center Descriptïon                  Total Cost Therapy Limit Total Costs             RCE         Total Costs
                                                         (from Wkst. F,   Adj.                         Disallowance
                                                         Part 1, col.
                                                             26
                                                             1.00         2.00           3.00             4.00            5.00
            INPATIENT ROUFINE SERVICE COST CENTERS
   30.00    03000 ADULTS & PEDIATRICS                        6,736,599                   6,736,599                 0             0   30.00
   31.00    03100 INTENSIVE CARE UNIT                        3,540,142                   3,540,142                 0             0   31.00
   31.01    03101 STEM CELL TREATMENT                        3,403,612                   3,403,612                 0             0   31.01
   41.00    04100 SUBPROVIDER - IRF                                  0                           0                 0             0   41.00
   42.00    042G0 SUBPROVIDER                                        û                           0                 0             0   42.00
              CILLARY SERVICE CP&T CENTERS
   50.00    05000 OPERATING ROOM                             9,833,201                   9,833,201                 0             0   50.00
   53.00    05300 ANESTHESIOLOGY                             2,808,783                   2,808,783                 0             0   53.00
   54.00    05400 RADIOLOGY-DIAGNOSTIC                      14.097,181                  14,097,181                 0             0   54.00
   55.00    05500 RADIOLOGY-THERAPEUTIC                     16,314,873                  16, 314,873                0             0   55.00
   55.01    05501 CTU                                       10,239,662                  10, 239,662                0             0   55.01
   56.00    05600 RADIOISOTOPE                               5,041,489                   5,041,489                 0             0   56.00
   57.00    05700 CT SCAN                                    3,209,455                   3,209,455                 0             0   57.00
   58.00 0:800 MAGNETIC RESONANCE IMAGING (MRI)              4,246,964                   4,246,964                 G             0 58.00
   59.00    05900 CARDIAC CATHETERIZATION                            0                            0                0             0   59.00
   60.00    06000 LABORATORY                                 9,169,835                   9 ,169,835                0             0   60.00
   60.01    03420 PATHOLOGY                                  4,035,226                   4,035,226                 0             0   60.01
   60.02    06001 STEM CELL LABORATORY                         345,103                      345,103                0             0   60.02
   63.00    06300 BLOOD STORING, PROCESSING & TRANS.         2.325,705                   2,325,705                 0             0   63.00
   64.00    06400 INTRAVENOUS THERAPY                        3,644,431                   3,644,431                 0             0   64.00
   65.00    06500 RESPIRATORY THERAPY                        1,416,074             0     1,416,074                 0             0   65.00
   68.00    06800 SPEECH PATHOLOGY                             239,597             0        239,597                0             0   68.00
   69.00    06900 ELECTROCARDIOLOGY                          2,404:981                   2,404,981                 0             0   69.00
   71.00    07100 MEDICAL SUPPLIES CHARGED TO PATIENTS       8,527,005                   8,527,005                 0             0   71.00
   72.00    07200 IMP. DEV CHARGED TO PATIENT                  973,776                      973,776                0             0   72.00
   73.00    07300 DRUGS CHARGED TO PATIENTS                 83,618,489                  83,618,489                 0             0   73.00
   76.00    03020 CAT SCAN                                           0                            0                0             0   76.00
            OUTPATIENT SERVICE COST CENTERS
   88.00    08800 RURAL HEALTH CLINIC                                0                            0                0             0   88.00
   89.00    08900 FEDERALLY QUALIFIED HEALTH CENTER                  0                            0                0             0   89.00
   90.00    09000 CLINIC                                     3,316,234                   3,316,234                 0             0   90.00
   90.01    09001 CARDIAC CLINIC                             2,273,950                   2,273,950                 0             0   90.01
   90.02    09002 GENERAL MEDICINE                           3,038,683                   3,038,683                 0             0   90.02
   90.03    09003 OPD-I                                      4,736,582                   4,736,582                 0             0   90 .03
   90.04    09004 MOHS                                       1,927,037                   1,927,037                 0             0   90.04
   90.05    09005 SURG ONCOLOGY                              3,231,145                   3,231.145                 0             0   90.05
   90.06    09006 GYN ONCOLOGY                               1,858,858                   1,858,858                 0             0   90.06
   90.07    09007 HEM ONCOLOGY                               4,325,256                   4,325,256                 0             0   90.07
   90.08    09008 DEERFIELD BEACH CLINIC                     7,612,352                   7,612,352                 0             0   90.08
   90.09    09009 MIRAMAR CLINIC                               520,748                     520,748                 0             0   90.09
   90.11    09011 KENDALL CLINIC                             2,834,492                   2,834,492                 0             0   90.11
   90.12    09012 ENT                                        3,327,092                   3,327,092                 0             0   90.12
   90.13 04950 PLANTATION                                      720,241                     720 ,241                0             0   90.13
   90.14 04951 CRB PAIN CENTER                               1,053,133                   1,053,133                 0             0   90. 14
   90.15 04952 CENTER FOR LIVER DISEASE                          2,337                         2,337               0             0 90.15
   90.16 04953 DRI MULTISPEC CLINIC                            589,471                     589 ,471                0             0 90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                       114,361                     114,361                 0             0 90.17
   92.00 09200OBSERVATION BEDS (NON-DISTINCT PART)             399,637                     399,637                               0 92.00
         OTHER REIMBUM M LE CX T CENTEH
   99.10 09910 CORF                                                 0                             0                              0 99.10
         SPECIAL PBRPOSE COST CENTERS
   109.00 10900 PANCREAS ACQUISITION                                0                             0                              0 109.00
   110.00 11000 INTESTINAL ACQUISITION                              0                             0                              0 110.00
   111.00 11100 ISLET ACQUISITION                                   0                             0                              0 111.00
   113.00 11300 INTEREST EXPENSE                                                                                                   113.00
   200.00        Subtotal (see instructions)               238,053,792             0   238,053,792                 0             0 200.00
   201.00        Less Observation Beds                         399,637                     399,637                               0 201.00
  202.00         Total (see instructions)                  237,654,155             0   237,654,155                 0             0 202.00




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   Hea1th Financial S stems                          UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5- 2552-10
   COMPUTATION OF RATIO OF COSTS TO CHARGES                                 Provider CCN:100079 Period:        Worksheet C
                                                                                                   From 06/01/2011 Part I
                                                                                                   To 05/31/2012 Date/Time Prepared:
                                                                                                                      10 29 2012 4:33 m
                                                                                 Title X1111            Hos ital             Tefra
                                                                           Char es
                 Cost Center Descriptïon                  Inpatîent       Outpatient Total (col. 6 Cost or Other         TEFRA
                                                                                       + col. 7)       Ratio           Inpatient
                                                                                                                         Ratio
                                                             6,00            7.00        8.00          9.00              10.00
           INPATIENT RQ@TINE SERVICE COST CENTERS
   30.00   03000 ADULTS & PEDIATRICS                         4,990,457                   4,990,457                                   30.00
   31.00   03100 INTENSIVE CARE UNIT                         4,873,676                   4,873,676                                   31.00
   31.01   03101 STEM CELL TREATMENT                         2,660,116                   2,660,116                                   31.01
   41.00   04100 SUBPROVIDER - IRF                                   0                           0                                   41.00
   42.00   04200 SUBPROVIDER                                         0                           0                                   42.00
             CILLARY SERVK E CDST CENTERS
   50.00   05000 OPERATING ROOM                              5,134,770     41,636,236     46,771,006       0.210241       0.210241   50.00
   53.00   05300 ANESTHESIOLOGY                              1,584,632     13,315,715     14,900,347       0.188505       0.188505   53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                        6,224,271     77,498,739     83,723,010       0.168379       0.168379   54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                       1,008,972    112 ,468,747   113,477,719       0.143772       0.143772   55.00
   55.01   05501 CTU                                         6,347,023     36,852,155     43, 199,178      0.237034       0.237034   55.01
   56.00   05600 RADIOISOTOPE                                1,659,129     78,264,540     79,923,669       0.063079       0.063079   56.00
   57.00   05700 CT SCAN                                     2,416,037     93,318,599     95,734,636       0.033524       0.033524   57.00
   58.00 05800 MAGNETIC RESONANCE IMAGING (MRI)                458,119     71,440,187    71,898,306        0.059069       0.059069 58.00
   59.00 25900 CARDIAC CATHETERIZATION                               0               0             0       0.QQ00QQ       û.000000   59.00
   60.00 06000 LABORATORY                                   12,537,829     63,167,498     75,705,327       0.121125       0.121125   60.00
   60.01 03420 PATHOLOGY                                     1,068,292      8,449,653      9,517,945       0.423960       0.423960   60.01
   60.02 06001 STEM CELL LABORATORY                             551776          95,414       151,190       2.282578       2.282578   60.02
   63.00 06300 BLOOD STORING, PROCESSING & TRANS.            5,260,144      5,009,502     10,269,646       0.226464       0.226464   63.00
   64.00 06400 INTRAVENOUS THERAPY                          11,048,025      2,583,327     13,631,352       0.267357       0.267357   64.00
   65.00 06500 RESPIRATORY THERAPY                           1,201,740      1,136,784      2,338,524       0.605542       0.605542   65.00
   68.00 06800 SPEECH PATHOLOGY                                 53,670        430,157        483,827       0.495212       0.495212   68.00
   69.00 06900 ELECFROCARDIOLOGY                               554,623     15,617,792     16,172,415       0.148709       0.148709   69.00
   71.00 07100 MEDICAL SUPPLIES CHARGED TO PATIENTS          6.770,806     37,878:751     44,649,557       0.190976       0.190976   71.00
   72.00 07200 IMP. DEV CHARGED TO PATIENT                     680,400      9,873,138     10,553,538       0.092270       0.092270   72.00
   73.00 07300 DRUGS CHARGED TO PATIENTS                    36,102,223    412,234,664    448,336,887       0.186508       0.186508   73.00
   76.00 03020 CAT SCAN                                              0               0             0       0.000000       0.000000   76.00
           OUTPATIEVF SERVICE COST CENTERS
   88.00   08800 RURAL HEALTH CLINIC                                 0              0              0                                 88.00
   89.00   08900 FEDERALLY QUALIFIED HEALTH CENTER                   0              0              0                                 89.00
   90.00   09000 CLINIC                                        354,754      4,394,710     4,749,464        0.698233      0.698233    90.00
   90.01   09001 CARDIAC CLINIC                                    567      1,020,508     1,021.075        2.227016      2.227016    90.01
   90.02   09002 GENERAL MEDICINE                                  199      2,079,370     2,079,569        1.461208      1.461208    90.02
   90.03   09003OPD-I                                            5,573      4,952,301     4,957,874        0.955366      0.955366    90.03
   90.04   09004 MOHS                                            3,714      2,319,406     2,323,120        0.829504      0.829504    90.04
   90.05   09005 SURG ONCOLOGY                                   4,855      2,519,926     2,524,781        1.279772      1.279772    90.05
   90.06   09006 GYN ONCOLOGY                                    8,194      1,205,206     1,213,400        1.531942      1.531942    90.06
   90.07   09007 HEM ONCOLOGY                                   46,088      3,737,337     3,783,425        1.143212      1.143212    90.07
   90.08   09008 DEERFIELD BEACH CLINIC                            317      2,772,794     2, 773,111       2.745059      2.745059    90.08
   90.09   09009 MIRAMAR CLINIC                                      0      1,582,673     1,582,673        0.329031      0.329031    90.09
   90.11   09011 KENDALL CLINIC                                    406      3,998,288     3,998,694        0.708854      0.708854    90.11
   90.12   09012 ENT                                            18,609     15,088,467    15,107,076        0.220234      0.220234    90.12
   90.13   04950 PLANTATION                                          0        200,706        200,706       3.588537      3.588537    90. 13
   90.14   04951 CRB PAIN CENTER                                     0      4,193,425     4,193,425        0.251139      0.251139    90. 14
   90.15   04952 CENTER FOR LIVER DISEASE                            0              0              0       0.000000      0.000000    90.15
   90.16 04953 DRI MULTISPEC CLINIC                             1,142       1,920,589     1,921 ,731       0.306740      0.306740 90.16
   90.17 04954 PREMIUM CARE (EXEX. #ED.)                            0         124,381       124,381        0.919441      0.919441 90.17
   92.00 09200OBSERVATION BEDS (NON-DISTINCT PART)            194,853       2,530,650     2,725,503        0.146629      0.146629 92.00
         OTHER REIMBImKARLE COST CENTERS
   99.10 09910 CORF                                                   0             0             0                                  99.10
         SPECIAL PURPOSE CDST CENTERS
  109.00 10900 PANCREAS ACQUISITION                                   0             0             0                                 109.00
  110.00 11000 INTESTINAL ACQUISITION                                 0             0             0                                 110.00
  111.00 11100 ISLET ACQUISITION                                      0             0             0                                 111.00
  113.00 11300 INTEREST EXPENSE                                                                                                     113.00
  200.00        Subtotal (see instructions)               113,330,001 1,135,912,335 1,249,242,336                                   200.00
  201.00        Less.Observation Beds                                                                                               201.00
  202.00        Total (see instructions)                  113,330,001 1,135,912,335 1,249,242,336                                   202.00




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   Hea1th Financial S stems                          UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   COMPUTATION OF RATIO OF COSTS TO CHARGES                                 Provider CCN:100079 Period:        Worksheet C
                                                                                               From 06/01/2011 Part I
                                                                                               To 05/31/2012 Date/Time Prepared:
                                                                                                               10 29 2012 4:33 m
                                                                               Title XV111         HOS ital           Tefra
                Cost Center Description                  PP9 Inpatient
                                                             Ratio
                                                             11.00       .
           INPATIENT ROUTINE SERVICE COST CENTERS
   30.00   03000 ADULTS & PEDIATRICS                                                                                         30.00
   31.00   03100 INTENSIVE CARE UNIT                                                                                         31.00
   31.01   03101 STEM CELL TREATMENT                                                                                         31.01
   41.00   04100 SUBPROVIDER - IRF                                                                                           41.00
   42.00   04200 SUBPROVIDER                                                                                                 42.00
             CILLARY SERVICE COST CENTERS
   50.00   05000 OPERATING ROOM                               0.000000                                                       50.00
   53.00   05300 ANESTHESIOLOGY                               0.000000                                                       53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                         0.000000                                                       54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                        0.000000                                                       55.00
   55.01   05501 CTU                                          0.000000                                                       55.01
   56.00   05600 RADIOISOTOPE                                 0.000000                                                       56.00
   57.00   05700 CT SCAN                                      0.000000                                                       57.00
   58.00 05800 MAGNETIC RESONANCE IMAGING (MRI)               0.000000                                                       58.00
   59.00   05900 CARDIAC CATHETERIZATION                     0.000000                                                        59.00
   60.00   06000 LABORATORY                                  0.000000                                                        60.00
   60.01   03420 PATHOLOGY                                   0.000000                                                        60.01
   60.02   06001 STEM CELL LABORATORY                        0.000000                                                        60.02
   63.00   06300 BLOOD STORING, PROCESSING & TRANS.          0.000000                                                        63.00
   64.00   06400 INTRAVENOUS THERAPY                         0.000000                                                        64.00
   65.00   06500 RESPIRATORY THERAPY                         0.000000                                                        65.00
   68.00   06800 SPEECH PATHOLOGY                            0.000000                                                        68.00
   69.00   06900 ELECTROCARDIOLOGY                           0.000000                                                        69.00
   71.00   07100 MEDICAL SUPPLIES CHARGED TO PATIENTS        0.000000                                                        71.00
   72.00   07200 IMP. DEV CHARGED TO PATIENT                 0.000000                                                        72.00
   73.00   07300 DRUGS CHARGED TO PATIENTS                   0.000000                                                        73.00
   76.00   03020 CAT SCAN                                    0.000000                                                        76.00
           OUTPATIEMT SERVICE C05T CENTERS
   88.00   08800 RURAL HEALTH CLINIC                                                                                         88.00
   89.00   08900 FEDERALLY QUALIFIED HEALTH CENTER                                                                           89.00
   90.00   09000 CLINIC                                      0.000000                                                        90.00
   90.01   09001 CARDIAC CLINIC                              0.000000                                                        90.01
   90.02   09002 GENERAL MEDICINE                            0.000000                                                        90.02
   90.03   09003 OPD-I                                       0.000000                                                        90.03
   90.04   09004 MOHS                                        0.000000                                                        90.04
   90.05   09005 SURG ONCOLOGY                               0.000000                                                        90.05
   90.06   09006 GYN ONCOLOGY                                0.000000                                                        90.06
   90.07   09007 HEM ONCOLOGY                                0.000000                                                        90.07
   90.08   09008 DEERFIELD BEACH CLINIC                      0.000000                                                        90.08
   90.09   09009 MIRAMAR CLINIC                              û.0000û0                                                        90.09
   90.11   09011 KENDALL CLINIC                              0.000000                                                        90.11
   90.12   09012 ENT                                         0.000000                                                        90.12
   90.13   04950 PLANTATION                                  0.000000                                                        90.13
   90.14   04951 CRB PAIN CENTER                             0.000000                                                        90.14
   90.15   04952 CENTER FOR LIVER DISEASE                    0.000000                                                        90.15
   90.16   04953 DRI MULTISPEC CLINIC                        0.000000                                                        90.16
   90.17 04954 PREMIUM CARE (EXEX.MED.)                      0.000000                                                        90.17
   92.00 09200 OBSERVATION BEDS (NON-DISTINCT PART)          0.000000                                                        92.00
         O IER REIMBURSM LE M T CENTERS
   99.10 09910 CORF                                                                                                          99.10
         SBECIAL N RM E rM T CENTERS
   109.00 10900 PANCREAS ACQUISITION                                                                                        109.00
   110.00 11000 INTESTINAL ACQUISITION                                                                                      110.00
   111.00 11100 ISLET ACQUISITION                                                                                           111.00
   113.00 11300 INTEREST EXPENSE                                                                                            113.00
   200.00       Subtotal (see instructions)                                                                                 200.00
   201.00       Less observation Beds                                                                                       201.00
   202.00       Total (see instructions)                                                                                    202.00




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   Hea1th Financial S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   APPORTIONMENT OF INPATIENT ROUTINE SERVICE CAPITAL COSTS               Provider CCN:100079 Period:        Worksheet D
                                                                                             From 06/01/2011 Part I
                                                                                             To 05/31/2012 Date/Time Prepared:
                                                                                                                10 29 2012 4:33 m
                                                                              Title Xv111         Hos ital             Tefra
                Cost Center Descriptîon                 capital    Swing Bed    Reduced Total Patient Rer Diem (col.
                                                     Related Cost Adjustment    Capital     Days        3 / col. 4)
                                                    (from Wkst. B,            Related Cost
                                                     Part II, col.           (col. 1 - col.
                                                         26                            2
                                                         1.00          2.00           3.00          4.00           5.00
           INPATIENT ROUTINE SERVICE rntT CENTERS
   30.00   03000 ADULTS & PEDIATRICS                       522,430              0       522,430         6,237          83.76    30.00
   31.00   03100 INTENSIVE CARE UNIT                        97,996                       97,996           819         119 .65   31.00
   31.01   03101 STEM CELL TREATMENT                       230,191                      230,191         1,477         155.85    31.01
   41.00   04100 SUBPROVIDER - IRF                               0              0             0             0           0 .00   41.00
   42.00   04200 SUBPROVIDER                                     0              0             0             0           0 .00   42.00
   200.00       Total (lines 30-199)                       850,617                      850,617         8,533                   200.00




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   Health F1nancial S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                  In Lieu of Form CMS-2552-10
   APPORTIONMENT OF INPATIENT ROUTINE SERVICE G PITAL COSTS               Provider CCN :100079 Period:        Worksheet D
                                                                                             From 06/01/2011 Part I
                                                                                             To 05/31/2012 Date/' rime Prepared:
                                                                                                              10 29 2012 4:33 m
                                                                             Title > 111         HoS ita1            Tefra
                 Cost Center Description                Inpatient    Inpatient
                                                      Brogram days    Program
                                                                   Capital Cost
                                                                   (col. 5 x co1.
                                                                         6
                                                          6.00          7.00
           INPAH ENT RG ITINE SERVICE <;G   CENTERS
   30.00   03000 ADULTS & PEDIATRICS                          1,387      116,175                                            30.00
   31.00   03100 INTENSIVE CARE UNIT                            190       22,734                                            31.00
   31.01   03101 STEM CELL TREATMENT                            165       25,715                                            31.01
   41.00   04100 SUBPROVIDER - IRF                                0            0                                            41.00
   42.00   04200 SUBPROVIDER                                      0            0                                            42.00
   200.00        Total (1ines 30-199)                         1,742      164,624                                           200.00




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  Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
  APPORTIONMENT 0F INPATIENT ANCILLARY SERVICE CAPITAL COSTS            Provider CCN:100079 Period:        Worksheet D
                                                                                                 From 06/01/2011 Part 11
                                                                                                 To 05/31/2012 Date/Time Prepared:
                                                                                                                     10 29 2012 4:33 m
                                                                                  Title Xv111         Hos ital              Tefra
                Cost Center Description                    Capital      Total charges Ratio of Cost   Inpatient     Capital Costs
                                                         Related Cost (from Wkst. C, to charges       Program        (column 3 x
                                                        (from Wkst. B, Part 1, col. (col. 1 + col.    Charges         column 4)
                                                        Part II, col.       8)            2)
                                                            26
                                                            1.00            2.00          3.00          4.00            5.00
             CILLARY SERVICE COST CENTERS
   50.00   05000 OPERATING ROOM                             1,270,294      46,771,006      0.027160     1,630,501          44,284   50.00
   53.00   05300 ANESTHESIOLOGY                               168,892      14,900,347      0.011335       396,835           4,498   53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                       3,113,047      83,723,010      0.037183     1,432:178          53,253   54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                      2,581,216     113,477,719      0.022746       287,972           6,550   55.00
   55.01   05501 CTU                                          438,888      43,199,178      0.010160        60,210             612   55.01
   56.00   05600 RADIOISOTOPE                                 611,804      79,923,669      0.007655       381,068           2,917   56.00
   57.00   05700 CF SCAN                                      390,496      95,734,636      0.004079       670,225           2,734   57.00
   58.00 05800 MAGNETIC RESONANCE IMAGING (MRI)               340,547      71,898,306      0.004737        86,035              408 58.00
   59.00   05900 CARDIAC CATHETERIZATION                            0               0      0.000000             0               0   59.00
   60.00   06000 LABORATORY                                   282,501      75,705,327      0.003732     2,728,060          10,181   60.00
   60.01   03420 PATHOLOGY                                    128,156       9,517,945      0.013465       265,445           3,574   60.01
   60.02   06001 STEM CELL LABORATORY                           3,198         151,190      0.021152             0               0   60.02
   63.00   06300 BLOOD STORING, PROCESSING & TRANS.            25,074      10,269,646      0.002442     1,082,001           2,642   63.00
   64.00   06400 INTRAVENOUS THERAPY                           34,077      13,631,352      0.002500     2,721,711           6,804   64.00
   65.00   06500 RESPIRATORY THERAPY                           62,862       2,338,524      0.026881       279,915           7,524   65.00
   68.00   06800 SPEECH PATHOLOGY                               2,218         483,827      0.004584        19,337              89   68.00
   69.00   06900 ELECTROCARDIOLOGY                            299,290      16,172,415      0.018506       154,251           2,855   69.00
   71.00   07100 MEDICAL SUPPLIES CHARGED TO PATIENTS         382,788      44,649,557      0.008573     1,598,461          13,704   71.00
   72.00   07200 IMP. DEV CHARGED TO PATIENT                    8,982      10,553,538      0.000851       192,552             164   72.00
   73.00   07300 DRUGS CHARGED TO PATIENTS                  1,236,468     448,336,887      0.002758     6,485,578          17,887   73.00
   76.00   03020 CAT SCAN                                           0               0      0.000000             0               0   76.00
           OUTPATIENT SERVICE COST CENTERS
   88.00   08800 RURAL HEALTH CLINIC                                0               0     0.000000              0               0   88.00
   89.00   08900 FEDERALLY QUALIFIED HEALTH CENTER                  0               0     0.000000              0               0   89.00
   90.00   09000 CLINIC                                       287,403       4,749,464     0.060513        192,434          11,645   90.00
   90.01   09001 CARDIAC CLINIC                               117,465       1,021,075     0.115041              0               0   90.01
   90.02   09002 GENERAL MEDICINE                             271,762       2,079,569     0.130682            199              26   90.02
   90.03   09003 OPD-I                                        308,075       4,957,874     0.062139            763              47   90.03
   90.04   09004 MOHS                                         145,475       2,323,120     0.062621              0               0   90.04
   90.05   09005 SURG ONCOLOGY                                332,239       2,524,781     0.131591          1,471             194   90.05
   90.06   09006 GYN ONCOLOGY                                 189,675       1,213,400     0.156317          1,501             235   90.06
   90.07   09007 HEM ONCOLOGY                                 770.898       3.783,425     0.203757         17,420           3,549   90.07
   90.08   09008 DEERFIELD BEACH CLINIC                     1,971,530       2,773,111     0.710945            302             215   90.08
   90.09   09009 MIRAMAR CLINIC                               105,429       1,582,673     0.066615              0               0   90.09
   90.11   09011 KENDALL CLINIC                               614,233       3,998,694     0.153608            406              62   90.11
   90.12   09012 ENT                                          326,448      15,107,076     0.021609              0               0   90.12
   90.13   04950 PLANTATION                                     6,932         200,706     0.034538              0               0   90.13
   90.14   04951 CRB PAIN CENTER                               41,370       4,193,425     0.009865              0               0   90.14
   90.15   04952 CENTER FOR LIVER DISEASE                          22               0     0.000000              0               0   90.15
   90.16   04953 DRI MULTISPEC CLINIC                          20,449       1,921,731     0.010641              0               0   90.16
   90.17 04954 PREMIUM CARE (EXEX.MED.)                         1,098       124,381       0.008828              0               0 90.17
   92.00 09200 OBSERVATION BEDS (NON-DISTINCT PART)            30.992     2,725,503       0.011371        177,418           2,017 92.00
   200.00      Total (lines 50-199)                        16,922,293 1,236,718,087                    20,864,249         198,670200.00




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   Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
   APPORTIONMENT OF INPATIENT ROUTINE SERVICE OTHER PASS THROUGH COSTS   Provider CCN:100079 Period:        Worksheet D
                                                                                                From 06/G1/2û11 Part III
                                                                                                To 05/31/2012 Date/Time Prepared:
                                                                                                                    10 29 2012 4:33 m
                                                                             Title X7111            Hos ital               Tefra
                Cost Center Description              ursing SchoolAllied Hea1th     A11 Other       Swing-Bed       Total Costs
                                                                      Cost           Medical     Adjustment (sum of cols.
                                                                                  Education Cost Amount (see 1 through 3,
                                                                                                instructions) minus col. 4)
                                                         1.00         2.00            3.00            4.00             5.00
           INPATIENT ROUTINE SERVICE COST CENTERS
   30.00   03000 ADULTS & PEDIATRICS                            0              0                0               0             0   30.00
   31.00   03100 INTENSIVE CARE UNIT                            0              0                0                             0   31.00
   31.01   03101 STEM CELL TREATMENT                            0              0                0                             0   31.01
   41.00   04100 SUBPROVIDER - IRF                              0              0                0               0             0   41.00
   42.00   04200 SUBPROVIDER                                    0              0                0               0             0   42.00
   200.00       Total (lines 30-199)                            0              0                0                             0 200.00




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   Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CMS-2552-10
   APPORTIONMENT OF INPATIENT ROUTINE SERVICE OTHER PASS THROUGH COSTS   Provider CCN:100079 Perjod:        Worksheet D
                                                                                               From 06/01/2011 Part III
                                                                                               To 05/31/2012 Date/Time Prepared;
                                                                                                               10 29 2012 4:33 m
                                                                              Title XV111         Hos ital            Tefra
                Cost Center Descriptîon             Total Patient Per Diem (co1. Inpatient           Inpatient         PSA Adj.
                                                         Days        5 + col. 6) Program Days         Program        Nursing School
                                                                                                    Pass-Through
                                                                                                    ost (col. 7 x
                                                                                                      col. *
                                                         6.00          7.00           8.00             9-00              11.00
           INPATIENT ROUTINE SERVICE rnoT CENTERS
   30.00   03000 ADULTS & PEDIATRICS                         6,237            0.00          1#387                0                0   30.00
   31.00   03100 INTENSIVE CARE UNIT                           819            0.00            190                0                0   31.00
   31.01   03101 STEM CELL TREATMENT                         1,477            0.00            165                0                0   31.01
   41.00   04100 SUBPROVIDER - IRF                               0            0.00              0                0                0   41.00
   42.00   04200 SUBPROVIDER                                     0            0.00              0                0                0   42.00
   200.00       Total (lines 30-199)                         8,533                          1,742                0                0 200.00




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   Health Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                   In Lieu of Form CMS-2552-10
   APPORTIONMENT OF INPATIENT ROUTINE SERVICE OTHER PASS THROUGH COSTS   Provider CCN:100079 Period:          Worksheet D
                                                                                             From 06/01/2011 Part III
                                                                                             To 05/31/2012 Date/Time Prepared:
                                                                                                              10 29 2012 4:33 m
                                                                              Title X7111        Hos ital            Tefra
                Cost Center Description                 PSA Adj.       PSA Adj. A11
                                                     Allied Hea1th other Medical
                                                          Cost    Education Cost
                                                         12.00         13.00
           INPATIENT RDICVNE SERVICE rRQT CENTERS
   30.00   03000 ADULTS & PEDIATRICS                               0              0                                         30.00
   31.00   03100 INTENSIVE CARE UNIT                               0              0                                         31.00
   31.01   03101 STEM CELL TREATMENT                               0              0                                         31.01
   41.00   04100 SUBPROVIDER - IRF                                 0              0                                         41.00
   42.00   04200 SUBPROVIDER                                       0              0                                         42.00
   200.00       Total (lines 30-199)                               0              0                                        200.00




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   Hea1th Financial S stems                          UNIVERSITY OF MIAMI HOSP & CLINICS                       In Lieu Of Form CM5-2552-10
   APPORTIONMENT OF INPATIENT/OUTPATIENT ANCILLARY SERVICE OTHER PASS       Provider CCN:100079 Period:         Worksheet D
   THROUGH COSTS                                                                                From 06/01/2011 Part IY
                                                                                                To 05/31/2012 Date/Tnme Prepared:
                                                                                                                        10 29 2012 4:33 m
                                                                                 Title XV111            Hos ital               Tefra
                Cost Center Description                  Non Physicîan Nursing School Allied Hea1th     A11 other        Total Cost
                                                         Anesthetist                                     Medical     (sum of co1 1
                                                            Cost                                      Education Cost through col.
                                                                                                                           4)
                                                             1.00          2.00           3.00             4.00          5.00
             CILLARY SERVICE rnKT EENTERS
   50.00   05000 OPERATING ROOM                                      0             0              0                 0             0   50 .00
   53.00   05300 ANESTHESIOLOGY                                      0             0              0                 0             0   53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                                0             0              0                 0             0   54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                               0             0              0                 0             0   55.00
   55.01   05501 CTU                                                 0             0              0                 0             0   55.01
   56.00   05600 RADIOISOTOPE                                        0             0              0                 0             0   56.00
   57.00   05700 CT SCAN                                             0             0              0                 0             0   57.00
   58.00   05800 MAGNETIC RESONANCE IMAGING (MRI)                    0             0              0                 0             0 58.00
   59.00   05900 CARDIAC CATHETERIZATION                             0             0             0                  0             0   59.00
   60.00   06000 LABORATORY                                          0             0             0                  0             0   60.00
   60.01   03420 PATHOLOGY                                           0             0             0                  0             0   60.01
   60.02   06001 STEM CELL LABORATORY                                0             0             0                  0             0   60.02
   63.00   06300 Buoon STORING, PROCESSING & TRANS.                  0             0             0                  0             0   63.00
   64.00   06400 INTRAVENOUS THERAPY                                 0             0             0                  0             0   64.00
   65.00   06500 RESPIRATORY THERAPY                                 0             0             0                  0             0   65.00
   68.00   06800 SPEECH PATHOLOGY                                    0             0             0                  0             0   68.00
   69.00   06900 ELECTROCARDIOLOGY                                   0             0             0                  0             0   69.00
   71.00   07100 MEDICAL SUPPLIES CHAZGED TO PATIENTS                0             0             0                  0             0   71.00
   72.00   07200 IMP. DEV CHARGED TO PATIENT                         0             0             0                  0             0   72.00
   73.00   07300 DRUGS CHARGED TO PATIENTS                           0             0             0                  0             0   73.00
   76.00   03020 CAT SCAN                                            0             0             0                  0             0   76.00
           GRPAH ENT SERW CE COST CENTERS
   88.00   08800 RURAL HEALTH CLINIC                                 0             0             0                  0             0   88.00
   89.00   08900 FEDERALLY QUALIFIED HEALTH CENTER                   0             0             0                  0             0   89.00
   90.00   09000 CLINIC                                              0             0             0                  0             0   90.00
   90.01   09001 CARDIAC CLINIC                                      0             0             0                  0             0   90.01
   90.02   09002 GENERAL MEDICINE                                    0             0             0                  0             0   90.02
   9û.23   09003 OPD-I                                               0             û             0                  0             0   90.03
   90.04   09004 MOHS                                                0             0             0                  0             0   90.04
   90.05   09005 SURG ONCOLOGY                                       0             0             0                  0             0   90.05
   90.06   09006 GYN ONCOLOGY                                        0             0             0                  0             0   90.06
   90.07   09007 HEM ONCOLOGY                                        0             0             0                  0             0   90.07
   90.08   09008 DEERFIELD BEACH CLINIC                              0             0             0                  0             0   90.08
   90.09   09009 MIRAMAR CLINIC                                      0             0             0                  0             0   90.09
   90.11   09011 KENDALL CLINIC                                      0             0             0                  0             0   90. 11
   90.12   09012 ENT                                                 0             0             0                  0             0   90.12
   90.13   04950 PLANTATION                                          0             0             0                  0             0   90.13
   90.14   04951 CRB PAIN CENTER                                     0             0             0                  0             0   90 .14
   90.15   04952 CENTER FOR LIVER DISEASE                            0             0             0                  0             0   90.15
   90.16   04953 DRI MULTISPEC CLINIC                                0             0             0                  0             0   90. 16
   90.17 04954 PREMIUM CARE (EXEX. QED.)                             0             0             0                  0             0 90.17
   92.00 09200 OBSERVATION BEDS (NON-DISTINCT PART)                  0             0             0                  0             0 92.00
   200.00     Total (lines 50-199)                                   0             0             0                  0             0200.00




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   Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                       In Lieu Of Form CM5-2552-10
   APPORTIONMENT OF INPATIENT/OUTPATIENT ANCILLARY SERVICE OTHER PASS      Provider CCN:100079 Period:         Worksheet D
   THROUGH COSTS                                                                               From 06/01/2011 Part IY
                                                                                               To 05/31/2012 Date/' rnme Prepared:
                                                                                                                    10 29 2012 4:33 m
                                                                               Tit1e > 111           Hos ita1              Tefra
                 Cost fenter Description                  Total       Total Charges Ratio of Cost    Outpatient      Inpatient
                                                        Outpatient (from Wkst. C: to Charges Ratio of Cost            Program
                                                       Cost (sum of Part 1. co1. (col. 5 + co1. to Charges            Charges
                                                      co1- 2v 3 and      8)            7)      (col. 6 + col.
                                                           4                                            7
                                                          6.00            7.00          8.00           9.00            10.00
              CILLARY SERVICE CG CENTERS
   50.00    05000 OPERATING ROOM                                  0      46,771,006      0 .000000      0.000000       1,630 ,501   50.00
   53.00    05300 ANESTHESIOLOGY                                  0      14,900,347      0.000000       0.000000         396,835    53.00
   54.00    05400 RADIOLOGY-DIAGNOSTIC                            0      83,723,010      0.000000       0.000000       1,432,178    54.00
   55.00    05500 RADIOLOGY-THERAPEUTIC                           0     113,477,719      0.000000       0.000000         287,972    55.00
   55.01    05501 CTU                                             0      43,199,178      0.000000       0.000000          60,210    55.01
   56.00 05600 RADIOISOTOPE                                       0      79,923,669      0.000000       0.000000         381,066    :6.00
   57.00 05700 CT SCAN                                            0      95.734,636      0 .000000      0.000000         670 ,225   57.00
   58.00 05800 MAGNETIC RESONANCE IMAGING (MRI)                   0      71,898,306      0.000000       0.000000          86,035 58.00
   59.00 05900 CARDIAC CATHETERIZATION                            0               0      0.000000        0.000000               0   59.00
   60.00 06000 LABORATORY                                         0      75,705,327      0.000000       0.000000       2,728,060    60.00
   60 .0103420 PATHOLOGY                                          0       9,517,945      0.000000        0.000000        265,445    60.01
   60 .0206001 STEM CELL LABORATORY                               0         151,190      0.000000        0.000000               0   60.02
   63.00 06300 BLOOD STORING, PROCESSING & TRANS.                 0      10,269,646      0.000000       0 .000000      1,082,001    63.00
   64 .0006400 INTRAVENOUS THERAPY                                0      13,631,352      0.000000       0 .000000      2,721,711    64.00
   65.00 06500 RESPIRATORY THERAPY                                0       2,338,524      0.000000       0 .000000        279,915    65.00
   68.0Q 068(% SPEECH PATHOLOGY                                   0         483,827      ().Q00(O0      ().00û000         19, 337   68.0û
   69.00 06900 ELECTROCARDIOLOGY                                  0      16,172,415      0.000000        0.000000        154,251    69.00
   71.00 07100 MEDICAL SUPPLIES CHARGED TO PATIENTS               0      44,649,557      0.000000       0.000000       1,598,461    71.00
   72.00 07200 IMP. DEV CHARGED TO PATIENT                        0      10,553,538      0.000000        0.000000        192, 552   72.00
   73.00 07300 DRUGS CHARGED TO PATIENTS                          0     448,336,887      0.000000        0.000000      6,485, 578   73.00
   76.00 03020 CAT SCAN                                           0               0      0.000000       0.000000                0   76.00
         OUFPATIENT SERVICE COST CENTERS
   88.00 08800 RURAL HEALTH CLINIC                                0             0       0.000000        0.000000               0    88.00
   89.00 08900 FEDERALLY QUALIFIED HEALTH CENTER                  0             0       0.000000        0.000000               0    89.00
   90.00 09000 CLINIC                                             0     4,749,464       0.000000        0.000000         192,434    90.00
   90.01 09001 CARDIAC CLINIC                                     0     1,021,075       0.000000        0.000000               0    90.01
   90.02 09002 GENERAL MEDICINE                                   0     2,079,569       0.000000        0.000000             199    90.02
   90.03 09003 OPD-I                                              0     4,957,874       0.000000        0.000000             763    90.03
   90.04 09004 MOHS                                               0     2,323,120       0.000000        0.000000               0    90.04
   90.05 09005 SURG ONCOLOGY                                      0     2,524,781       0.000000        0.000000           1,471    90.05
   90.06 09006 GYN ONCOLOGY                                       0     1,213,400       0.000000        0.000000           1,501    90.06
   90.07 09007 HEM ONCOLOGY                                       0     3,783,425       0.000000        0.000000          17,420    90.07
   90.08 09008 DEERFIELD BEACH CLINIC                             0     2,773,111       0.000000        0.000000             302    90.08
   90.09 09009 MIRAMAR CLINIC                                     0     1,582,673       0.000000        0.000000               0    90.09
   90.11 09011 KENDALL CLINIC                                     0     3,998,694       0.000000        0.000000             406    90.11
   90.12 09012 ENT                                                0    15,107,076       0.000000        0.000000               0    90.12
   90.13 04950 PLANTATION                                         0       200,706       0.000000        0.000000               0    90.13
   90.14 04951 CRB PAIN CENTER                                    0     44193,425       0.000000        0.000000               0    90.14
   90.15 04952 CENTER FOR LIVER DISEASE                           0             0       0.000000        0.000000               0    90.15
   90.16 04953 DRI MULTISPEC CLINIC                               0     1,921,731       0.000000        0.000000               0    90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                          0       124,381       0.000000        0.000000               0 90.17
   92.00 09200OBSERVATION BEDS (NON-DISTINCT PART)                0     2,725,503       0.000000        0.000000         177,418 92.00
   200.00     Total (lines 50-199)                                0 1,236,718,087                                     20,864,249200.00




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   Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                        In Lieu Of Form CMS-2552-10
   APPORTIONMENT OF INPATIENT/OUTPATIENT ANCILLARY SERVICE OTHER PASS     Provider CCN:100079 Period:                  Worksheet D
   THROUGH COSTS                                                                                 From 06/01/2011 Part IY
                                                                                                 To 05/31/2012 Date/Tnme Prepared:
                                                                                                                       10 29 2012 4:33 m
                                                                                 Title xvlll           Hos ital               Tefra
               Cost center Description                  Inpatient    outpatient   outpatient           Outpatient   Outpatient
                                                         program      program       Rrogram              Program      program
                                                      Pass-Through Charges before Charges             Pass-Through pass-Through
                                                      costs (col. 8       1/1         on/after 1/1 Costs (col. 9 costs (col. 9
                                                       x col. 10)                                   x col. 12) x col. 12)
                                                                                                      before l 1       on after l 1
                                                          11.00          12.00           12.01           13.00             13.01
            G LLARY SEM CE M QT CENTERS
    50.00 05000 OPERATING ROOM                                    0       6,976,992      5,675,184                 0              0 50.00
   53.00 05300 ANESTHESIOLOGY                                     0       1,775,696      1,329,943                 0              0 53.00
   54.00 05400 RADIOLOGY-DIAGNOSTIC                               0      13,476,035     10, 182,690                0              0 54.00
   55.00 05500 RADIOLOGY-THERAPEUTIC                              0      16,849,722     12,789,021                 0              0 55.00
   55.01 05501 CTU                                                0       6,528,059      5, 353,419                0              0 55.01
   56.00 05600 RADIOISOTOPE                                       0      17,049.337     14, 276,499                0              0 56.00
   57.00 05700 CT SCAN                                            0      16,697,739     14,184,266                 0              0 57.00
   58.00 05800 MAGNETIC RESONANCE IMAGING (MRI)                   0       9,551,599      8,065,463                 0              0 58.00
   59.00 05900 CARDIAC CATHETERIZATION                            0               0               0                0              0 59.00
   60.00 06000 LABORATORY                                         0       1,788,769      1,614,426                 0              0 60.00
   60.01 03420 PATHOLOGY                                          0       1,140,887        967, 591                0              0 60.01
   60.02 06001 STEM CELL LABORATORY                               0               0               0                0              0 60.02
   63.00 06300 BLOOD STORING, PROCESSING & TRANS.                 0         578,478        628,885                 0              0 63.00
   64.00 06400 INTRAVENOUS THERAPY                                0         283,563        226,335                 0              0 64.00
   65.00 06500 RESPIRATORY THERAPY                                0         158:290        136,049                 0              0 65.00
   68.00 06800 SPEECH PATHOLOGY                                   0           5,795           5,473                0              0 68.00
   69.00 06900 ELECFROCARDIOLOGY                                  0       1,689,103      1,285,376                 0              0 69.00
   71.00 07100 MEDICAL SUPPLIES CHARGED TO PATIENTS               0       5,996,009      4,721,508                 0              0 71.00
   72.00 07200 IMP. DEV CHARGED TO PATIENT                        0       1,598,185      1,007,346                 0              0 72.00
   73.00 07300 DRUGS CHARGED TO PATIENTS                          0      73,835,812     63,751,885                 0              0 73.00
   76.00 03020 CAT SCAN                                           0               0               0                0              0 76.00
          GITPATIENT SERW CE COST CENTERS
   88.00 08800 RURAL HEALTH CLINIC                                0               0               0                0              0   88.00
   89.00 08900 FEDERALLY QUALIFIED HEALTH CENTER                  0               0               0                0              0   89.00
   90.00 09000 CLINIC                                             0       1,324,144      1,036,956                 0              0   90.00
   90.01 09001 CARDIAC CLINIC                                     0         190,190        155,137                 0              0   90.01
   90.02 09002 GENERAL MEDICINE                                   0         277,346        226.111                 0              0   90.02
   90.03 09003 OPD-I                                              0         713,908        590,074                 0              0   90 .03
   90.04 09004 MOHS                                               0         437,206        324 ,733                0              0   90.04
   90.05 09005 SURG ONCOLOGY                                      0         333,199        277,955                 0              0   90.05
   90.06 09006 GYN ONCOLOGY                                       0         109,672         88,474                 0              0   90.06
   90.07 09007 HEM ONCOLOGY                                       0         658,259        548,875                 0              0   90.07
   90.08 09008 DEERFIELD BEACH CLINIC                             0         613,797        470,542                 0              0   90.08
   90.09 09009 MIRAMAR CLINIC                                     0         185,002        139,207                 0              0   90.09
   90.11 09011 KENDALL CLINIC                                     0         482,949        381,371                 0              0   90.11
   90.12 09012 ENT                                                0       1,493,581      1,143,987                 0              0   90. 12
   90.13 04950 PLANTATION                                         0          22,310         17,073                 0              0   90.13
   90.14 04951 CRB PAIN CENTER                                    0         882,602        700 ,139                0              0   90.14
   90.15 04952 CENTER FOR LIVER DISEASE                           0               0               0                0              0   90.15
   90.16 04953 DRI MULTISPEC CLINIC                               0          92,857         77,363                 0              0   90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                          0          12,755          9,890                 0              0 90.17
   92.00 09200OBSERVATION BEDS (NON-DISTINCT PART)                0         806,613        626,722                 0              0 92.00
   200.00       Total (lines 50-199)                              0     184,616,460    153,015,968                 0              0200.00




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   Hea1th Financial S stems                         UNIVERSITY OF MIAMI HOSP & CLINICS                        In Lieu of Form CM5-2552-10
   APPORTIONMENT OF INPATIENT/OUTPATIENT ANCILLARY SERVICE OTHER PASS      Provider CCN:100079 Period:         Worksheet D
   THROUGH COSTS                                                                               From 06/01/2011 Part IY
                                                                                               To 05/31/2012 Date/Tlme Prepared:
                                                                                                                        10 29 2012 4:33 m
                                                                                  Title XV111            Hos ital              Tefra
                Cost Center Description                 PSA Adj. Non    PSA Adj.         PSA Adj.       PSA Adj. A11
                                                          physician Nursing School Allied Hea1th other Medical
                                                         Anesthetist                             Education Cost
                                                            Cost
                                                            21.00         22.00           23.00            24.00
             CILIA*Y SERVICE fssr CENTERS
   50.00   05000 OPERATING ROOM                                     0               0               0               0                50.00
   53.00   05300 ANESTHESIOLOGY                                     0               0               0               0                53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                               0               0               0               0                54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                              0               0               0               0                55.00
   55.01   05501 CTU                                                0               0               0               0                55.01
   56.00   05600 RADIOISOTOPE                                       0               0               0               0                56.00
   57.00 05700 CT SCAN                                              0               0               0               0                57.00
   58.00 05800 MAGNETIC RESONANCE IMAGING (MRI)                     0               0               0               0                58.00
   59.00   05900 CARDIAC CATHETERIZATION                            0               0               0               0                59.00
   60.00   06000 LABORATORY                                         0               0               0               0                60.00
   60.01   03420 PATHOLOGY                                          0               0               0               0                60.01
   60.02   06001 STEM CELL LABORATORY                               0               0               0               0                60.02
   63.00   06300 BLOOD STORING, PROCESSING & TRANS.                 0               0               0               0                63.00
   64.00   06400 INTRAVENOUS THERAPY                                0               0               0               0                64 .00
   65.00   06500 RESPIRATORY THERAPY                                0               0               0               0                65.00
   68.00   06800 SPEECH PATHOLOGY                                   0               0               0               0                68.00
   69.00   06900 ELECTROCARDIOLOGY                                  0               0               0               0                69.00
   71.00   07100 MEDICAL SUPPLIES CHARGED TO PATIENTS               0               0               0               0                71.00
   72.00   07200 IMP. DEV CHARGED TO PATIENT                        0               0               0               0                72.00
   73.00   07300 DRUGS CHARGED TO PATIENTS                          0               0               0               0                73.00
   76.00   03020 CAT SCAN                                           0               0               0               0                76.00
           SeTPATIENT SERVICE COST CENTERS
   88.00   08800 RURAL HEALTH CLINIC                                0               0               0               0               88.00
   89.00   08900 FEDERALLY QUALIFIED HEALTH CENTER                  0               0               0               0               89.00
   90.00   09000 CLINIC                                             0               0               0               0               90.00
   90.01   09001 CARDIAC CLINIC                                     0               0               0               0               90.01
   90.02   09002 GENERAL MEDICINE                                   0               0               0               0               90.02
   90.03   09003 OPD-I                                              0               0               0               0               90.03
   90.04   09004 MOHS                                               0               0               0               0               90.04
   90.05   09005 SURG ONCOLOGY                                      0               0               0               0               90.05
   90.06   09006 GYN ONCOLOGY                                       0               0               0               0               90.06
   90.07   09007 HEM ONCOLOGY                                       0               0               0               0               90.07
   90.08   09008 DEERFIELD BEACH CLINIC                             0               0               0               0               90.08
   90.09   09009 MIRAMAR CLINIC                                     0               0               0               0               90.09
   90.11   09011 KENDALL CLINIC                                     0               0               0               0               90.11
   90.12   09012 ENT                                                0               0               0               0               90.12
   90.13   04950 PLANTATION                                         0               0               0               0               90.13
   90.14   04951 CRB PAIN CENTER                                    0               0               0               0               90.14
   90.15   04952 CENTER FOR LIVER DISEASE                           0               0               0               0               90.15
   90.16   04953 DRI MULTISPEC CLINIC                               0               0               0               0               90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                            0               0               0               0                90.17
   92.00 09200 OBSERVATION BEDS (NON-DISTINCT PART)                 Q               û               0               Q                92.00
   200.00      Total (lines 50-199)                                 0               0               0               0               200.00




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   eealth Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CMS-2552-1Q
   APPORTIONMENT OF MEDICAL, OTHER HEALTH SERVICES AND VACCINE COST      Provider CCN:1000Z9 Period:        Worksheet D
                                                                                                  From 06/01/2011     Part V
                                                                                                  To 05/31/2012       Date/Time Prepared:
                                                                                                                      10 29 2012 4:33 m
                                                                                 Title X1111          Hos ital               Tefra
                                                                                                char es
                 Cost Center Description                 ost to Charge PPS ReîmbursedPP5 Reimbursed     Cost              Cost
                                                          Ratio From Services (see Services (see Reimbursed            Reimbursed
                                                         Worksheet C, instructions) instructions) Services            Services Not
                                                         Part 1, col. 9 before 1/1 on/after 1/1 Subject To Subject To
                                                                                               Ded. & Coins. Ded.& Coins.
                                                                                                   (see          (see
                                                                                                       lnstructions instructlons
                                                             1.00          2.00           2.01             3.00          4.00
              U LLARY SERW CE M T CENTERS
   50.00    05000 OPERATING ROOM                              0.210241     6,976 ,992     5,675,184               0              0   50.00
   53.00    05300 ANESTHESIOLOGY                              0.188505     1,775,696      1,329,943               0              0   53.00
   54.00    05400 RADIOLOGY-DIAGNOSTIC                        0.168379    13,476,035     10,182,690               0              0   54.00
   55.00    05500 RADIOLOGY-THERAPEUTIC                       0.143772    16,849,722     12,789,021             191              0   55.00
   55.01    05501 CTU                                         0.237034     6,528,059      5,353,419           1,078              0   55.01
   56.00    05600 RADIOISOTOPE                                0.063079    17,049,337     14,276,499              34              0   56.00
   57.00    05700 CT SCAN                                     0.033524    16,697,739     14,184,266               0              0   57.00
   58.00 05800 MAGNETIC RESONANCE IMAGING (MRI)               0.059069     9,551,599      8,065,463               0              0 58.00
   59.00    05900 CARDIAC CATHETERIZATION                     0.000000             0               0              0              0   59.00
   6û.0û    û6000 LABORATORY                                  0.121125     1,788,769      1,614,426               5              0   60.00
   60.01    03420 PATHOLOGY                                   0.423960     1,140,887        967,591               0              0   60.01
   60.02    06001 STEM CELL LABORATORY                        2.282578             0               0              0              0   60.02
   63.00    06300 BLOOD STORING, PROCESSING & TRANS.          0.226464       578,478        628.885               0              0   63.00
   64.00    06400 INTRAVENOUS THERAPY                         0.267357       283,563        226, 335              0              0   64.00
   65.00    06500 RESPIRATORY THERAPY                         0.605542       158,290        136,049               0              0   65.00
   68.00    06800 SPEECH PATHOLOGY                            0.495212         5,795          5,473               0              0   68.00
   69.00    06900 ELECTROCARDIOLOGY                           0.148709     1,689,103      1,285,376               0              0   69.00
   71.00    07100 MEDICAL SUPPLIES CHARGED TO PATIENTS        0.190976     5,996,009      4,721,508          25,924              0   71.00
   72.00    07200 IMP. DEV CHARGED TO PATIENT                 0.092270     1,598,185      1,007,346          11,928              0   72.00
   73.00    07300 DRUGS CHARGED TO PATIENTS                   0.186508    73,835,812     63,751,885               0        142,574   73.00
   76.00    03020 CAT SCAN                                    0.000000             0               0              0              0   76.00
               PATIENT SERVICE CD9T CENTERS
   88.00    08800 RURAL HEALTH CLINIC                         0.000000                                                               88.00
   89.00    08900 FEDERALLY QUALIFIED HEALTH CENTER           0.000000                                                               89.00
   90.00    09000 CLINIC                                      0.698233     1,324,144      1,036,956               0             0    90.00
   90.01    09001 CARDIAC CLINIC                              2.227016       190,190        155,137               0             0    90.01
   90.02    09002 GENERAL MEDICINE                            1.461208       277,346        226,111               0             0    90 .02
   90.03    09003 OPD-I                                       0.955366       713,908        590,074               0             0    90.03
   90.04    09004 MOHS                                        0.829504       437,206        324,733               0             0    90.04
   90.05    09005 SURG ONCOLOGY                               1.279772       333,199        277,955               0             0    90.05
   90.06    09006 GYN ONCOLOGY                                1.531942       109,672         88,474               0             0    90.06
   90.07    09007 HEM ONCOLOGY                                1.143212       658,259        548,875               0             0    90.07
   90.08    09008 DEERFIELD BEACH CLINIC                      2.745059       613,797        470,542               9             0    90.08
   90.09    09009 MIRAMAR CLINIC                              0.329031       185,002        139,207              48             0    90.09
   90.11    09011 KENDALL CLINIC                              0.708854       482,949        381,371              12             0    90.11
   90.12    09012 ENT                                         0.220234     1,493,581      1,143,987              80             0    90.12
   90.13    04950 PLANTATION                                  3.588537        22,310         17,073               1             0    90.13
   90.14    04951 CRB PAIN CENTER                             0.251139       882,602        700,139             304             0    90.14
   90.15    04952 CENTER FOR LIVER DISEASE                    0.000000             0              0               0             0    90.15
   90.16    04953 DRI MULTISPEC CLINIC                        0.306740        92,857         77,363               3             0    90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                      0.919441        12,755          9,890               1              0 90.17
   92.00 09200 OBSERVATION BEDS (NON-DISTINCT PART)           0.146629       806,613        626,722               0              0 92.00
   200.00      Subtotal (see instructions)                               184,616,460    153,015,968          39,618        142,574200.00
   201.00        Less PBP Clinic Lab. Servïces-program                                                            0              0 201.00
                 only charges
   202.00        Net Charges (line 200 +/- lqne 201)                     184,616,460    153,015,968          39,618        142,574202.00




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   Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   APPORTIONMENT OF MEDICAL, OTHER HEALTH SERVICES AND VACCINE COST      Provider CCN:100079 Peciod;        Worksheet D
                                                                                                  From 06/01/2011 Part V
                                                                                                  To 05/31/2012 Date/Time Prepared;
                                                                                                                     10 29 2012 4:33 m
                                                                                Title XV111           Hos ital              Tefra
                                                                                 Costs
                Cost Center Description                PPS Services PPç Services Cost Services Cost Services
                                                            (see          (see       Subject To Not Subject To
                                                       instructions) instructions) Ded.& Coins. Ded. & Coins.
                                                        before 1/1 on/after 1/l         (see         (see
                                                                                   instructions instructions)
                                                           5.00          :.01            6.00           7.00
             U LLARY SERW CE COST CEG RS
   50.00   05000 OPERATING ROOM                            1.466,850    '1,193,156                0              0                50.00
   53.00   05300 ANESTHESIOLOGY                              334,728       250,701                0              0                53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                      2,269,081     1,714,551                0              0                54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                     2,422,518     1,838,703               27              0                55.00
   55.01   05501 CTU                                       1,547,372     1,268,942              256              0                55.01
   56.00   05600 RADIOISOTOPE                              1,075,455       900,547                2              0                56.00
   57.00   05700 CT SCAN                                     559,775       475,513                0              0                57,00
   58.00 05800 MAGNETIC RESONANCE IMAGING (MRI)              564,203      476,419                0               0                58.00
   59.00 05900 CARDIAC CATHETERIZATION                             0             0                0            0                  59.00
   60.00 06000 LABORATORY                                    216,665       195,547                1            0                  60.00
   60.01 03420 PATHOLOGY                                     483,690       410,220                0            0                  60,01
   60.02 06001 STEM CELL LABORATORY                                0             0                0            0                  60,02
   63.00 06300 BLOOD STORING, PROCESSING & TRANS.            131,004       142,420                0            0                  63.00
   64.00 06400 INTRAVENOUS THERAPY                            75,813        60,512                0            0                  64.00
   65.00 06500 RESPIRATORY THERAPY                            95,851        82,383                0            0                  65.00
   68.00 06800 SPEECH PATHOLOGY                                2,870         2,710                0            0                  68,00
   69.00 06900 ELECTROCARDIOLOGY                             251,185       191,147                0            0                  69,00
   71.00 07100 MEDICAL SUPPLIES CHARGED TO PATIENTS        1,145,094       901,695            4,951            0                  71,00
   72.00 07200 IMP. DEV CHARGED TO PATIENT                   147,465        92,948            1,101            0                  72,00
   73.00 07300 DRUGS CHARGED TO PATIENTS                  13,770,970    11,890,237                0       26,591                  73,00
   76.00 03020 CAT SCAN                                            0             0                0            0                  76.00
         OUFPATIENT SERVICE CSST CENTERS
   88.00 08800 RURAL HEALTH CLINIC                                 0            0                0               0               88.00
   89.00 08900 FEDERALLY QUALIFIED HEALTH CENTER                   0            0                0               0               89,00
   90.00 09000 CLINIC                                        924,561      724,037                0               0               90,00
   90.01 09001 CARDIAC CLINIC                                423,556      345,493                0               0               90.01
   90.02 09002 GENERAL MEDICINE                              405,260      330,395                0               0               90.02
   90.03 09003 OPD-I                                         682,043      563,737                0               0               90,03
   90.04 09004 MOHS                                          362,664      269,367                0               0               90.04
   90.05 09005 SURG ONCOLOGY                                 426,419      355,719                0               0               90.05
   90.06 09006 GYN ONCOLOGY                                  168,011      135,537                0               0               90.06
   90.07 09007 HEM ONCOLOGY                                  752,530      627,480                0               0               90.07
   90.08 09008 DEERFIELD BEACH CLINIC                      1,684,909    1,291,666               25               0               90.08
   90.09 09009 MIRAMAR CLINIC                                 60,871       45,803               16               0               90.09
   90.11 09011 KENDALL CLINIC                                342,340      270,336                9               0               90.11
   90.12 09012 ENT                                           328,937      251:945               18               0               90.12
   90.13 04950 PLANTATION                                     80,060       61,267                4               0               90.13
   90.14 04951 CRB PAIN CENTER                               221,656      175,832               76               0               90.14
   90.15 04952 CENTER FOR LIVER DISEASE                            0            0                0               0               90.15
   90.16 04953 DRI MULTISPEC CLINIC                           28,483       23,730                1               0               90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                      11,727        9,093                 1            0                  90.17
   92.00 09200OBSERVATION BEDS (NON-DISTINCF PART)           118,273       91,896                 0            0                  92.00
   200.00      Subtotal (see instructions)                33,582,889   27,661,684             6,488       26,591                 200.00
   201.00      Less PBP clinic Lab. Services-erogram                                             0                               201.00
              Only Charges
   202.00      Net Charges (line 200 +/- line 201)        33,582,889   27,661,684             6,488       26,591                 202.00




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   Hea1th Financial S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CMS-2552- 10
   COMPUTATION OF INPATIENT OPERATING COST                                Provider CCN:1000Z9 Period:        Worksheet D-1
                                                                                                From 06/01/2011
                                                                                                To 05/31/2012 Date/Time Prepared:
                                                                                                                 10 29 2012 4:33 m
                                                                               Title xv111         Hos ital             Tefra
                Cost Center Description
                                                                                                                    1.0Q
          PART I v ALL PRW D ER CI-M ENTS
          INPAH ENT DAYS
   1.00 Inpatient days (including private room days and swlng-bed days, excluding newborn)                              6,237 1.00
   2.00 Inpatient days (including private room days, excluding swing-bed and newborn days)                              6,237 2.00
   3.00 Private room days (exclpding swing-bed and observation bed days). If you have only private room days,               0 3.00
          do not complete this line.
   4.00 semi-private room days (excluding swing-bed and observation bed days)                                           5,867 4.00
   5.00 Total swing-bed SNF type inpatient days (including private room days) through December 31 of the cost               0 5.00
          reporting period
   6.00 Total swing-bed SNF type inpatient days (including private room days) after December 31 of the cost                  0 6.00
        reporting period (if calendar year, enter 0 on thls line)
   7.00 Total swing-bed NF type inpatient days (including private room days) through December 31 of the cost                 0
          reportinj period
   8.00 Total swnng-bed NF type inpatient days (including private room days) after December 31 of the cost                   0
         reporting period (if calendar year, enter 0 on this line)
   9.00 Total inpatient days including private room days applicable to the Program (excluding swing-bed and             1,387
         newborn days)
   10.00 Swing-bed SNF type inpatient days applicable to title X7111 Only (including private room days)                      0 10.00
         through December 31 of the cost repocting period (see instructions)
   11.00 Swing-bed SNF type inpatient days applicable to title XV111 only (including private room days) after                0 11.00
         December 31 of the cost reporting period (if calendar year, enter 0 on this line)
   12.00 Swing-bed NF type inpatient days applicable to titles V or XIX only (including private room days)                   0 12.00
          through December 31 of the cost reporting period
   13.00 Swing-bed NF type inpatient days applicable to titles V or XIX only (including private room days)                   0 13.00
         after necember 31 of the cost reporting period (if calendar year, enter 0 on this line)
   14.00 Medically necessary private room days applicable to the Program (excluding swing-bed days)                          0 14.00
   15.00 Total nursery days (title V or XIX only)                                                                            0 15.00
   16.00 Nurser da s (title V or XIX on1 )                                                                                   0 16.00
          SWING FED ADJUSTMENT
   17.00 Medicare rate for swing-bed SNF services applicable to services through December 31 of the cost                   0.00 17.00
         reporting period
   18.00 Medicare rate for swing-bed SNF services applicable to services after December 31 of the cost                     0.00 18.00
         reporting period
   19.00 Medicaid rate for swing-bed NF services applitable to services through December 31 of the cost                    0.00 19.00
         reporting period
   20.00 Medicaid rate for swing-bed NF services applicable to services after December 31 of the cost                      0.00 20.00
         reporting period
   21.00 Total general inpatient routine service cost (see instructions)                                            6,736,599 21.00
   22.00 swing-bed cost applicable to SNF type services through December 31 of the cost reporting period (line              0 22.00
         5 x line 17)
   23.00 Swing-bed cost applicable to SNF type services after December 31 of the cost reporting period (line 6               0 23.00
         x line 18)
   24.00 Swing-bed cost applicable to NF type services through December 31 of the cost reporting period (line                0 24.00
         7 x line 19)
   25.00 Swing-bed cost applicable to NF type services after December 31 of the cost reporting period (line 8                0 25.00
         x line 20)
   26.00 Total swing-bed cost (see instructions)                                                                            0 26.00
   27.00 General in atient routine service cost net of swin -bed cost (line 21 minus line 26)                       6,736,599 27.00
          PRIVATE ROQM DIFFE       ADJUSTMENT
  28.00   General inpatient routine service charges (excluding swing-bed charges)                                   4,990,457    28.00
  29.00   erivate room charges (excluding swing-bed charges)                                                          661,857    29.00
  30.00   Semi-private room charges (excluding swing-bed charges)                                                   4,328,600    30.00
  31.00   General qnpatient routqne service cost/charge ratio (line 27 + line 28)                                    1.349896    31.00
  32.00   Average prlvate room per dlem charge (ljne 29 + line 3)                                                        0.00    32.00
  33.00   Average semi-private room per diem charge (line 30 + line 4)                                                 737.79    33.00
  34.00   Average per diem private room charge differential (ljne 32 minus line 33)(see instructions)                    0.00    34.00
  35.00   Average per diem private room cost differential (line 34 x line 31)                                            0.00    35.00
  36.00   Private room cost differential adjustment (line 3 x line 35)                                                      0    36.00
  37.00 General dnjatient routine service cost net of swing-bed cost and private room cost differential (line       6,736,599 37.00
          27 minus llne 36)
          Pm 11 - BX PITAL AND SUBPRM DERS œ LY
          PRX - INPATIENT OPERAH NG CDST BEFORE PM S THRM H COST ADJUSTMENTS
  38.00 Adjusted general inpatient routine service cost per diem (see instructions)                                 1,080.10 38.00
  39.00 Program general inpatient routine service cost (line 9 x line 38)                                           1,498,099 39.00
  40.00 Medically necessary private room cost applicable to the Program (line 14 x line 35)                                 0 40.00
  41.00 Total Program general inpatient routine service cost (line 39 + line 40)                                    1,498,099 41.00




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     Hea1th Financial S stems                           UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CMS-2552-10
     COMPUTATION OF INPATIENT OPERATING COST                                   Provider CCN:10Q079 Period:        Worksheet D-1
                                                                                                   From 06/01/2011
                                                                                                   To 05/31/2012 Date/Time Prepared:
                                                                                                                 10 29 2012 4:33 m
                                                                                   Title X7111       Hos ital           Tefra
                   Cost Center Description                     Total         Total      Average Per Program Days Program Cost
                                                           Inpatient CostInpatient Days îem (col. 1 +                (col. 3 x col.
                                                                                          col. 2)                          4
                                                                1.00         2.00          3.00          4.00            5.00
     42.00 NURSERY (title V & XIX on1 )                                                                                               42.00
           Intensive Clre    e In ltîent Hos ftR1 Units
     43.00 INTENSIVE CARE UNIT                                  3,540,142          819      4 ,322.52            190       821,279 43.00
     43.01 STEM CELL TREATMENT                                  3,403,612        1,477      2,304.41             165       380,228 43.01
     44.00 CORONARY CARE UNIT                                                                                                      44.00
     45.00 BURN INTENSIVE CARE UNIT                                                                                                45.00
     46.00 SURGICAL INTENSIVE CARE UNIT                                                                                            46.00
     47.00 OTHER SPECIAL CARE (SPECIFY)                                                                                               47.00
                Cost Center Descriptlon
                                                                                                                         1.00
     48.00 Program inpatient ancillary service cost (Wkst. D-3, col. 3,line 200)                                         4,102,965 48.00
     49.00 Total Pro ram in atient costs (sum of lines 41 throu h 48)(see instructions)                                  6,802,571 49.00
             PM S SNRG IGH C05T AX USTMENTS
     50.00 Pass through costs applicable to Program inpatient routine services (from Wkst. D, sum of Parts I and           164,624 50.00
           111)
     51.00 Pass through costs applicable to Program inpatient ancillary services (from Wkst. D; sum of Parts 11            198,670 51.00
           and IV)
     52.00 Total Program excludable cost (sum of lines 50 and 51)                                                          363,294 52.00
     53.00 Total Program inpatient operating cost excluding capital related, non-physician anesthetist, and              6,439,277 53.00
             medical education costs line 49 minus line 52)
            ARGET        AND LIMIT M PUTATIY
     54.00 Program discharges                                                                                                  350 54.00
     55.00 Target amount per discharge                                                                                   19,084.37 55.00
     56.00   Target amount (line 54 x line 55)                                                                           6,679,530    56.00
     57.00   Difference between adjusted inpatient operating cost and target amount (line 56 minus line 53)                240,253    57.00
     58.00   Bonus payment (see instructions)                                                                               36,038    58.00
     59.00   Lesser of lines 53/54 or 55 from the cost reporting period ending 1996, updated and compounded by the       16,276.78    59.00
             market basket
     60.00 uesser of lines 53/54 or 55 from prior year cost report, updated by the market basket                         18,562.83 60.00
     61.00 If line 53/54 is less than the lower of ljnes 55, 59 or 60 enter the lesser of 50% of the amount by                   0 61.00
           which operating costs (line 53) are less than expected costs (lines 54 x 60), or 1% of the target
           amount (line 56). otherwise enter zero (see instructions)
     62.00 Relief payment (see instructions)                                                                                     0 62.00
     63.00 Allowable In atient cost 1us incentive a ment (see instructions)                                              6,838,609 63.00
             PROGRAN INPATIENT ROUTINE 5W1NG BED COST
     64.00 Medicare swing-bed SNF inpatient routine costs through December 31 of the cost reporting period (See                  0 64.00
           instructionslttitle X1111 only)
     65.00 Medicare swing-bed SNF inpatient routine costs after December 31 of the cost reporting period (See                    0 65.00
             instructionslttitle Xvlll only)
     66.00 Total Medicare swing-bed SNF nnpatient routine costs (line 64 plus line 65)(tit1e X7111 only). For                    0 66.:0
           CAH (see instructions)
     67.00 Title v or XIX swing-bed NF inpatient routine costs through December 31 of the cost reporting period                  0 67.00
             (line 12 x line l9)
     68.00 Title V or XIX swing-bed NF inpatient routine costs after December 31 of the cost reporting period                    0 68.00
              (line 13 x line 20)
     69.00   Total title V or XIX swin -bed NF in atient routine costs (line 67 + line 68)                                      0 69.00
             PAFr III - SKILLED NURSING FACILITY OTHER NURSING FACILITY AND ICF/MR ONLY
     70.00   Skilled nursing facility/other nursing facility/lcF/MR routine service cost (line 37)                                    70.00
     71.00   Adjusted general inpatjent routlne service cost per djem (line 70 + llne 2)                                              71.00
     72.00    Program routine service cost (line 9 x line 71)                                                                         72.00
     73.00   Medically necessary private room cost applicable to Program (line 14 x line 35)                                          73.00
     74.00   Total Program general lnpatqent routine service costs (line 72 + llne 73)                                                74.00
     75.00   Capital-related cost allocated to inpatlent routine servïce costs (from Worksheet B, Part II, column                     75.00
             26, line 45)
     76.00 Perdiem cajital-related costs (line 75+ line 2)                                                                            76.00
     77.00   Program capqtal-related costs (line 9 x line 76)                                                                         77.00
     78.00   Inpatient routine service cost (line 74 minus line 77)                                                                   78.00
     79.00   Aggregate charges to beneficiaries for excess costs (from provider records)                                              79.00
     :û.ûû   Total Program routine service costs for comparison to the cost limitation (line 78 mqnus line 79)                        80.00
     81.00 Inpatient routine service cost per diem limitation                                                                         81.00
     82.00   Inpatient routine service cost limitation (line 9 x line 81)                                                             82.00
     83.00   Reasonable inpatient routine service costs (see instructions)                                                            83.00
     84.00   Program inpatient ancillary services (see instructions)                                                                  84.00
     85.00   Utilization review - physician compensation (see instructions)                                                           85.00
     86.00   Total Pro ram in atient o eratin costs (sum of lines 83 throu h 85)                                                      86.00
             PART IV - Cœ PUTA'I'ION OF OBSERVAH œ BED PM S THRGIGH CO5T
     87.00 Total observation bed days (see instructions)                                                                       370 87.00
     88.00 Adjusted general inpatient routine cost per diem (line 27 + line 2)                                            1,080.10 88.00
     89.00 observation bed cost (line 87 x line 88) (see instructions)                                                     399,637 89.00




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   Hea1th Financial S stems                      UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   COMPUTATION OF INPATIENT OPERATING COST                              Provider CCN:100079 Period:        Worksheet D-1
                                                                                                  From û6/G1/2û11
                                                                                                  To 05/31/2012 Date/Time Prepared:
                                                                                                                    10 29 2012 4:33 m
                                                                                  Title xv111         Hos ital             Tefra
                Cost Center Description                    Cost         Routine Cost column 1 +         Total      Observation
                                                                       (from line 27) column 2      observation      Bed Pass
                                                                                                   Bed Cost (from Through cost
                                                                                                      line 89) (col. 3 x col.
                                                                                                                      4) (see
                                                                                                                  lnstructions
                                                           1.00            2.00           3.00          4.00           5.09
           M PUTAH œ OF O SERVATIG BE: PM 5 THRG MH COST
   90.00   Capital-related cost                              522,430       6,736, 599      0.077551       399,637         30,992   90.00
   91.00   Nursing School cost                                     0       6,736,599       0.000000       399.637              0   91.00
   92.00   Allied health cost                                      0       6,736,599       0.000000       399,637              0   92.00
   93.00   A1l other Medical Education                             0       6,736,599       0.000000       399,637              0   93.00




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   Hea1th Financial s stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lleu of Form CM5-2552-10
   INPATIENT ANCILLARY SERVICE COST APPORTIONMENT                        Provider CCN:100079 Period:        Worksheet D-3
                                                                                               From 06/01/2011
                                                                                               To 05/31/2012 Date/Time Prepared:
                                                                                                                     10 29 2012 4:33 m
                                                                               Title Xv111          HOS ital                Tefra
                Cost Center Description                                             Ratio of cost   Inpatient         Inpatient
                                                                                     To Charges      Program        Program Costs
                                                                                                    Charges         (col. 1 x col.
                                                                                                                         2)
                                                                                        1.00          2.00              3.00
           INPATIENT ROUTINE SERVICE rDQT CENTERS
   30.00   03000 ADULTS & PEDIATRICS                                                                  2,604,658                      30.00
   31.00   03100 INTENSIVE CARE UNIT                                                                    221,168                      31.00
   31.01   03101 STEM CELL TREATMENT                                                                    316,541                      31.01
   41.00   04100 SUBPROVIDER - IRF                                                                            0                      41.00
   42.00   04200 SUBPROVIDER                                                                                  0                      42.00
             CILI*2Y SERVICE COST CENTERS
   50.00   05000 OPERATING ROQM                                                          0.210241     1,630,501           342,798    50.00
   53.00   05300 ANESTHESIOLOGY                                                          0.188505       396,835            74,805    53.00
   54.00   05400 RADIOLOGY-DIAGNOSTIC                                                    0.168379     1,432,178           241,149    54.00
   55.00   05500 RADIOLOGY-THERAPEUTIC                                                   0.143772       287,972            41,402    55.00
   55.01   05501 CTU                                                                     0.237034        60,210            14,272    55.01
   56.00   05600 RADIOISOTOPE                                                            0.063079       381,068            24,037    56.00
   57.00   05700 CT SCAN                                                                 0.033524       670,225            22,469    57.00
   58.00 05800MAGNETIC RESONANCE IMAGING (MRI)                                           0.059069        86,035             5,082 58.00
   59.00 05900 CARDIAC CATHETERIZATION                                                   0.000000             0                 0    59.00
   60.00 06000 LABORATORY                                                                0.121125     2,728,060           330,436    60.00
   60.01 03420 PATHOLOGY                                                                 0.423960       265,445           112,538    60.01
   60.02 06001 STEM CELL LABORATORY                                                      2.282578             0                 0    60.02
   63.00 06300 BLOOD STORING, PROCESSING & TRANS.                                        0.226464     1,082,001           245,034    63.00
   64.00 06400 INTRAVENOUS THERAPY                                                       0.267357     2,721,711           727,668    64.00
   65.00 06500 RESPIRATORY THERAPY                                                       0.605542       279,915           169,500    65.00
   68.00 06800 SPEECH PATHOLOGY                                                          0.495212        19,337             9,576    68.00
   69.00 06900 ELECTROCARDIOLOGY                                                         0.148709       154,251            22,939    69.00
   71.00 07100 MEDICAL SUPPLIES CHARGED TO PATIENTS                                      0.190976     1,598,461           305,268    71.00
   72.00 07200 IMP. DEV CHARGED TO PATIENT                                               0.092270       192,552            17,767    72.00
   73.00 07300 DRUGS CHARGED TO PATIENTS                                                 0.186508     6,485,578         1,209,612    73.00
   76.00 03020 CAT SCAN                                                                  0.000000             0                 0    76.00
         OUTPATIENT SERVICE COST CENTERS
   88.00 08800 RURAL HEALTH CLINIC                                                      0.000000                                0    88.00
   89.00 08900 FEDERALLY QUALIFIED HEALTH CENTER                                        0.000000                                0    89.00
   90.00 09000 CLINIC                                                                   0.698233        192,434           134,364    90.00
   90.01 09001 CARDIAC CLINIC                                                           2.227016              0                 0    90.01
   90.02 09002 GENERAL MEDICINE                                                         1.461208            199               291    90.02
   90.03 09003 OPD-I                                                                    0.955366            763               729    90.03
   90.04 09004 MOHS                                                                     0.829504              0                 0    90.04
   9û.05 090û5 SURG ONCOLOGY                                                            1.279772          1,471             1,883    90.0$
   90.06 09006 GYN ONCOLOGY                                                             1.531942          1,501             2,299    90.06
   90.07 09007 HEM ONCOLOGY                                                             1.143212         17,420            19,915    90.07
   90.08 09008 DEERFIELD BEACH CLINIC                                                   2.745059            302               829    90.08
   90.09 09009 MIRAMAR CLINIC                                                           0.329031              0                 0    90.09
   90.11 09011 KENDALL CLINIC                                                           0.708854            406               288    90.11
   90.12 09012 ENT                                                                      0.220234              0                 0    90.12
   90.13 04950 PLANTATION                                                               3.588537              0                 0    90.13
   90.14 04951 CRB PAIN CENTER                                                          0.251139              0                 0    90.14
   90.15 04952 CENTER FOR LIVER DISEASE                                                 0.000000              0                 0    90.15
   90.16 04953 DRI MULTISPEC CLINIC                                                     0.306740                0               0 90.16
   90.17 04954 PREMIUM CARE (EXEX. MED.)                                                0.919441              0                 0 90.17
   92.00 09200 OBSERVATION BEDS (NON-DISTINCT PART)                                     0.146629        177,418            26,015 92.00
   200.00       Total (sum of lines 50-94 and 96-98)                                                 20,864,249         4,102,965200.00
   201.00       Less PBP clinic Laboratory Services-program only chacges (line 61)                            0                  201.00
   202.00       Net Charges (line 200 minus line 201)                                                20,864,249                  202.00




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   Hea1th Financial S stems                           UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CMS-2552-10
   CALCULATION OF REIMBURSEMENT SETTLEMENT                                   Provider CCN:100079 Period:        Worksheet E
                                                                                                  From 06/01/2011 Part B
                                                                                                  To 05/31/2012 Date/Time Prepared:
                                                                                                                     10 29 2012 4:33 m
                                                                                Title Xv111          Hos ital               Tefra
                                                                                                    before 1/1       on/after 1/1
                                                                                                       1.00             1.01
           PART B - MEDICAL AND OTHER HEALTH SERVICES
   1.00 Medical and other services (see instructions)                                                     33,079                   1.00
   2.00 Medical and other services reimbursed under OPPS (see instructions)                           33,582.889        27,661,684 2.00
   3.00    PPs payments                                                                               26,011,406        21.207,276 3.00
   4.00 Outlier payment (see instructions)                                                             1,256,853          933,862 4.00
   5.00 Enter the hospital specific payment to cost ratio (see instructions)                               0.855            0.910 5.00
   6.00 Line 2 times line 5                                                                           28, 713,370       25,172,132 6.00
   7.00 Sum of line 3 plus line 4 divided by line 6                                                         94.97            87.96 7.00
   8.00 Transitional corridor payment (see instructions)                                               1,445,111        3,030,994 8.00
   9.00 Ancillary service other pass through costs from Worksheet D, Part IV, column 13, line                    0                   9.00
         200
   10.00 Organ acquisitions                                                                                      0                  10.00
   11.00 Total cost (sum of lines 1 and 10) (see instructions)                                            33 079                    11.00
           rnMPUTATION OF LESSER OF CDST OR CMARGES
           Reasonable cha es
   12.00 Ancillary service charges                                                                       182,192                    12.00
   13.00 organ acquisition charges (from Worksheet D-4, Part 111, line 69, col. 4)                             0                    13.00
   14.00 Total reasonable char es (sum of lines 12 and 13)                                               182,192                    14.00
         Custn-a char es
   15.00 Aggregate amount actually collected from patients liable for payment for services on a                  0                  15.00
         charge basis
   16.00 Amounts that would have been realized from patients liable for payment for services on                  0                  16.00
           a chargebasis had such payment been made in accordance with 42 CFR 413.13(e)
   17.00   Ratio of line 15 to line 16 (not to exceed 1.000000)                                         0.000000                    17.00
   18.00   Total customary charges (see instructions)                                                    182,192                    18.00
   19.00   Excess of customary charges over reasonable cost (complete only if line 18 exceeds            149,113                    19.00
           line 11) (see instructions)
   20.00   Excess of reasonable cost over customary charges (complete only if line 11 exceeds                    0                  20.00
           line 18) (see instructions)
   21.00   Lesser of cost or charges (line 11 minus line 20) (for CAH see instructions)                   33,079                    21.00
   22.00   Interns and residents (see instructions)                                                            0                    22.00
   23.00   Cost of teaching physicians (see instructions,42 CFR 415.160 and CMS Pub. 15-1,                     0                    23.00
           section 2148)
   24.00   Total ros ective a ment (sum of lines 3, 4, 8 and 9)                                       53,885,502                    24.00
           'nMPUTATISN OF REIMBURSEMENT SETTLEMENT
   25.00 Deductjbles and coinsurance (for CAH, see instructions)                                       9,771,402                    25.00
   26.00 Deductqbles and Coinsurance relating to amount on line 24 (for CAH, see instructjons)             8,410                    26.00
   27.00 Subtotal (tlines 21 and 24 - the sum of lines 25 and 26) plus the sum of lines 22 and        44,138,769                    27.00
         23J (for CAH, see instructions)
   28.00 Direct graduate medical education payments (from Worksheet E-4, line 50)                        111,016                    28.00
   29.00 ESRD direct medical education costs (from Worksheet E-4, line 36)                                     0                    29.00
   30.00 Subtotal (sum of lines 27 through 29)                                                        44,249,785                    30.00
   31.00 Primary payer payments                                                                           19,612                    31.00
   32.00 Subtotal (line 30 minus line 31)                                                             44,230,173                    32.00
            LLn-*OLE BAD DEBTS EXCLUDE RAn DEBTS FoR PROFESSIONAL SERVICES
   33.00   Composite rate ESRD (from Worksheet 1-5, ljne 11)                                                   0                    33.00
   34.00   Allowable bad debts (see instructions)                                                        382.832                    34.00
   35.00   Adjusted reimbursable bad debts (see instructions)                                            267,982                    35.00
   36.00   Allowable bad debts for dual eligible beneficiaries (see instructions)                        382,832                    36.00
   37.00   Subtotal (sum of lines 32, 33, and 34 or 35) (line 35 hospital and subprovider only)       44,498,155                    37.00
   38.00 MSP-LCC reconciliation amount from PS&R                                                                 0                  38.00
   39.00 OTHER ADJUSTMENTS (SEE INSTRUCFIONS) (SPECIFY)                                                          0                  39.00
   39.99 RECOVERY OF ACCELERATED DEPRECIATION                                                                    0                  39.99
   40.00 Subtotal (line 37 plus or minus lines 39 minus 38)                                           44,498,155                    40.00
   41.00 Interbm payments                                                                             49,160,292                    41.00
   42.00 Tentatqve settlement (for contractors use only)                                                       0                    42.00
   43.00 Balance due provider/program (line 40 minus the sum of lines 41, and 42)                     -4,662,137                    43.00
   44.00 Protested amounts (nonallowable cost report items) in accordance with CMS Pub. 15-11,                 0                    44.00
           section 115.2
           TD BE M PLEFED BY Cœ TRAG OR
  90.00 Original outlier amount (see instructions)                                                               0                  90.00
  91.00 Outlier reconciliation adjustment amount (see instructions)                                              0                  91.00
  92.00 The rate used to calculate the Time Value of Money                                                    0.00                  92.00
  93.00 Time value of Money (see instructions)                                                                   0                  93.00
  94.00 Total (sum of lines 91 and 93)                                                                           0                  94.00




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   Hea1th Financial S stems                      UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   CALCULATION OF REIMBURSEMENT SETTLEMENT                              Provider CCN:100079 Period:        Worksheet E
                                                                                           From 06/01/2011 Part B
                                                                                           To 05/31/2012 Date/Time Prepared:
                                                                                                           10 29 2012 4:33 m
                                                                           Title XV111         Hos ital           Tefra
                                                                                                            Overrides
                                                                                                               1.00
              HEET OIERRIDE VALUES
   112.00Override of Ancillary service charges (lïne 12)                                                                0112.00




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   Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
   ANALYSIS OF PAYMENTS TO PROVIDERS FOR SERVICES RENDERED               Provider CCN:100079 Period:        Worksheet E-1
                                                                                              From 06/01/2011 Part I
                                                                                              To 05/31/2012 Date/Time Prepared:
                                                                                                                 10 29 2012 4:33 m
                                                                            Title Xv111           Hos ital              Tefra
                                                                        Inpatient Part A                     Part B
                                                                    mm/dd            Amount       mm/dd/           Amount
                                                                      1.00            2.00           3.00           4.00
   1.00 Total interim payments paid to provider                                       5,199,125                    48,966,855 1.00
   2.00 Interim payments payable on individual bills, either                                  0                             0 2.00
        submitted or to be submqtted to the contractor for
        services rendered in the cost reporting period. If none,
        write ''NONE'' or enter a zero
   3.00 List separately each retroactive lump sum adjustment
          amount based on subsequent revision of the interim rate
          for the cost reporting period. Also show date of each
         a ment. If none wcite ''
                                NONE' or enter a Zero. (1)
        Pr ram to Provsder
   3.01 ADJUSTMENTS TO PROVIDER                                     03/15/2012         120,152 03/15/2012             167,643 3.01
   3.02                                                             05/02/2012          17,535 05/02/2012              25,794 3.02
   3.03                                                                                       O                             0   3.03
   3.04                                                                                       0                             0   3.04
   3.05                                                                                       0                             0   3.05
        Provlder to Pr ram
   3.50 ADJUSTMENTS TO PROGRAM                                                                0                             0   3. 50
   3.51                                                                                       0                             0   3.51
   3.52                                                                                       0                             0   3.52
   3.53                                                                                       0                             0   3.53
   3.54                                                                                       0                             0   3.54
   3.99 Subtotal (sum of lines 3.01-3.49 minus sum of lines                            137,687                        193,437 3.99
        3.50-3.98)
   4.00 Total interim payments (sum of lines 1, 2, and 3.99)                         5,336,812                     49,160,292
        (transfer to Wkst. E or Wkst. E-3, line and column as
        a ro riate
        T0 BE M PLETED BY A TRACO R
   5.00 List separately each tentative settlement payment after                                                                 5.00
        desk review. Also show date of each payment. If none,
        write 'NONE''or enter a zero. (1)
        Pr ram to Provider
   5.01 TENTATIVE TO PROVIDER                                                                 0                             0 5.01
   5.02                                                                                       0                             0 5.02
   5.03                                                                                       0                             0 5.03
        Provider to Pr ram
   5.50 TENTATIVE TO PROGRAM                                                                  0                             0 5. 50
   5.51                                                                                       0                             0 5.51
   5.52                                                                                       0                             0 5.52
   5.99 Subtotal (sum of lines 5.01-5.49 minus sum of lqnes                                   0                             0 5.99
        5.50-5.98)
   6.00 Determined net settlement amount (balance due) based on
        the cost report. (1)
   6.01 SETTLEMENT TO PROVIDER                                                       1,120,786                             0 6.01
   6.02 SETTLEMENT TO PROGRAM                                                                0                     4,662,137 6.02
   7.00 Total Medicare ro ram liabilit (see instructions)                            6,457,598                     44,498,155 7.00
                                                                                                  Contractor       Date
                                                                                                   Number        Mo Da Yr
                                                                                 0                  1.00           2.00
   8.00 Name of contractor                                                                                                      8.00




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   Hea1th Financial S stems                        UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   CALCULATION OF REIMBURSEMENT SETTLEMENT                                Provider CCN:100079 Period:        Worksheet E-3
                                                                                                  From 06/01/2011 Part I
                                                                                                  To 05/31/2012 Date/Time Prepared:
                                                                                                                 10 29 2012 4:33 m
                                                                               Title XVIII           Hos itai           Tefra
                                                                                                                    1.û0
           PART I - MEDICARE PAKr A SERVICES - TEFRA
   1.00    Inpatient hospital services (see instructions)                                                           6,838,609   1.00
   2.00    Inpatient routine services - swing bed-NF (see instructions)                                                     0   2.00
   3.00    Cost of teaching physicians (from Worksheet D-5, Part II, column 3, line 20) (see instructions)                  0   3.00
   4.00    Subtotal (sum of lines 1 thru 3)                                                                         6,838,609   4.00
   5.00    Primary payer payments                                                                                          0    5.00
   6.00 Subtotal (line 4 less line 5).                                                                              6,838,609 6.00
   7.00 Deductibles                                                                                                   391,925 7.00
   8.00 Subtotal (line 6 minus lqne 7)                                                                              6,446,684 8.00
   9.00    Coinsurance                                                                                                  9#056   9.00
   10.00   Subtotal (line 8 minus line 9)                                                                           6,437,628   10.00
   11.00   Allowable bad debts (exclude bad debts for professional services) (see instructions)                        10,917   11.00
   12.00   Adjusted reqmbursable bad debts (see instructions)                                                           7,642   12.00
   13.00   Allowable bad debts for dual eligible beneficiaries (see instructions)                                      10,917   13.00
   14.00   Subtotal (sum of lines 10 and 12)                                                                        6,445,270   14.00
   15.00   Direct graduate medical education payments (from Worksheet E-4, line 49)                                    12,328   15.00
   16.00 THIS LINE SHOULD NOT BE USED                                                                                           16.00
   17.00 OTHER ADJUSTMENTS (SEE INSTRUCTIONS) (SPECIFY)                                                                    0 17.00
   17.99 Recovery of Accelerated Depreciation                                                                              0 17.99
   18.00 Total amount payable to the provider (see instructions)                                                    6,457,598 18.00
   19.00 Interim payments                                                                                           5,336,812 19.00
   20.00 Tentative settlement (for contractor use only)                                                                     0 20.00
   21.00 Balance due provider/program (line 18 minus the sum lines 19 and 20)                                       1,120,786 21.00
   22.00 Protested amounts (nonallowable cost report items) in accordance with CMS Pub. 15-2, section 115.2                 0 22.00




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   Hea1th Financial s stems                         UNIVERSITY OF MIAMI HOSP & CLINICS                       In Lieu of Form CM5-2552-10
   DIRECT GRADUATE MEDICAL EDUCATION (GME) & ESRD OUTPATIENT DIRECF        Provider CCN:100079 Period:         Worksheet E-4
   MEDICAL EDUCATION COSTS                                                                     From 06/01/2011
                                                                                               To 05/31/2012 Date/Time Prepared:
                                                                                                                         10 29 2012 4:33 m
                                                                                  Title xvlll           Hos ltal                Tefra
                                                                                                                            1.00
        CY PUTATIO OF TOTAL DIREG œ E * NT
   1.00 Unweighted resident FTE count for allopathic and osteopathic programs for cost reporting periods                            7.01    1.00
           ending on or before December 31, 1996.
   2.00 Unweighted FTE resident cap add-on for new programs per 42 CFR 413.79(e)(1) (see instructions)                              0.00 2.00
   3.00 Amount of reduction to Direct GME cap under section 422 of MMA                                                              0.00 3.00
   3.01 Direct GME cap reduction amount under ACA 95503 in accordance with CFR j413.79 (m). (see                                    0.00 3.01
        instructions for cost reporting periods straddling 7/1/2011)
   4.00 Adjustment (plus or minus) to the FT'
                                            E cap for allopathic and osteopathic programs due to a Medicare                         0.00 4.00
        GME affi1iation agreement (42 CFR j413.75(b) and j 413.79 (f))
   4.01 ACA Section 5503 increase to the Direct GME FTE Cap (see instructions for cost reporting periods                            1.00 4.01
        straddling 7/1/2011)
   4.02 ACA Section 5506 number of additional direct GME FTE cap slots (see instructions for cost reporting                         0.00 4.02
        periods straddling 7/1/2011)
   5.00 FTE adjusted cap (1ine 1 plus 1ine 2 minus line 3 and 3.01 plus or minus line 4 plus 1ine 4.01 plus                         8.01 5.00
        line 4.02 plus applicable subscripts
   6.00 Unweighted resident FTE count for allopathic and osteopathic programs for the current year from your                    37.22
           records (see qnstructions)
   7.00 Enter the lesser of line 5 or line 6                                                                                     8.01 7.00
                                                                                       Prîmar Care       other             Total
                                                                                           1.00          2.00               3.00
   8.00 Weighted FTE count for physicians in an allopathic and osteopathic                     12.25         19.34              31.59 8.00
        program for the current year.
   9.00 If line 6 is 1ess than 5 enter the amount from line 8, otherwise                         2.64            4.16               6.80
        multip1y line 8 times the result of 1ine 5 divided by the amount on line
           6.
   10.00 Weighted dental and podiatric resident FTE count for the current year                                   0.01                      10 .00
   11.00 Total weighted FTE count                                                                2.64            4.17                      11.00
   12.00 Total weighted resident FTE count for the prior cost reporting year (see                1.88            3.87                      12.00
         instructions)
   13.00 Total weighted resident FTE count for the penultimate cost reporting                    1.44            3.53                      13.00
           year (see instructions)
   14.00   Rolling average FTE count (sum of lines 11 through 13 divided by 3).                  1.99            3.86                      14.00
   15.00   Adjustment for residents in initial years of new programs                             0.00            0.00                      15.00
   16.00   Adjustment for residents displaced by program or hospita1 closure                     0.00            0.00                      16.00
   17.00   Adjusted ro1ling average FTE count                                                    1.99            3.86                      17.00
   18.00 Per resident amount                                                              92,765.34       92,765.34                   18.00
   19.00 A roved amount for resident costs                                                  184 ,603        358,074           542,677 19.00
                                                                                                                            1.(10
   20.00 Additional unweighted allopathic and osteopathic direct GME FTE resident cap slots received under 42                       0.00 20.00
         Sec. 413.79(c )(4)
   21.00 GME FTE weighted Resident count over Cap (see instructions)                                                            29.21 21.00
   22.00 Allowable additional direct GME FTE Resident Count (see instructions)                                                   0.00 22.00
   23.00 Enter the locally adjustment national average per resident amount (see instructions)                                    0.00 23.00
   24.00 Mu1tip1y line 22 time 1ine 23                                                                                                0 24.00
   25.00 Total dlrect GME amount (sum of 1ines 19 and 24)                                                                     542,677 25.00
                                                                                     Inpatient Part Managed care
                                                                                            A
                                                                                          1.00            2.00              3.00
           COMPUTATION OF PROGOAM PATIENT L/AD
   26.00 Inpatient Days                                                                         1,742              132                     26.00
   27.00 Total Inpatient Days                                                                   8.163         8,163                        27.00
   28.00 Ratio of inpatient days to total inpatient days                                   0.213402        0.016171                        28.00
   29.00 Program direct GME amount                                                          115,808           8,776                        29.00
   30.00 Reduction for direct GME payments for Medicare managed care                                          1,240                        30.00
   31.00 Net Program direct GME amount                                                                                        123#344 31.00




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   Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
   DIRECT GRADUATE MEDICAL EDUCATION (GME) & ESRD OUTPATIENT DIRECT      Provider CCN:100079 Period:         Worksheet E-4
   MEDICAL EDUCATION COSTS                                                                   From 06/01/2011
                                                                                             To 05/31/2012 Date/Time Prepared:
                                                                                                            10 29 2012 4:33 m
                                                                             Title XvIII        Hos ital           Tefra
                                                                                                               1.00
         DIREW MEDICAL FlNAG Y M 'I  Y FDR F.50 M Y SITE RATE - W TLE XVIII œ LY (NURSING Sf% M D PAGAMEDICAL
         EDlxm œ M TS
   32.00 Renal dialysis direct medical education costs (from Worksheet B, Part 1, sum of columns 20 and 23,          0     32.00
         lines 74 and 94)
   33.00 Renal dialysis and home dialysis total charges (Worksheet C, Part 1, column 8, sum of lines 74 and          0     33.00
         94)
   34.00 Ratio of direct medical education costs to total charges (line 32 + line 33)                         0.000000     34.00
   35.00 Medicare outpatient ESRD charges (see instructions)                                                         0     35.00
   36.00 Medicare out atient ESRD direct medical education costs (line 34 x line 35)                                 0     36.00
           I*RII- EMT M 5ED œ MEDICARE RFM M     LE C T - n R E m II œ LY
         Part A Reasonable Cost
   37.00 Reasonable cost (see instructions)                                                                    6,802,571   37.00
   38.00 Organ acquisition costs (Worksheet D-4, Part 111, column 1, line 69)                                          0   38.00
   39.00 Cost of teaching physicians (Worksheet D-5, Part II, column 3, line 20)                                       0   39.00
   40.00 Primary payer payments (see instructions)                                                                     0   40.00
   41.00 Total Part A reasonable cost (sum of lines 37 throu h 39 minus line 40)                               6,802,571   41.00
         Part B RelsOnable C@lt                                                                                    '
   42.00 Reasonable cost (see instructions)                                                                   61,277,652   42.00
   43.00 Primary payer payments (see instructions)                                                                19,612   43.00
   44.00 Total Part B reasonable cost (line 42 minus line 43)                                                 61,258,040   44.00
   45.00 Total reasonable cost (sum of lines 41 and 44)                                                       68,060,611   45.00
   46.00 Ratio of Part A reasonable cost to total ceasonable cost (line 41 + line 45)                           0.099949   46.00
   47.00 Ratio of Part B reasonable cost to total reasonable cost (line 44 + line 45)                           0.900051   47.00
           LA TIO DF MEDICARE DIREW O E V T5 RETWEEN PM T A M D PART B
   48.00 Total program GME payment (line 31)                                                                     123,344 48.00
   49.00 Part A Medicare GME payment (line 46 x 48)(Tit1e XV111 onlyllsee instructions)                           12,328 49.00
   50.00 Part B Medicare GME payment (line 47 x 48) (title XV111 only) (see instructions)                        111,016 50.00




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   Hea1th Financial S stems                         UNIVERSITY OF MIAMI HOSP & CLINICS                   In Lieu of Form CMS-2552-10
   BALANCE SHEET (If you are nonproprietary and do not maintain           Provider CCN:100079 Period:             Worksheet G
   fund-type accounting records, complete the General Fund column only)                         From 06/01/2011
                                                                                                To 05/31/2012     Date/Time Prepared:
                                                                                                                  10 29 2012 4:33 m
                                                                     General Fund     Specific Endowment Fund      Plant Fund
                                                                                    Pur ose Fund
                                                                         1.00           2.00          3.00           4.00
        EURRENT ASSETS
   1.00 Cash on hand in banks                                           276,726,109            0             0               0   1.00
   2.00 Temporary investments                                                     0            0             0               0   2.00
   3.00    Notes receivable                                                       0            0             0               0   3.00
   4.00    Accounts receivable                                           84,861,561            0             0               0   4.00
   5.00    Other recejvable                                                       0            0             0               0   5.00
   6.00    Allowances for uncollectible notes and accounts receivable   -25,196,136            0             0               0   6.00
   7.00    Inventory                                                      6,030,748            0             0               0   7.00
   8.00    Prepaid expenses                                                       O            0             0               0   8.00
   9.00    Other current assets                                           1,180,309            0             0               0   9.00
   10.00   Due from other funds                                                   0            0             0               0 10.00
   11.00 Total current assets (sum of lines 1-10)                       343,602,591            0             0               0 11.00
           FIXED ASSFFS
   12.00   Land                                                           1,729,420            0             0               0   12.00
   13.00   Land improvements                                                      0            0             0               0   13.00
   14.00   Accumulated depreciation                                               0            0             0               0   14.00
   15.00   Buildings                                                    116,803,078            0             0               0   15.00
   16.00   Accumulated depreciation                                               0            0             0               0   16.00
   17.00   Leasehold improvements                                                 0            0             0               0   17.00
   18.00   Accumulated depreciation                                     -58,798,623            0             0               0   18.00
   19.00   Fixed equipment                                                        0            0             0               0   19.00
   20.00   Accumulated depreciation                                               0            0             0               0   20.00
   21.00   Automobiles and trucks                                                 0            0             0               0   21.00
   22.00   Accumulated depreciation                                               0            0             0               0   22.00
   23.00 Major movable equipment                                         79,737,515            0             0               0 23.00
   24.00   Accumulated depreciation                                     -67,444,845            0             0               0   24.00
   25.00   Minor equipment depreciable                                            0            0             0               0   25.00
   26.00   Accumulated depreciation                                               0            0             0               0   26.00
   27.00   HIT designated Assets                                                  0            0             0               0   27.00
   28.00   Accumulated depreciation                                               0            0             0               0   28.00
   29.00   Minor equipment-nondepreciable                                         0            0             0               0   29.00
   30.00 Total fixed assets (sum of lines 12-29)                         72,026,545            0             0               0 30.00
         OTHER M SETS
   31.00 Investments                                                      2,085,364            0             0               0 31.00
   32.00 Deposits on leases                                                       0            0             0               0 32.00
   33.00 Due from owners/officers                                                 0            0             0               0 33.00
   34.00 Other assets                                                     8,272,608            0             0               0 34.00
   35.00 Total other assets (sum of lines 31-34)                         10,357,972            0             0               0 35.00
   36.00 Total assets (sum of lines 11, 30, and 35)                     425,987,108            0             0               0 36.00
           CVRRENT LIABILITIES
   37.00 Accounts payable                                                13,623,012            0             0               0 37.00
   38.00 Salaries, wages, and fees payable                                        0            0             0               0 38.00
   39.00 Rayroll taxes payable                                            3,266,304            0             0               0 39.00
   40.00 Notes and loans payable (short term)                               611,727            0             0               0 40.00
   41.00   Deferred income                                                        0            0             0               0 41.00
   42.00   Accelerated payments                                                   0                                            42.00
   43.00   Due to other funds                                                     0            0             0               0 43.00
   44.00   Other current liabilities                                      8,389,999            0             0               0 44.00
   45.00 Total current liabilities (sum of lines 37 thru 44)             25,891,042            0             0               0 45.00
           LONG TERM LIAEILITIES
   46.00   Mortgage payable                                                       0            0             0               0   46.00
   47.00   Notes payable                                                 13,483,520            0             0               0   47.00
   48.00   Unsecured loans                                                        0            O             0               0   48.00
   49.00   Other long term liabilities                                    1,384,982            0             0               0   49.00
   50.00 Total long term liabilities (sum of lines 46 thru 49            14,868,502            0             0               0 50.00
   51.00 Total liabilites (sum of lines 45 and 50)                       40,759,544            0             0               0 51.00
           CAPITAL ACCW NTS
   52.00   General fund balance                                         385,227,564                                            52.00
   53.00   Specific purpose fund                                                               0                               53.00
   54.00   Donor created - endowment fund balance - restricted                                               0                 54.00
   55.00   Donor created - endowment fund balance - unrestricted                                             0                 55.00
   56.00   Governing body created - endowment fund balance                                                   0                 56.00
   57.00   Plant fund balance - invested in plant                                                                            0 57.00
   58.00 Plant fund balance - reserve for plant improvement,                                                                 0 58.00
         replacement, and expansion
   59.00 Total fund balances (sum of lines 52 thru 58)                  385,227,564            0             0               0 59.00
   60.00 Total liabilities and fund balances (sum of lines 51 and       425,987,108            0             0               0 60.00
         59)




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  Hea1th Financial S stems                       UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
  STATEMENT OF CHANGES IN FUND BALANCES                                 Provider CCN:100079 Period:        Worksheet G-1
                                                                                           From 06/01/2011
                                                                                           To 05/31/2012 Date/Time Prepared:
                                                                                                              10 29 2012 4:33 m
                                                            General Fund           Special Purpose Fund

                                                         1.00          2.00         3.00         4.00
   1.00 Fund balances at beginning of period                         294,293,026                          0                 1.00
   2.00 Net income (loss) (from Wkst. G-3, line 29)                   93,107,907                                            2.00
   3.00 Total (sum of line 1 and line 2)                             387,400,933                          0                 3.00
   4.00                                                         0                          0                                4.00
   5.00                                                         0                          0                                5.00
   6.00                                                         0                          0                                6.00
   7.00                                                         0                          0                                7.00
   8.00                                                         0                          0                                8.00
   9.00                                                         0                          0                                9.00
   10.00 Total additions (sum of llne 4-9)                                     0                          0                10.00
   11.00 Subtotal (line 3 plus line 10)                              387,400,933                          0                11.00
   12.00 DECREASE IN TEMPORARILY RESTRICTED              2,167,174                         0                               12.00
   13.00 UNRECONCILED VARIANCE                               6,195                         0                               13.00
   14.00                                                         0                         0                               14.00
   15.00                                                         0                         0                               15.00
   16.00                                                         0                         0                               16.00
   17.00                                                         0                         0                               17.00
   18.00 Total deductions (sum of lines 12-17)                        2,173,369                           0                18.00
   19.00 Fund balance at end of period per balance                   385,227,564                          0                19.00
          sheet (line 11 minus line 18)




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   Hea1th Financjal S stems                      UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu of Form CM5-2552-10
   STATEMENT OF CHANGES IN FUND BALANCES                                Provider CCN:100079 Period:        Worksheet G-1
                                                                                           From 06/01/2011
                                                                                           To 05/31/2012 Date/Time Prepared:
                                                                                                             10 29 2012 4:33 m
                                                           Endowment Fund               Plant Fund
                                                         5.00         6.00          7.00         8.00
   1.00 Fund balances at beginning of period                                  0                          0                 1.00
   2.00 Net income (loss) (from Wkst.G-3, line 29)                                                                         2.00
   3.00 Total (sum of line 1 and line 2)                                      0                          0                 3.00
   4.00                                                         0                          0                               4.00
   5.00                                                         0                          0                               5.00
   6.00                                                         0                          0                               6.00
   7.00                                                         0                          0                               7.00
   8.00                                                         0                          0                               8.00
   9.00                                                         0                          0                               9.00
   10.00 Total additions (sum of line 4-9)                                    0                          0                10.00
   11.00 Subtotal (llne 3 plus line 10)                                       0                          0                11.00
   12.00 DECREASE IN TEMPORARILY RESTRICTED                     0                          0                              12.00
   13.00 UNRECONCILED VARIANCE                                  0                          0                              13.00
   14.00                                                        0                          0                              14.00
   15.00                                                        0                          0                              15.00
   16.00                                                        0                          0                              16.00
   17.00                                                        0                          0                              17.00
   18.00 Total deductions (sum of lines 12-17)                                0                          0                18.00
   19.00 Fund balance at end of period per balance                            0                          0                19.00
          sheet (line 11 minus lqne 18)




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     Hea1th Financial S stems                         UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CM5-2552-10
      STATEMENT OF PATIENT REVENUES AND OPERATING EXPENSES                   Provider CCN:100079 Period:        Worksheet G-2 Parts
                                                                                                From 06/01/2011
                                                                                                To 05/31/2012 Date/Time Prepared:
                                                                                                                10 29 2012 4:33 m
                  Cost Center Descriptîon                                             In atlent    Out atient      Total
                                                                                        1.00          2.00          3.00
             PART I - PATIENT REVENUES
             General In atient Routine Servlces
     1.00     Hospital                                                                  4,990,457                   4#990#457   1.00
     2.00    SUBPROVIDER - IPF                                                                                                  2.00
     3.00    SUBPROVIDER - IRF                                                                 0                           0    3.00
     4.00    SUBPROVIDER                                                                       0                           0    4.00
     5.00     Swing bed - SNF                                                                  0                           0    5.00
     6.00     Swing bed - NF                                                                   0                           0    6.00
     7.00    SKILLED NURSING FACILITY                                                                                           7.00
     8.00    NURSING FACILITY                                                                                                   8.00
     9.00    OTHER LONG TERM CARE                                                                                               9.00
     10.00 Total eneral in atient care services (sum of lïnes 1-9)                      4,990,457                   4,990,457 10.00
             Intensive Care e In atlent Hos ftal Servlces
     11.00   INTENSIVE CARE UNIT                                                        4,873,676                  4,873,676 11.00
     11.01   STEM CELL TREATMENT                                                        2,660,116                  2,660,116 11.01
     12.00   CORONARY CARE UNIT                                                                                              12.00
     13.00   BURN INTENSIVE CARE UNIT                                                                                        13.00
     14.00   SURGICAL INTENSIVE CARE UNIT                                                                                    14.00
     15.00   OTHER SPECIAL CARE (SPECIFY)                                                                                     15.00
     16.00   Total intensive care type inpatient hospital services (sum of lines        7,533,792                   7,533,792 16.00
              11-15)
     17.00   Total inpatient routine care services (sum of lines 10 and 16)            12,524,249                 12,524,249 17.00
     18.00   Ancillary services                                                       100,166,481 1,081,271,598 1,181,438,07918.00
     19.00   Outpatjent services                                                          639,271    54,640,737    55,280,00819.00
     20.00   RURAL HEALTH CLINIC                                                                0             0             020.00
     21.00    FEDERALLY QUALIFIED HEALTH CENTER                                                 0             0             021.00
     22.00   HOME HEALTH AGENCY                                                                                              22.00
     23.00   AMBULANCE SERVICES                                                                                              23.00
     24.00   CMHC                                                                                                            24.00
     24.10   CORF                                                                              0             0             0 24.10
     25.00   AMBULATORY SURGICAL CENTER (D.P.)                                                                                  25.00
     26.00   HOSPICE                                                                                                            26.00
     27.00   OTHER (SPECIFY)                                                                    0             0             0 27.00
     28.00   Total patient revenues (sum of lines l7-z7lttransfer column 3 to Wkst.   113,330,001 1,135,912,335 1,249,242,336 28.00
             G-3 line 1
             PAFr 11 - OPERATING EXPENSES
     29.00 Operating expenses (per Wkst. A, column 3, line 200)                                     274,142,738                 29.00
     30.00                                                                                     0                                30.00
     31.00                                                                                     0                                31.00
     32.00                                                                                     0                                32.00
     33.00                                                                                     0                                33.00
     34.00                                                                                     0                                34.00
     35.00                                                                                     0                                35.00
     36.00 Total additions (sum of lines 30-35)                                                              0                  36.00
     37.00 DEDUCT (SPECIFY)                                                                    0                                37.00
     38.00                                                                                     0                                38.00
     39.00                                                                                     0                                39.00
     40.00                                                                                     0                                40.00
     41.00                                                                                     0                                41.00
     42.00 Total deductions (sum of lines 37-41)                                                             0                  42.00
     43.00 Total operating expenses (sum of lines 29 and 36 minus line 4zlttransfer                 274.142,738                 43.00
             to Wkst. G-3, line 4)




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  Hea1th Financial S stems                         UNIVERSITY OF MIAMI HOSP & CLINICS                 In Lieu Of Form CMS-2552-10
  STATEMENT OF REVENUES AND EXPENSES                                      Provider CCN:100079 Period:        Worksheet G-3
                                                                                             From 06/01/2011
                                                                                             To 05/31/2012 Date/Time Prepared:
                                                                                                             10 29 2012 4:33 m
                                                                                                                 1.00
   1.00    Total patient revenues (from Wkst. G-2, Part 1, column 3, line 28)                                1,249,242,336    1.00
   2.00    Less contractual allowances and discounts on patients' accounts                                     890,784,170    2.00
   3.00    Net patient revenues (line 1 minus line 2)                                                          358,458,166   3.00
   4.00    Less total operating expenses (from Wkst. G-2, Part II, line 43)                                    274,142,738   4.00
   5.00    Net income from service to atients (line 3 minus line 4)                                             84,315,428   5.00
           OTHER INPnME
   6.00    Contributions, donations, bequests, etc                                                               3,644,380    6.00
   7.00    Income from investments                                                                                      97    7.00
   8.00    Revenues from telephone and telegraph service                                                                 0    8.00
   9.00    Revenue from television and radio service                                                                     0    9.00
   10.00   Purchase discounts                                                                                            0   10.00
   11.00   Rebates and refunds of expenses                                                                               0   11.00
   12.00   Parking 1ot receipts                                                                                    238,693   12.00
   13.00   Revenue from laundry and linen service                                                                        0   13.00
   14.00   Revenue from meals sold to employees and guests                                                               0   14.00
   15.00   Revenue from rental of living quarters                                                                        0   15.00
   16.00   Revenue from sale of medical and surgical supplies to other than patients                                     0   16.00
   17.00   Revenue from sale of drugs to other than patients                                                       902,796   17.00
   18.00   Revenue from sale of medical records and abstracts                                                        3,207   18.00
   19.00 Tuition (fees, sale of textbooks, uniforms, etc.)                                                               0 19.00
   20.00   Revenue from gifts, flowers, coffee shops, and canteen                                                        0   20.00
   21.00   Rental of vending machines                                                                                    0   21.00
   22.00   Rental of hospital space                                                                                 70,219   22.00
   23.00   Governmental appropriations                                                                                   0   23.00
   24.00   SALES COMMISSIONS                                                                                        87,578   24.00
   24.01   MISCELLANEOUS                                                                                           134,833   24.01
   24.02   EXPENSE RECOVERY                                                                                        859,277   24.02
   24.03   NET ASSETS RELEASED                                                                                   2,827,174   24.03
   24.04   NURSING EDUCATION                                                                                        16,140   24.04
   24.05   UNRESTRICFED DONATIONS                                                                                   20,485   24.05
   24.06   NET LOSS ON DISPOSAL OF PROPERTY AND                                                                    -12,400   24.06
   24.07                                                                                                                 0   24.07
   25.00   Total other income (sum of lines 6-24)                                                                8,792,479   25.00
   26.00   Total (line 5 plus llne 25)                                                                          93,107,907   26.00
   27.00   OTHER EXPENSES (SPECIFY)                                                                                      0   27.00
   28.00   Total other expenses (sum of line 27 and subscripts)                                                          0   28.00
   29.00   Net income (or loss) for the period (line 26 minus line 28)                                          93,107,907   29.00




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